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                           U.S. District Court - District of Colorado
                                 District of Colorado (Denver)
                CRIMINAL DOCKET FOR CASE #: 1:20-cr-00305-DDD All Defendants


  Case title: USA v. Tew et al                                                       Date Filed: 09/29/2020

  Magistrate judge case number: 1:20-mj-00088-KLM


   Date Filed             #     Docket Text
   07/08/2020              1 CRIMINAL COMPLAINT as to Michael Aaron Tew (1). (Attachments: # 1 Affidavit, # 2
                             Criminal Information Sheet) (cmadr, ) [1:20-mj-00088-KLM] (Entered: 07/09/2020)
   07/08/2020              2 Arrest Warrant Issued in case as to Michael Aaron Tew. (cmadr, ) [1:20-mj-00088-KLM]
                             (Entered: 07/09/2020)
   07/09/2020              3 Arrest of Michael Aaron Tew. Initial Appearance set for 7/9/2020 02:00 PM in Courtroom
                             A 401 before Magistrate Judge Kristen L. Mix. (Text Only entry)(cmadr, ) [1:20-mj-
                             00088-KLM] (Entered: 07/09/2020)
   07/09/2020              4 NOTICE OF ATTORNEY APPEARANCE: Michael James Sheehan appearing for
                             Michael Aaron TewAttorney Michael James Sheehan added to party Michael Aaron
                             Tew(pty:dft) (Sheehan, Michael) [1:20-mj-00088-KLM] (Entered: 07/09/2020)
   07/09/2020              5 RESTRICTED DOCUMENT - Level 1: by USA as to Michael Aaron Tew (Doshi, Hetal)
                             [1:20-mj-00088-KLM] (Entered: 07/09/2020)
   07/09/2020              6 ORDER ***granting 5 Motion as to Michael Aaron Tew (1), by Magistrate Judge Kristen
                             L. Mix on 7/9/20. (nmarb, ) (nmarb, ). [1:20-mj-00088-KLM] (Entered: 07/09/2020)
   07/09/2020              7 MINUTE ENTRY for Initial Appearance as to Michael Aaron Tew held before Magistrate
                             Judge Kristen L. Mix on 7/9/2020. Defendant present in custody via video conference.
                             Defendant advised. Defendant has retained private counsel and is not requesting court
                             appointed counsel. Parties address the Court regarding release conditions. Bond set as to
                             Michael Aaron Tew (1) $20,000 Unsecured with the conditions as set forth in the Order
                             Setting Conditions of Release. Preliminary Examination set for 7/29/2020 2:00 PM in
                             Courtroom A501 before Magistrate Judge Michael E. Hegarty. Defendant advised of
                             conditions of bond and remanded for processing and release. (Total time: 14 minutes,
                             Hearing time: 2:08-2:22)

                                APPEARANCES: Hetal Doshi on behalf of the Government via video conference,
                                Michael Sheehan on behalf of the defendant, Angela Ledesma on behalf of pretrial via
                                video conference FTR: KLM Courtroom A401. (lgale, ) Text Only Entry [1:20-mj-00088-
                                KLM] (Entered: 07/09/2020)
   07/09/2020              8 Unsecured Bond Entered as to Michael Aaron Tew in amount of $20,000 (lgale, ) [1:20-
                             mj-00088-KLM] (Entered: 07/09/2020)
   07/09/2020              9 ORDER Setting Conditions of Release as to Michael Aaron Tew (1) $20,000 Unsecured
                             by Magistrate Judge Kristen L. Mix on 7/9/20. (lgale, ) [1:20-mj-00088-KLM] (Entered:
                             07/09/2020)                                                           *
                                                                                                          EXHIBIT




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   07/10/2020            11 Passport Receipt as to Michael Aaron Tew.Surrender of passport re Bond Conditions;
                            Passport Number 484644160 issued by USA (jtorr, ) [1:20-mj-00088-KLM] (Entered:
                            07/10/2020)
   07/15/2020            12 Arrest Warrant Returned Executed on 7/8/20 in case as to Michael Aaron Tew. (nmarb, )
                            [1:20-mj-00088-KLM] (Entered: 07/15/2020)
   07/20/2020            13 Unopposed MOTION to Withdraw as Attorney by Michael Sheehan by Michael Aaron
                            Tew. (Sheehan, Michael) [1:20-mj-00088-KLM] (Entered: 07/20/2020)
   07/21/2020            14 MINUTE ORDER by Magistrate Judge Michael E. Hegarty on 21 July 2020 as to
                            Michael Aaron Tew. The Court is not in possession of a financial affidavit by which to
                            determine whether court appointed counsel is appropriate in this case.Therefore, on or
                            before July 24, 2020, Defendant shall complete and file a financial affidavit by which the
                            Court may determine whether to appoint counsel for Defendant. (cmadr, ) [1:20-mj-
                            00088-KLM] (Entered: 07/21/2020)
   07/25/2020            15 SUPPLEMENT to 13 Unopposed MOTION to Withdraw as Attorney by Michael
                            Sheehan by Michael Aaron Tew (Sheehan, Michael) [1:20-mj-00088-KLM] (Entered:
                            07/25/2020)
   07/28/2020            16 Joint MOTION to Exclude Time Before Indictment by USA as to Michael Aaron Tew.
                            (Attachments: # 1 Proposed Order (PDF Only))(Doshi, Hetal) [1:20-mj-00088-KLM]
                            (Entered: 07/28/2020)
   07/28/2020            17 NOTICE OF ATTORNEY APPEARANCE: Eric M. Creizman appearing for Michael
                            Aaron Tew. Attorney Eric M. Creizman added to party Michael Aaron Tew. (pty:dft)
                            (nmarb, ) [1:20-mj-00088-KLM] (Entered: 07/29/2020)
   07/29/2020            18 Minute ORDER by Magistrate Judge Michael E. Hegarty on 29 July 2020. For good
                            cause shown pursuant to D.C. Colo. LAttyR 5(b), the Motion to Withdraw filedby
                            Michael Sheehan 13 is granted. Mr. Sheehan's representation of the Defendant in this case
                            is terminated. Defendant will continue to be represented Eric Creizman. (cmadr, ) [1:20-
                            mj-00088-KLM] (Entered: 07/29/2020)
   07/29/2020            19 COURTROOM MINUTES for proceedings held before Magistrate Judge Michael E.
                            Hegarty: Preliminary Hearing as to Michael Aaron Tew held on 7/29/2020. Defendant
                            present on bond. Preliminary hearing waived. Status Conference set for 10/14/2020 at
                            02:00 PM in Courtroom A 501 before Magistrate Judge Michael E. Hegarty. (Total time:
                            8 minutes, Hearing time: 2:12 p.m.-2:20 p.m.)

                                APPEARANCES: Hetal Doshi and Matthew Kirsch on behalf of the Government, Eric
                                Creizman on behalf of the defendant. FTR: A501. (cthom, ) Text Only Entry [1:20-mj-
                                00088-KLM] (Entered: 07/29/2020)
   07/29/2020            20 WAIVER of Preliminary Hearing by Michael Aaron Tew (cthom, ) [1:20-mj-00088-
                            KLM] (Entered: 07/29/2020)
   07/29/2020            21 ORDER granting 16 Motion to Exclude as to Michael Aaron Tew (1) by Magistrate Judge
                            Michael E. Hegarty on 7/29/2020. (cthom, ) [1:20-mj-00088-KLM] (Entered:
                            07/29/2020)
   08/04/2020            22 RESTRICTED DOCUMENT - Level 1: by USA as to Michael Aaron Tew (Doshi, Hetal)
                            [1:20-mj-00088-KLM] (Entered: 08/04/2020)
   08/05/2020            23 ORDER ***granting 22 Motion as to Michael Aaron Tew (1) by Magistrate Judge
                            Kristen L. Mix on 8/5/20. (nmarb, ) . [1:20-mj-00088-KLM] (Entered: 08/06/2020)


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   08/07/2020            24 NOTICE OF ATTORNEY APPEARANCE Matthew T. Kirsch appearing for USA.
                            Attorney Matthew T. Kirsch added to party USA(pty:pla) (Kirsch, Matthew) [1:20-mj-
                            00088-KLM] (Entered: 08/07/2020)
   08/12/2020            25 MOTION to Withdraw as Attorney by Eric M. Creizman by Michael Aaron Tew.
                            (Creizman, Eric) [1:20-mj-00088-KLM] (Entered: 08/12/2020)
   08/12/2020            26 RESTRICTED DOCUMENT - Level 3: by Michael Aaron Tew. (Creizman, Eric) [1:20-
                            mj-00088-KLM] (Entered: 08/12/2020)
   08/12/2020            27 MOTION for Leave to Restrict by Michael Aaron Tew. (Creizman, Eric) [1:20-mj-00088-
                            KLM] (Entered: 08/12/2020)
   08/13/2020            28 Minute ORDER by Magistrate Judge Kristen L. Mix on 13 August 2020. IT IS HEREBY
                            ORDERED that, on or before August 20, 2020, Defendant shall complete and file a
                            financial affidavit (attached to this Minute Order) by which the Court may determine
                            whether to appoint counsel for Defendant. IT IS FURTHER ORDERED that the Motion
                            to Withdraw # 25 is GRANTED to the extent that Mr. Creizman is relieved of all further
                            representation of Defendant. (Attachments: # 1 CJA Attachment) (cmadr, ) [1:20-mj-
                            00088-KLM] (Entered: 08/13/2020)
   08/17/2020            29 RESTRICTED DOCUMENT - Level 3: by Michael Aaron Tew. (Attachments: # 1
                            Affidavit CJA 23 Affidavit)(Creizman, Eric) [1:20-mj-00088-KLM] (Entered:
                            08/17/2020)
   08/19/2020            30 MINUTE ORDER APPOINTING COUNSEL Under CJA, as to Michael Aaron Tew by
                            Magistrate Judge Kristen L. Mix on 8/19/20. IT IS FURTHER ORDERED that if it
                            appears at any time that the Defendant can afford to pay counsel, reimbursement of
                            attorney fees may be required pursuant to 18 U.S.C. §3006A(f). (nmarb, ) [1:20-mj-
                            00088-KLM] (Entered: 08/19/2020)
   08/24/2020            31 NOTICE OF ATTORNEY APPEARANCE: Edward R. Harris appearing for Michael
                            Aaron TewAttorney Edward R. Harris added to party Michael Aaron Tew(pty:dft) (Harris,
                            Edward) [1:20-mj-00088-KLM] (Entered: 08/24/2020)
   09/17/2020            32 MINUTE ORDER by Magistrate Judge Kristen L. Mix on 9/17/20 GRANTING 27
                            Motion for Leave to Restrict, as to Michael Aaron Tew (1). Pursuant toD.COLO.LCrR
                            47.1, the Clerk of the Court is directed to maintain the following document UNDER
                            RESTRICTION at LEVEL 3:1 Declaration of Eric M. Creizman in Support of Motion to
                            Withdraw as Counsel to Michael Tew [#26]. (nmarb, ) [1:20-mj-00088-KLM] (Entered:
                            09/17/2020)
   09/17/2020            33 RESTRICTED DOCUMENT - Level 1: by USA as to Michael Aaron Tew (Attachments:
                            # 1 Proposed Order (PDF Only))(Doshi, Hetal) [1:20-mj-00088-KLM] (Entered:
                            09/17/2020)
   09/17/2020            34 RESTRICTED DOCUMENT - Level 1: by USA as to Michael Aaron Tew (Doshi, Hetal)
                            [1:20-mj-00088-KLM] (Entered: 09/17/2020)
   09/18/2020            35 RESTRICTED DOCUMENT - Level 1: as to Michael Aaron Tew. (nmarb, ) [1:20-mj-
                            00088-KLM] (Entered: 09/18/2020)
   09/18/2020            36 RESTRICTED DOCUMENT - Level 1: as to Michael Aaron Tew. (nmarb, ) [1:20-mj-
                            00088-KLM] (Entered: 09/18/2020)




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   09/22/2020            37 MINUTE ORDER by Magistrate Judge Kristen L. Mix on 9/22/20 as to Michael Aaron
                            Tew re 36 Restricted Document - Level 1. Status Conference set for 11/9/2020 10:00 AM
                            in Courtroom A401 before Magistrate Judge Kristen L. Mix. Text Only Entry (lgale, )
                            [1:20-mj-00088-KLM] (Entered: 09/22/2020)
   09/24/2020            38 Utility Setting Hearings as to Michael Aaron Tew: Text Only Entry Status Conference set
                            for 9/29/2020 01:30 PM in Courtroom A 502 before Magistrate Judge Nina Y. Wang. All
                            parties shall appear by video/telephone conference. (bwilk, ) [1:20-mj-00088-KLM]
                            (Entered: 09/28/2020)
   09/29/2020            39 MOTION for Leave to Restrict by Michael Aaron Tew. (Harris, Edward) [1:20-mj-00088-
                            KLM] (Entered: 09/29/2020)
   09/29/2020            40 RESTRICTED DOCUMENT - Level 2: as to Michael Aaron Tew. (Harris, Edward)
                            [1:20-mj-00088-KLM] (Entered: 09/29/2020)
   09/29/2020            41 RESTRICTED DOCUMENT - Level 2: as to Michael Aaron Tew. (Harris, Edward)
                            [1:20-mj-00088-KLM] (Entered: 09/29/2020)
   09/29/2020            42 Unopposed MOTION to Modify 8 Bond, 7 Initial Appearance,,,, Bond Set/Reset,,,, Set
                            Hearings,,,, Text Only Entry - Prompts,,, 9 Order Setting Conditions of Release by
                            Michael Aaron Tew. (Harris, Edward) [1:20-mj-00088-KLM] (Entered: 09/29/2020)
   09/29/2020            43 RESTRICTED DOCUMENT - Level 1: MINUTE ORDER granting 39 Motion to
                            Restrict Access ; granting 41 Motion by Magistrate Judge Kristen L. Mix on 9/29/2020.
                            (jgonz, ) [1:20-mj-00088-KLM] (Entered: 09/29/2020)
   09/29/2020            44 COURTROOM MINUTES for Status Conference, and Arraignment as to Michael Aaron
                            Tew held on 9/29/2020 before Magistrate Judge Nina Y. Wang. Defendant present on
                            bond appearing by videoconference. Defendant advised regarding proceeding by remote
                            means pursuant to CARES Act. Defendant consents. Defendant waives proceeding by
                            indictment. Defendant sworn. Defendant questioned regarding waiver. Waiver tendered to
                            the court. Information and penalty sheet tendered. Criminal Case number issues is 20-cr-
                            00305. Defendant advised regarding the charges, penalties, and fines. Plea of NOT
                            GUILTY entered by defendant. Parties do not believe a discovery conference is necessary
                            in this matter. Defendant intends to file a motion to modify bond which will likely be
                            referred to Judge Mix since she set the original conditions. Parties discuss process for
                            Restricting #39 to Level 1 and the notice period. Defendants bond continues. (Total time:
                            16 minutes, Hearing time: 1:33-1:49)

                                APPEARANCES: Hetal Doshi and Matthew Krisch on behalf of the Government,
                                Edward Harris on behalf of the Defendant. FTR: NYW-CRD. (bwilk, ) Text Only Entry
                                [1:20-mj-00088-KLM] (Entered: 09/29/2020)
   09/29/2020            45 WAIVER OF INDICTMENT by Michael Aaron Tew by Magistrate Judge Nina Y. Wang
                            on 9/29/2020. (bwilk, ) [1:20-mj-00088-KLM] (Entered: 09/30/2020)
   09/29/2020            49 UNRESTRICTED INFORMATION - Level 2 as to Michael Aaron Tew (1) count(s) 1, 2,
                            3. (Attachments: # 1Penalty Sheet ) (bwilk, ) Modified on 10/9/2020 to adjust restriction
                            level (athom, ). Modified on 1/20/2021 to unrestrict pursuant to 81 Order (athom, ).
                            (Entered: 10/05/2020)
   09/30/2020            46 RESTRICTED DOCUMENT - Level 1: by USA as to Michael Aaron Tew (Doshi, Hetal)
                            [1:20-mj-00088-KLM] (Entered: 09/30/2020)
   09/30/2020            48 RESTRICTED DOCUMENT - Level 1 as to Michael Aaron Tew. (jgonz, ) (Entered:
                            10/02/2020)

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   10/01/2020            47 NOTICE of Disposition by Michael Aaron Tew (Harris, Edward) (Entered: 10/01/2020)
   10/06/2020            50 MINUTE ORDER by Magistrate Judge Kristen L. Mix on 10/6/20 as to Michael Aaron
                            Tew re 42 Unopposed MOTION to Modify 8 Bond. Motion Hearing set for 10/8/2020
                            1:30 PM in Courtroom A 401 before Magistrate Judge Kristen L. Mix. Text Only Entry
                            (lgale, ) (Entered: 10/06/2020)
   10/07/2020            51 ORDER Setting Change of Plea hearing and Authorizing VTC or Telephone Conference
                            as to Michael Aaron Tew re 47 Notice of Disposition. Change of Plea Hearing set for
                            10/22/2020 10:30 AM in Courtroom A 702 before Judge Daniel D. Domenico. The
                            change-of-plea hearing in the above-referenced matter shall be conducted by VTC, or by
                            telephone conference if VTC is not reasonably available. By Judge Daniel D. Domenico
                            on 10/07/2020. (athom, ) (Entered: 10/07/2020)
   10/08/2020            52 MINUTE ENTRY for Motion Hearing as to Michael Aaron Tew held before Magistrate
                            Judge Kristen L. Mix on 10/8/2020. Defendant present on bond via video conference.
                            Parties address the Court regarding 42 Motion to Modify as to Michael Aaron Tew (1).
                            For the reasons stated on the record, it is: ORDERED: 42 Motion to Modify as to Michael
                            Aaron Tew (1) is GRANTED. Defendant's bond is modified to remove the condition of
                            home detention. Gps will remain in effect and a 9:00 pm curfew is imposed.Defendant
                            continued on bond. (Total time: 4 minutes, Hearing time: 1:31-1:35)

                                APPEARANCES (ALL PARTIES APPEAR BY VIDEO CONFERENCE): Hetal
                                Doshi and Matthew Kirsch on behalf of the Government, Edward Harris on behalf of the
                                defendant, Carolos Morales on behalf of probation. FTR: KLM Courtroom A401. (lgale, )
                                Text Only Entry (Entered: 10/08/2020)
   10/21/2020            54 MOTION to Withdraw as Attorney by Edward R. Harris by Michael Aaron Tew. (Harris,
                            Edward) (Entered: 10/21/2020)
   10/21/2020            55 ORDER granting 54 Motion to Withdraw as Attorney. Good cause having been shown,
                            attorney Edward R. Harris is relieved of any further representation in this case. The Clerk
                            of Court is instructed to terminate Mr. Harris as counsel of record, and to remove his
                            name from the electronic certificate of mailing. An attorney from the Criminal Justice Act
                            panel shall be appointed to represent Defendant Michael Aaron Tew. Absent extraordinary
                            circumstances, no further motions to withdraw or motions to substitute counsel will be
                            granted. The court reminds Mr. Tew that counsel is under a duty to provide him prudent
                            and considered advice, even if that advice is not what Mr. Tew hopes to hear. SO
                            ORDERED by Judge Daniel D. Domenico on 10/21/2020. Text Only Entry (dddlc2, )
                            (Entered: 10/21/2020)
   10/21/2020            56 ORDER VACATING the change of plea hearing as to Michael Aaron Tew. In the light of
                            this court's order granting Edward Harris' motion to withdraw as counsel for Mr. Tew 55 ,
                            the change of plea hearing set for tomorrow, 10/22/2020, is hereby VACATED. SO
                            ORDERED by Judge Daniel D. Domenico on 10/21/2020. Text Only Entry (dddlc2, )
                            (Entered: 10/21/2020)
   10/21/2020            57 Letter by Michael Aaron Tew. (athom, ) (Entered: 10/21/2020)
   10/22/2020            58 NOTICE OF ATTORNEY APPEARANCE: Thomas Richard Ward appearing for Michael
                            Aaron TewAttorney Thomas Richard Ward added to party Michael Aaron Tew(pty:dft)
                            (Ward, Thomas) (Entered: 10/22/2020)
   10/22/2020            59 MINUTE ORDER re: 47 notice of disposition. Defendant shall file a status report
                            regarding the status of his plea and any other issues he wishes to bring to the court's
                            attention no later than 11/12/2020. SO ORDERED by Judge Daniel D. Domenico on
                            10/22/2020. Text Only Entry (dddlc2, ) (Entered: 10/22/2020)
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   10/27/2020            60 RESTRICTED DOCUMENT - Level 1: by USA as to Michael Aaron Tew (Attachments:
                            # 1 Proposed Order (PDF Only))(Doshi, Hetal) (Entered: 10/27/2020)
   10/27/2020            61 Unopposed MOTION for Leave to Restrict by USA as to Michael Aaron Tew.
                            (Attachments: # 1 Proposed Order (PDF Only))(Doshi, Hetal) (Entered: 10/27/2020)
   10/27/2020            62 RESTRICTED DOCUMENT - Level 1: by USA as to Michael Aaron Tew (Doshi, Hetal)
                            (Entered: 10/27/2020)
   10/28/2020            63 RESTRICTED DOCUMENT - Level 1: as to Michael Aaron Tew. (athom, ) (Entered:
                            10/28/2020)
   10/28/2020            64 ORDER granting 61 Motion for Leave to Restrict as to Michael Aaron Tew. By Judge
                            Daniel D. Domenico on 10/28/2020. Text Only Entry (athom, ) (Entered: 10/28/2020)
   11/12/2020            65 MOTION for Leave to Restrict by Michael Aaron Tew. (Ward, Thomas) (Entered:
                            11/12/2020)
   11/12/2020            66 RESTRICTED DOCUMENT - Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                            (Entered: 11/12/2020)
   11/12/2020            67 RESTRICTED DOCUMENT - Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                            (Entered: 11/12/2020)
   11/13/2020            68 ORDER granting 65 Motion for Leave to Restrict as to Michael Aaron Tew. For good
                            cause shown, documents 66 and 67 shall remain at a Level 2 Restriction. SO ORDERED
                            by Judge Daniel D. Domenico on 11/13/2020. Text Only Entry (dddlc2, ) (Entered:
                            11/13/2020)
   11/13/2020            69 MINUTE ORDER re Status Report 67 . Defendant shall file a status report regarding the
                            status of his plea and any other issues he wishes to bring to the court's attention no later
                            than 12/10/2020. SO ORDERED by Judge Daniel D. Domenico on 11/13/2020. Text
                            Only Entry (dddlc2, ) (Entered: 11/13/2020)
   12/10/2020            70 MOTION for Leave to Restrict by Michael Aaron Tew. (Ward, Thomas) (Entered:
                            12/10/2020)
   12/10/2020            71 RESTRICTED DOCUMENT - Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                            (Entered: 12/10/2020)
   12/10/2020            72 RESTRICTED DOCUMENT - Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                            (Entered: 12/10/2020)
   12/11/2020            73 ORDER granting 70 Motion for Leave to Restrict as to Michael Aaron Tew (1). For good
                            cause shown, Docs. 71 and 72 shall remain at a Level 2 restriction. Defendant is further
                            ORDERED to file a status report in this matter no later than noon on 12/23/2020. SO
                            ORDERED by Judge Daniel D. Domenico on 12/11/2020. Text Only Entry (dddlc2, )
                            (Entered: 12/11/2020)
   12/11/2020            74 Utility Setting/Resetting Deadlines/Hearings as to Michael Aaron Tew: Status Report due
                            by 12/23/2020 pursuant to 73 Order. Text Only Entry (athom, ) (Entered: 12/11/2020)
   12/23/2020            75 STATUS REPORT by Michael Aaron Tew (Ward, Thomas) (Entered: 12/23/2020)
   12/28/2020            76 Order regarding status report 75 filed by Michael Aaron Tew. In light of Mr. Tew's
                            withdrawal of his notice of disposition, unless the parties file a motion to the contrary, the
                            court will remove the restriction on the information on 1/4/21. SO ORDERED by Judge
                            Daniel D. Domenico on 12/28/2020. Text Only Entry (dddlc2, ) (Entered: 12/28/2020)


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   01/04/2021            77 RESTRICTED DOCUMENT - Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                            (Entered: 01/04/2021)
   01/04/2021            78 MOTION for Leave to Restrict by Michael Aaron Tew. (Ward, Thomas) (Entered:
                            01/04/2021)
   01/05/2021            79 MINUTE ORDER as to Defendant Michael Aaron Tew's Motion to Restrict 77 . The
                            government shall file its response in opposition to the motion, if any, no later than
                            1/12/2021. SO ORDERED by Judge Daniel D. Domenico on 1/5/2021. Text Only Entry
                            (dddlc2, ) (Entered: 01/05/2021)
   01/12/2021            80 RESTRICTED DOCUMENT - Level 2: as to Michael Aaron Tew. (Doshi, Hetal)
                            (Entered: 01/12/2021)
   01/20/2021            81 Order Denying 78 Motion to Maintain Restriction on Indictment. Mr. Tew has failed to
                            identify a private interest in restriction of the information in this case sufficient to
                            overcome the presumption in favor of public access to court documents. His motion to
                            restrict access is thus DENIED. The clerk is directed to un-restrict the information in this
                            case, Doc. 49. SO ORDERED by Judge Daniel D. Domenico on 1/20/2021. Text Only
                            Entry (dddlc2, ) (Entered: 01/20/2021)
   01/20/2021            82 ORDER Setting Trial Date and Related Deadlines as to Michael Aaron Tew. Motions due
                            by 2/17/2021. Responses due by 2/24/2021. Five-day Jury Trial set for 3/15/2021 at 09:00
                            AM in Courtroom A 702 before Judge Daniel D. Domenico. Trial Preparation Conference
                            set for 3/3/2021 at 01:30 PM in Courtroom A 702 before Judge Daniel D. Domenico. By
                            Judge Daniel D. Domenico on 01/20/2021. (athom, ) (Entered: 01/20/2021)
   02/03/2021            83 INDICTMENT as to Michael Aaron Tew (1) count(s) 1s, 2s-40s, 41s, 42s, 44s-56s, 57s-
                            60s, Kimberley Ann Tew (2) count(s) 1, 16, 21-22, 25-26, 31-32, 41, 43-44, 47-48, 56,
                            Jonathan K. Yioulos (3) count(s) 1, 2-40. (Attachments: # 1 Penalty Sheet, # 2 Penalty
                            Sheet, # 3 Penalty Sheet) (athom, ) Modified on 2/9/2021 to correct text (athom, ).
                            (Entered: 02/04/2021)
   02/03/2021            84 RESTRICTED DOCUMENT - Level 4 as to Michael Aaron Tew, Kimberley Ann Tew,
                            Jonathan K. Yioulos. (athom, ) (Entered: 02/04/2021)
   02/03/2021            85 Summons Issued as to Michael Aaron Tew. (athom, ) (Entered: 02/04/2021)
   02/03/2021            86 MINUTE ORDER as to Michael Aaron Tew on 02/03/2021. Initial Appearance on
                            Summons set for 2/5/2021 02:00 PM in Courtroom A 401 before Magistrate Judge
                            Kristen L. Mix pursuant to 83 Indictment. Text Only Entry (athom, ) (Entered:
                            02/04/2021)
   02/03/2021            87 Summons Issued as to Kimberley Ann Tew. Initial Appearance set for 2/10/2021 02:00
                            PM in Courtroom A 401 before Magistrate Judge Kristen L. Mix. (athom, ) (Entered:
                            02/04/2021)
   02/03/2021            88 Summons Issued as to Jonathan K. Yioulos. Initial Appearance set for 2/9/2021 02:00 PM
                            in Courtroom A 401 before Magistrate Judge Kristen L. Mix. (athom, ) (Entered:
                            02/04/2021)
   02/05/2021            89 MOTION to Modify Conditions of Release by Michael Aaron Tew. (Ward, Thomas)
                            (Entered: 02/05/2021)
   02/05/2021            90 MINUTE ENTRY for Initial Appearance, Arraignment and Discovery Hearing as to
                            Michael Aaron Tew held before Magistrate Judge Kristen L. Mix on 2/5/2021. Defendant
                            present on bond and consents to proceeding via video conference. Defendant advised.
                            Counsel has previously been appointed. Plea of NOT GUILTY entered by defendant.
                            Discovery memorandum executed. Argument by counsel for the government and defense
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                     7/54
          Case No. 1:20-cr-00305-DDD               Document 599-1 filed 11/25/24 USDC Colorado pg
11/25/24, 1:29 PM                                            8 CM/ECF
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                                counsel as to 89 Motion to Modify Conditions of Release as to Michael Aaron Tew (1).
                                The Court DENIES 89 Motion to Modify Conditions of Release as to Michael Aaron Tew
                                (1). Defendant's bond continued, Counsel is directed to chambers. (Total time: 29
                                minutes, Hearing time: 2:21-2:50)

                                APPEARANCES ALL PARTIES APPEAR BY VIDEO CONFERENCE: Hetal Doshi
                                and Matthew Kirsch on behalf of the Government, Tom Ward on behalf of the defendant.
                                FTR: KLM Courtroom A401. (lgale, ) Text Only Entry (Entered: 02/05/2021)
   02/05/2021            91 Discovery Conference Memorandum and ORDER: Estimated Trial Time - 8 days as to
                            Michael Aaron Tew by Magistrate Judge Kristen L. Mix on 2/5/21. (lgale, ) (Entered:
                            02/05/2021)
   02/09/2021            92 MINUTE ENTRY for Initial Appearance, Arraignment, Discovery and Detention Hearing
                            as to Jonathan K. Yioulos held before Magistrate Judge Kristen L. Mix on 2/9/2021.
                            Defendant present on summons by video conference. Defendant advised. Defendant is not
                            requesting court appointed counsel and is retaining an attorney. Plea of NOT GUILTY
                            entered by defendant. Discovery memorandum executed. Parties address the Court
                            regarding conditions of release. Bond set as to Jonathan K. Yioulos (3) $40,000
                            Unsecured, with the conditions as set forth in the Order Setting Conditions of Release.
                            Defendant advised of conditions of bond. Counsel is directed to chambers. (Total time: 12
                            minutes, Hearing time: 2:09-2:21)

                                APPEARANCES ALL PARTIES APPEAR BY VIDEO CONFERENCE: Hetal Doshi
                                and Matthew Kirsch on behalf of the Government, Michael Tallon on behalf of the
                                defendant, Angela Ledesma on behalf of pretrial. FTR: KLM Courtroom A401. (lgale, )
                                Text Only Entry (Entered: 02/09/2021)
   02/09/2021            93 Unsecured Bond Entered as to Jonathan K. Yioulos in amount of $40,000 (lgale, )
                            (Entered: 02/09/2021)
   02/09/2021            94 ORDER Setting Conditions of Release as to Jonathan K. Yioulos (3) $40,000 Unsecured
                            by Magistrate Judge Kristen L. Mix on 2/9/21. (lgale, ) (Entered: 02/09/2021)
   02/09/2021            95 Discovery Conference Memorandum and ORDER: Estimated Trial Time - 8 days as to
                            Jonathan K. Yioulos by Magistrate Judge Kristen L. Mix on 2/9/21. (lgale, ) (Entered:
                            02/09/2021)
   02/10/2021            96 MINUTE ENTRY for Initial Appearance, Arraignment, Discovery and Detention Hearing
                            as to Kimberley Ann Tew held before Magistrate Judge Kristen L. Mix on 2/10/2021.
                            Defendant present on summons and consents to proceeding by video conference.
                            Defendant advised. Defendant is not requesting court appointed counsel. Plea of NOT
                            GUILTY entered by defendant. Discovery memorandum executed.Parties address the
                            Court regarding conditions of release. Bond set as to Kimberley Ann Tew (2) $10,000
                            Unsecured with the conditions as set forth in the Order Setting Conditions of Release.
                            Defendant is ordered to report to the probation office on 2-11-21 at 1:00 p.m. Defendant
                            advised of conditions of bond. Counsel is directed to chambers. (Total time: 28 minutes,
                            Hearing time: 2:31-2:59)

                                APPEARANCES ALL PARTIES APPEAR BY VIDEO CONFERENCE: Hetal Doshi
                                and Matthew Kirsch on behalf of the Government, Jamie Hubbard on behalf of the
                                defendant, Tommie Anderson on behalf of pretrial. FTR: KLM Courtroom A401. (lgale, )
                                Text Only Entry (Entered: 02/10/2021)




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   02/10/2021            97 Discovery Conference Memorandum and ORDER: Estimated Trial Time - 8 days as to
                            Kimberley Ann Tew by Magistrate Judge Kristen L. Mix on 2/10/21. (lgale, ) (Entered:
                            02/10/2021)
   02/10/2021            98 Unsecured Bond Entered as to Kimberley Ann Tew in amount of $10,000 (lgale, )
                            (Entered: 02/10/2021)
   02/10/2021            99 ORDER Setting Conditions of Release as to Kimberley Ann Tew (2) $10,000 Unsecured
                            by Magistrate Judge Kristen L. Mix on 2/10/21. (lgale, ) (Entered: 02/10/2021)
   02/11/2021           100 Unopposed MOTION to Travel by Jonathan K. Yioulos. (Tallon, Michael) (Entered:
                            02/11/2021)
   02/11/2021           101 ORDER Setting Trial Date and Related Deadlines as to Michael Aaron Tew, Kimberley
                            Ann Tew, Jonathan K. Yioulos. The court EXCLUDES nineteen days from Mr. Tew's
                            Speedy Trial clock. Motions due by 3/12/2021. Responses due by 3/17/2021. Eight-day
                            Jury Trial set for 4/19/2021 at 09:00 AM in Courtroom A 702 before Judge Daniel D.
                            Domenico. Trial Preparation Conference set for 4/12/2021 at 01:30 PM in Courtroom A
                            702 before Judge Daniel D. Domenico. By Judge Daniel D. Domenico on 02/11/2021.
                            (athom, ) (Entered: 02/11/2021)
   02/11/2021           102 ORDER GRANTING 100 Unopposed Motion to Travel as to Jonathan Yioulos. Mr.
                            Yioulos may travel to Sarasota, Florida, to visit his wife's family from 2/13/21 to 2/18/21.
                            He must (1) provide documentation regarding his travel plans to United States Pretrial
                            and Probation Services in advance of departure, and (2) promptly contact his probation
                            officer upon return from his trip. SO ORDERED by Judge Daniel D. Domenico on
                            2/11/2021. Text Only Entry (dddlc2, ) (Entered: 02/11/2021)
   02/11/2021           104 Passport Receipt as to Kimberley Ann Tew. Surrender of passport re Bond Conditions;
                            Passport Number 522213975 issued by USA. (athom, ) (Entered: 02/12/2021)
   02/16/2021           105 Summons Returned Executed on 2/11/2021 as to Kimberley Ann Tew. (angar, ) (Entered:
                            02/16/2021)
   02/25/2021           106 NOTICE OF ATTORNEY APPEARANCE: Tor Bernhard Ekeland appearing for Michael
                            Aaron Tew, Kimberley Ann TewAttorney Tor Bernhard Ekeland added to party Michael
                            Aaron Tew(pty:dft), Attorney Tor Bernhard Ekeland added to party Kimberley Ann
                            Tew(pty:dft) (Ekeland, Tor) (Entered: 02/25/2021)
   02/28/2021           108 MOTION for Hearing Regarding Joint Representation Pursuant to Fed. R. Crim. P. 44 by
                            USA as to Michael Aaron Tew, Kimberley Ann Tew. (Doshi, Hetal) (Entered: 02/28/2021)
   03/01/2021           109 MINUTE ORDER regarding 108 motion for hearing concerning joint representation of
                            Defendants Michael Aaron Tew and Kimberley Ann Tew. No later than 4:00 PM on
                            3/4/2021, Mr. Tew, Ms. Tew, and the Government must confer and email the court at
                            domenico_chambers@cod.uscourts.gov with three mutually agreeable dates for a hearing
                            on the Government's motion (Doc. 108) from the following list of dates: 3/9/21, 3/10/21,
                            3/11/21, 3/17/21, or 3/18/21. Mr. and Ms. Tew must file their responses to the
                            Government's motion, if any, no later than 3/5/2021. SO ORDERED by Judge Daniel D.
                            Domenico on 3/1/2021. Text Only Entry (dddlc2, ) (Entered: 03/01/2021)
   03/01/2021           110 NOTICE OF ATTORNEY APPEARANCE Andrea Lee Surratt appearing for USA.
                            Attorney Andrea Lee Surratt added to party USA(pty:pla) (Surratt, Andrea) (Entered:
                            03/01/2021)
   03/02/2021           111 MOTION to Withdraw as Attorney by Thomas R. Ward by Michael Aaron Tew. (Ward,
                            Thomas) (Entered: 03/02/2021)


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   03/02/2021           112 ORDER setting hearing on 108 motion concerning joint representation and 111 motion to
                            withdraw. A hearing on the Government's motion concerning joint representation (Doc.
                            108) and Thomas R. Ward's motion to withdraw as counsel (Doc. 111) is hereby set for
                            3/18/2021 at 10:30 AM before Judge Daniel D. Domenico by video-teleconference.
                            Counsel are directed to contact Courtroom Deputy Patti Glover at
                            patricia_glover@cod.uscourts.gov no later than three business days before the hearing for
                            instructions on how to proceed. SO ODERED by Judge Daniel D. Domenico on
                            3/2/2021. Text Only Entry (dddlc2, ) (Entered: 03/02/2021)
   03/03/2021           113 Unopposed MOTION to Continue Deadline for Production of Discovery by USA as to
                            Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Doshi, Hetal) (Entered:
                            03/03/2021)
   03/03/2021           114 ORDER granting 113 Motion to Continue. The Government must produce discovery in
                            this case no later than 14 days after the court rules on the Government's motion
                            concerning joint representation. SO ORDERED by Judge Daniel D. Domenico on
                            3/3/2021. (dddlc2, ) (Entered: 03/03/2021)
   03/11/2021           115 MOTION to Continue FOR A 180-DAY ENDS OF JUSTICE CONTINUANCE UNDER
                            18 U. S. C. § 3161(h)(7) by Michael Aaron Tew, Kimberley Ann Tew, Jonathan K.
                            Yioulos. (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor) (Entered:
                            03/11/2021)
   03/18/2021           116 MINUTE ENTRY for Motion Hearing as to Michael Aaron Tew, Kimberley Ann Tew,
                            held before Judge Daniel D. Domenico on 3/18/2021. granting 108 Motion for Hearing as
                            to Michael Aaron Tew; Kimberley Ann Tew (2); granting 111 Motion to Withdraw as
                            Attorney. Thomas Richard Ward withdrawn from case as to Michael Aaron Tew granting
                            115 Motion to Continue as to all defendants. Pretrial Motions due by 8/30/2021,
                            Responses due by 9/6/2021, Jury Trial (8 days) set for 10/12/2021 - 10/21/2021 09:00
                            AM; Trial Preparation Conference set for 9/27/2021 at 10:30 AM all in Courtroom A 702
                            before Judge Daniel D. Domenico Court Reporter: Tracy Weir. (pglov) (Entered:
                            03/18/2021)
   03/23/2021           117 NOTICE OF ATTORNEY APPEARANCE: Michael John Tallon appearing for Jonathan
                            K. Yioulos (Tallon, Michael) (Entered: 03/23/2021)
   03/29/2021           118 Unopposed MOTION to Travel Beyond Pre-trial Release Order by Jonathan K. Yioulos.
                            (Tallon, Michael) (Entered: 03/29/2021)
   03/29/2021           119 MOTION for Leave to Restrict by USA as to Michael Aaron Tew, Kimberley Ann Tew,
                            Jonathan K. Yioulos. (Attachments: # 1 Proposed Order (PDF Only))(Doshi, Hetal)
                            (Entered: 03/29/2021)
   03/29/2021           120 RESTRICTED DOCUMENT - Level 1: by USA as to Michael Aaron Tew, Kimberley
                            Ann Tew, Jonathan K. Yioulos (Doshi, Hetal) (Entered: 03/29/2021)
   03/29/2021           121 RESTRICTED DOCUMENT - Level 1: by USA as to Michael Aaron Tew, Kimberley
                            Ann Tew, Jonathan K. Yioulos (Doshi, Hetal) (Entered: 03/29/2021)
   03/30/2021           122 ORDER GRANTING 118 Unopposed Motion to Travel as to Jonathan Yioulos. Mr.
                            Yioulos may travel to St. Thomas, American Virgin Islands from 4/5/21 to 4/9/21. He
                            must (1) provide documentation regarding his travel plans to United States Pretrial and
                            Probation Services in advance of departure, and (2) promptly contact his probation officer
                            upon return from his trip. SO ORDERED by Judge Daniel D. Domenico on 3/30/2021.
                            Text Only Entry (dddlc2, ) (Entered: 03/30/2021)
   03/30/2021           123 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                            RULES/PROCEDURES: re: 118 Unopposed MOTION to Travel Beyond Pre-trial
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                   10/54
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                                Release Order, 117 Notice of Attorney Appearance - Defendant filed by attorney Michael
                                John Tallon. The format for the attorneys signature block information is not correct. DO
                                NOT REFILE THE DOCUMENTS. Action to take - future documents must be filed
                                pursuant to D.C.COLO.LCr49.1(a) and 4.3(d) of the Electronic Case Filing Procedures
                                (Criminal Cases). Also the documents were scanned and not converted directly to
                                portable document format (PDF). DO NOT REFILE THE DOCUMENTS. Action to
                                take - future documents must be filed pursuant to D.C.COLO.LCr49.1(a) and 1.3(f) of
                                the Electronic Case Filing Procedures (Criminal Cases). (Text Only Entry) (athom, )
                                (Entered: 03/30/2021)
   03/30/2021           124 RESTRICTED DOCUMENT - Level 1: as to Michael Aaron Tew, Kimberley Ann Tew,
                            Jonathan K. Yioulos. (athom, ) (Entered: 03/30/2021)
   03/30/2021           125 ORDER granting 119 Motion for Leave to Restrict as to Michael Aaron Tew, Kimberley
                            Ann Tew, Jonathan K. Yioulos. By Judge Daniel D. Domenico on 03/30/2021. Text Only
                            Entry (athom, ) (Entered: 03/30/2021)
   03/31/2021           126 Unopposed MOTION for Protective Order by USA as to Michael Aaron Tew, Kimberley
                            Ann Tew, Jonathan K. Yioulos. (Attachments: # 1 Proposed Order (PDF Only))(Doshi,
                            Hetal) (Entered: 03/31/2021)
   04/01/2021           127 ORDER Granting 126 Unopposed Motion for Protective Order as to Michael Aaron Tew,
                            Kimberley Ann Tew, Jonathan K. Yioulos. By Judge Daniel D. Domenico on 04/01/2021.
                            (athom, ) (Entered: 04/01/2021)
   05/13/2021           128 TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS as to Michael Aaron Tew held on
                            02/05/2021 before Magistrate Judge Mix. Pages: 1-24. Prepared by: AB Litigation
                            Services.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                                filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                                party's intent to redact personal identifiers from the electronic transcript of the
                                court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
                                this transcript will be made electronically available after 90 days. Please see the
                                Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                                (AB Court Reporting & Video, Inc., ) (Entered: 05/13/2021)
   05/13/2021           129 TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS as to Jonathan K. Yioulos held on
                            02/09/2021 before Magistrate Judge Mix. Pages: 1-15. Prepared by: AB Litigation
                            Services.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                                filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                                party's intent to redact personal identifiers from the electronic transcript of the
                                court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
                                this transcript will be made electronically available after 90 days. Please see the
                                Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                                (AB Court Reporting & Video, Inc., ) (Entered: 05/13/2021)
   05/13/2021           130 TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS as to Kimberley Ann Tew held on
                            02/10/2021 before Magistrate Judge Mix. Pages: 1-26. Prepared by: AB Litigation
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                 11/54
          Case No. 1:20-cr-00305-DDD                     Document 599-1 filed 11/25/24              USDC Colorado   pg
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                                                                   of 54- U.S. District Court:cod
                                Services.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
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                                party's intent to redact personal identifiers from the electronic transcript of the
                                court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
                                this transcript will be made electronically available after 90 days. Please see the
                                Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                                (AB Court Reporting & Video, Inc., ) (Entered: 05/13/2021)
   06/10/2021           131 MOTION for Order , MOTION to Travel by Jonathan K. Yioulos. (Tallon, Michael)
                            (Entered: 06/10/2021)
   06/10/2021           132 ORDER GRANTING 131 Unopposed Motion to Travel as to Jonathan Yioulos. Mr.
                            Yioulos may travel to Queens, New York; Erie, Pennsylvania; and Albrightsville,
                            Pennsylvania on June 25 to 27, June 24 to 25, and July 2 to 5, respectively. He must (1)
                            provide documentation regarding his travel plans to United States Pretrial and Probation
                            Services in advance of departure, and (2) promptly contact his probation officer upon
                            return from each trip. SO ORDERED by Judge Daniel D. Domenico on 6/10/2021. Text
                            Only Entry (dddlc2, ) (Entered: 06/10/2021)
   06/18/2021           133 NOTICE OF DEFENDANT KIMBERLEY TEWS MEMORANDUM IN SUPPORT TO
                            MODIFY THE CONDITIONS OF HER RELEASE by Kimberley Ann Tew (Ekeland, Tor)
                            Modified on 7/2/2021 to correct filer (athom, ). (Entered: 06/18/2021)
   06/18/2021           134 MOTION to Modify Conditions of Release by Kimberley Ann Tew. (Attachments: # 1
                            Affidavit Decl Kimbery Tew ISO Motion to Modify the Conditions)(Ekeland, Tor)
                            Modified on 7/2/2021 to correct filer (athom, ). (Entered: 06/18/2021)
   06/21/2021           135 ORDER REFERRING MOTION TO MODIFY CONDITIONS OF PRE-TRIAL
                            RELEASE 134 filed by Kimberly Tew. The Court refers the motion to Magistrate Judge
                            Kristen L. Mix because revocation or modification of a prior release order under § 3142
                            "is available only when the review of a detention or release order is being conducted by
                            the same judicial officer who entered the order." See United States v. Cisneros, 328 F.3d
                            610, 614 (10th Cir. 2003); see also United States v. Anaya, 376 F. Supp. 2d 1261, 1262-63
                            (D.N.M. 2005). SO ORDERED by Judge Daniel D. Domenico on 6/21/2021. Text Only
                            Entry (dddlc2, ) (Entered: 06/21/2021)
   06/23/2021           136 NOTICE OF ATTORNEY APPEARANCE: Michael Hassard appearing for Michael
                            Aaron Tew, Kimberley Ann TewAttorney Michael Hassard added to party Michael Aaron
                            Tew(pty:dft), Attorney Michael Hassard added to party Kimberley Ann Tew(pty:dft)
                            (Hassard, Michael) (Entered: 06/23/2021)
   07/08/2021           137 MINUTE ORDER by Magistrate Judge Kristen L. Mix on 07/08/2021 as to Kimberley
                            Ann Tew re 134 MOTION to Modify Conditions of Release filed by Kimberley Ann Tew
                            Motion Hearing set for 7/15/2021 11:00 AM in Courtroom A 401 before Magistrate Judge
                            Kristen L. Mix. (alave, ) (Entered: 07/09/2021)
   07/15/2021           138 MINUTE ENTRY for Motion Hearing as to Kimberley Ann Tew held before Magistrate
                            Judge Kristen L. Mix on 7/15/2021. Defendant present on bond. Argument by defense
                            counsel and counsel for the government as to 134 Motion to Modify Conditions of
                            Release. Court addresses defense counsel. The Court modifies defendant's bond to
                            remove the condition of home confinement and radio frequency and imposes GPS
                            monitoring and imposes a curfew of 8:00 a.m.-9:00 p.m. Probation is granted discretion
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                   12/54
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                                to allow exceptions to the curfew when requested by defendant. Defendant acknowledges
                                the new conditions of bond and agrees to abide by them. Defendant's bond continued.
                                (Total time: 22 minutes, Hearing time: 11:08-11:30)

                                APPEARANCES: Matthew Kirsch, Hetal Doshi and Andrea Surratt on behalf of the
                                Government, Tor Ekeland and Michael Hassard on behalf of the defendant, Carlos
                                Morales on behalf of probation. FTR: KLM Courtroom A401. (lgale, ) Text Only Entry
                                (Entered: 07/15/2021)
   07/19/2021           139 NOTICE of Disposition by Jonathan K. Yioulos (Tallon, Michael) (Entered: 07/19/2021)
   07/27/2021           140 NOTICE of Remote Plea Proceeding by Jonathan K. Yioulos (Tallon, Michael) Modified
                            on 9/9/2021 to correct event (athom, ). (Entered: 07/27/2021)
   07/27/2021           141 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                            RULES/PROCEDURES: re: 140 Notice, 139 Notice of Disposition filed by attorney
                            Michael John Tallon. The document was scanned and not converted directly to portable
                            document format (PDF). DO NOT REFILE THE DOCUMENT. Action to take -
                            future documents must be filed pursuant to D.C.COLO.LCr49.1(a) and 1.3(f) of the
                            Electronic Case Filing Procedures (Criminal Cases). (Text Only Entry) (athom, )
                            (Entered: 07/27/2021)
   07/27/2021           142 ORDER as to Jonathan K. Yioulos. ORDER as to Jonathan K. Yioulos. Pursuant to
                            Notice of Disposition (Doc. 139), a Change of Plea Hearing is SET for 10/7/2021 at 11:30
                            AM in Courtroom A 1002 before Judge Daniel D. Domenico. The trial dates and all other
                            deadlines previously set are VACATED. Counsel for the parties shall email a courtesy
                            copy of the Plea Agreement and the Statement by Defendant in Advance of Plea of Guilty
                            in the form required by Local Crim. R. 11.1(c)-(d) to
                            Domenico_Chambers@cod.uscourts.gov no later than 12:00 p.m. three business days
                            prior to the Change of Plea Hearing. If these documents are not timely submitted, the
                            hearing may be vacated. The original and one copy of these documents shall be delivered
                            to the courtroom deputy at the time of the hearing pursuant to Local Crim. R. 11.1(e).
                            Defense counsel who reviewed and advised Defendant regarding the Plea Agreement
                            must attend the Change of Plea Hearing. SO ORDERED by Judge Daniel D. Domenico
                            on 7/27/2021. Text Only Entry (dddlc2, ) Modified on 7/29/2021 to correct text (athom, ).
                            (Entered: 07/27/2021)
   08/10/2021           143 Second MOTION to Continue by Michael Aaron Tew, Kimberley Ann Tew. (Hassard,
                            Michael) Modified on 8/11/2021 to correct applicable parties (athom, ). (Entered:
                            08/10/2021)
   08/20/2021           144 TRANSCRIPT of MOTION HEARING as to Kimberley Ann Tew held on 07/15/2021
                            before Magistrate Judge Mix. Pages: 1-20. Prepared by: AB Litigation Services.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                                filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                                party's intent to redact personal identifiers from the electronic transcript of the
                                court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
                                this transcript will be made electronically available after 90 days. Please see the
                                Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                                (AB Court Reporting & Video, Inc., ) (Entered: 08/20/2021)



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   09/16/2021           145 MOTION to Modify date of plea hearing by Jonathan K. Yioulos. (Tallon, Michael)
                            (Entered: 09/16/2021)
   09/17/2021           146 WITHDRAWN - Unopposed MOTION to Travel MOTION UPON ATTORNEY
                            DECLARATION SEEKING ORDER PERMITTING TRAVEL BEYOND PRE-TRIAL
                            RELEASE ORDER AT PARAGRAPH 7(f) by Michael Aaron Tew, Kimberley Ann Tew.
                            (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor) Modified on 9/20/2021 to
                            correct filers (athom, ). Modified on 2/4/2022 to withdraw pursuant to 173 Order (athom,
                            ). (Entered: 09/17/2021)
   09/17/2021           147 MOTION to Withdraw as Attorney by USA as to Michael Aaron Tew, Kimberley Ann
                            Tew, Jonathan K. Yioulos. (Kirsch, Matthew) (Entered: 09/17/2021)
   09/20/2021           148 MOTION to Withdraw Document 146 Unopposed MOTION to Travel MOTION UPON
                            ATTORNEY DECLARATION SEEKING ORDER PERMITTING TRAVEL BEYOND PRE-
                            TRIAL RELEASE ORDER AT PARAGRAPH 7(f) by Michael Aaron Tew, Kimberley Ann
                            Tew. (Ekeland, Tor) Modified on 9/22/2021 to correct filers (athom, ). (Entered:
                            09/20/2021)
   09/22/2021           149 ORDER as to Michael Aaron Tew, Kimberley Ann Tew. Defendants' Unopposed Motion
                            for a 12-Month Ends of Justice Continuance (Doc. 143 ) is PARTIALLY GRANTED.
                            One hundred eighty (180) days, from 9/22/2021 to 3/21/2022, will be excluded from the
                            computation of Defendants' Michael Tew and Kimberley Tew's Speedy Trial Act time.
                            Motions due by 1/3/2022. Responses due by 1/10/2022. The eight-day Jury Trial set to
                            begin 10/12/2021 is VACATED and RESET to 4/4/2022 at 09:00 AM in Courtroom
                            A1002 before Judge Daniel D. Domenico. The Trial Preparation Conference set for
                            09/27/2021 is VACATED and RESET to 3/21/2022 at 01:00 PM in Courtroom A1002
                            before Judge Daniel D. Domenico. By Judge Daniel D. Domenico on 09/22/2021.
                            (athom, ) (Entered: 09/22/2021)
   09/30/2021           150 ORDER as to Jonathan K. Yioulos. Defendant's Motion to Conduct Change of Plea by
                            Video Conference Pursuant to Section 15002(b)(2) of the CARES Act (Doc. 140 ) is
                            GRANTED, and the Motion to reschedule the Change of Plea Hearing (Doc. 145 ) is
                            GRANTED IN PART. The Change of Plea Hearing set for 10/7/2021 at 11:30 a.m. is
                            VACATED AND RESET to 11/18/2021 at 1:30 p.m. in Courtroom A1002 before Judge
                            Daniel D. Domenico and will be conducted by VTC, or by telephone conference if VTC
                            is not reasonably available. Members of the public may attend the Change of Plea
                            Hearing by teleconference at (866) 390-1828, using Access Code 9792296#. All persons
                            participating in court proceedings remotely by VTC or teleconference are prohibited,
                            under penalty of contempt, from recording or broadcasting the proceeding in any manner.
                            By Judge Daniel D. Domenico on 09/30/2021. (athom, ) (Entered: 09/30/2021)
   10/12/2021           151 NOTICE OF ATTORNEY APPEARANCE: Tor Bernhard Ekeland Attorney Xuan Zhou
                            appearing for Michael Aaron Tew and Kimberley Ann Tew appearing for Michael Aaron
                            Tew, Kimberley Ann Tew (Ekeland, Tor) Modified on 10/13/2021 to correct applicable
                            parties (athom, ). (Entered: 10/12/2021)
   10/13/2021           152 NOTICE OF NONCOMPLIANCE WITH COURT RULES/PROCEDURES: re: 151
                            Notice of Attorney Appearance - Defendant, filed by attorney Xuan Zhou. The s/signature
                            did not match the filers name on the account for which the login and password are
                            registered. Future documents must be filed pursuant to D.C.COLO.LCivR 49.1(a) and
                            4.3(c) of the Electronic Case Filing Procedures (Criminal Cases). Attorney Xuan Zhou
                            has failed to comply D.C.COLO.LCr49.1(a) and 4.3(d) of the Electronic Case Filing
                            Procedures (Criminal Cases), which mandate the correct form for an attorneys signature
                            block. This document does not have a s/ signature and must be re-filed. Xuan Zhou must
                            re-file the above referenced document which must contain her s/ signature using her own

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                                log in and password. Counsel is REMINDED that your firm does not represent
                                defendant Yioulos. UNLESS you are filing a joint pleading that pertains to
                                defendant Yioulos, you should ONLY be selecting the Tew defendants as the filers
                                and as the applicable parties. If you are unclear about how documents should be
                                filed and/or which parties should be selected when filing your documents, please
                                contact the Clerk's office for assistance or clarification. (Text Only Entry) (athom, )
                                (Entered: 10/13/2021)
   11/17/2021           153 ORDER GRANTING 147 Motion to Withdraw as Attorney. The Clerk of Court is
                            instructed to terminate attorney Matthew T. Kirsch as counsel of record, and to remove
                            this name from the electronic certificate of mailing. Plaintiff United States of America
                            will continue to be represented by attorneys Hetal Doshi and Andrea Surratt. SO
                            ORDERED by Judge Daniel D. Domenico on 11/17/2021. Text Only Entry (dddlc4)
                            (Entered: 11/17/2021)
   11/18/2021           154 MINUTE ENTRY for Change of Plea Hearing by VTC as to Jonathan K. Yioulos held
                            before Judge Daniel D. Domenico on 11/18/2021. Plea of GUILTY entered by defendant
                            Jonathan K. Yioulos to Counts 1,39. Sentencing set for 2/10/2022 01:30 PM in
                            Courtroom A1002 before Judge Daniel D. Domenico. Bond continued.Court Reporter:
                            Julie Thomas. (pglov) (Entered: 11/18/2021)
   11/18/2021           155 PLEA AGREEMENT as to Jonathan K. Yioulos (pglov) (Entered: 11/18/2021)
   11/18/2021           156 STATEMENT IN ADVANCE OF PLEA OF GUILTY by Defendant Jonathan K. Yioulos
                            (pglov) (Entered: 11/18/2021)
   11/19/2021           157 NOTICE OF ATTORNEY APPEARANCE: Xuan Zhou appearing for Michael Aaron
                            Tew, Kimberley Ann TewAttorney Xuan Zhou added to party Michael Aaron
                            Tew(pty:dft), Attorney Xuan Zhou added to party Kimberley Ann Tew(pty:dft) (Zhou,
                            Xuan) (Entered: 11/19/2021)
   11/29/2021           158 NOTICE OF ATTORNEY APPEARANCE Bryan David Fields appearing for USA.
                            Attorney Bryan David Fields added to party USA(pty:pla) (Fields, Bryan) (Entered:
                            11/29/2021)
   11/29/2021           159 MOTION to Withdraw as Attorney by USA as to Michael Aaron Tew, Kimberley Ann
                            Tew, Jonathan K. Yioulos. (Doshi, Hetal) (Entered: 11/29/2021)
   12/09/2021           160 MOTION for Order by Jonathan K. Yioulos. (Tallon, Michael) (Entered: 12/09/2021)
   12/15/2021           161 ORDER granting 160 Motion for Order as to Jonathan K. Yioulos (3). The Sentencing
                            Hearing set for 2/10/2022 at 1:30 pm is VACATED and RESET to 7/12/2022 at 10:30 pm
                            before Judge Daniel D. Domenico. SO ORDERED by Judge Daniel D. Domenico on
                            12/15/2021. Text Only Entry (dddlc2, ) (Entered: 12/15/2021)
   12/27/2021           162 MOTION to Withdraw as Attorney by Tor Ekeland by Michael Aaron Tew, Kimberley
                            Ann Tew. (Ekeland, Tor) (Entered: 12/27/2021)
   12/27/2021           163 RESTRICTED DOCUMENT - Level 3: by Michael Aaron Tew, Kimberley Ann Tew.
                            (Ekeland, Tor) (Entered: 12/27/2021)
   12/27/2021           164 MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew.
                            (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor) (Entered: 12/27/2021)
   12/27/2021           165 Third MOTION to Continue by Michael Aaron Tew, Kimberley Ann Tew. (Attachments:
                            # 1 Proposed Order (PDF Only))(Ekeland, Tor) (Entered: 12/27/2021)
   12/27/2021           166 MOTION to Withdraw as Attorney by Xuan Zhou by Michael Aaron Tew, Kimberley
                            Ann Tew. (Zhou, Xuan) (Entered: 12/27/2021)

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   12/27/2021           167 MOTION to Withdraw as Attorney by Michael Hassard by Michael Aaron Tew,
                            Kimberley Ann Tew. (Hassard, Michael) (Entered: 12/27/2021)
   01/19/2022           168 MOTION to Travel by Jonathan K. Yioulos. (Tallon, Michael) (Entered: 01/19/2022)
   01/31/2022           169 ORDER REFERRING MOTIONS as to Michael Aaron Tew, Kimberley Ann Tew. 167
                            MOTION to Withdraw as Attorney by Michael Hassard filed by Michael Aaron Tew,
                            Kimberley Ann Tew, 162 MOTION to Withdraw as Attorney by Tor Ekeland filed by
                            Michael Aaron Tew, Kimberley Ann Tew, 159 MOTION to Withdraw as Attorney filed by
                            USA, 166 MOTION to Withdraw as Attorney by Xuan Zhou filed by Michael Aaron Tew,
                            Kimberley Ann Tew. Motions referred to Magistrate Judge Kristen L. Mix. SO
                            ORDERED by Judge Daniel D. Domenico on 1/31/2022. Text Only Entry (dddlc2, )
                            (Entered: 01/31/2022)
   01/31/2022           170 ORDER granting 168 Motion to Travel as to Jonathan K. Yioulos (3). Mr. Yioulos is
                            permitted to travel as described in the travel plans submitted to the US Attorneys office
                            and the Probation Department. SO ORDERED by Judge Daniel D. Domenico on
                            1/31/2022. Text Only Entry (dddlc2, ) (Entered: 01/31/2022)
   02/02/2022           171 ORDER granting 159 Motion to Withdraw as Attorney. Hetal Janak Doshi withdrawn
                            from case as to Michael Aaron Tew (1), Kimberley Ann Tew (2), Jonathan K. Yioulos (3).
                            Attorney Hetal Doshi is relieved of any further representation of the United States in this
                            case. The Clerk of Court is instructed to terminate Attorney Doshi as counsel of record,
                            and to remove this name from the electronic certificate of mailing. The Government shall
                            continue to be represented by Attorney Bryan Fields. by Magistrate Judge Kristen L. Mix
                            on 2/2/2022. Text Only Entry (klmlc2, ) (Entered: 02/02/2022)
   02/02/2022           172 MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew re 167 MOTION to
                            Withdraw as Attorney by Michael Hassard filed by Michael Aaron Tew, Kimberley Ann
                            Tew, 162 MOTION to Withdraw as Attorney by Tor Ekeland filed by Michael Aaron Tew,
                            Kimberley Ann Tew, 166 MOTION to Withdraw as Attorney by Xuan Zhou filed by
                            Michael Aaron Tew, Kimberley Ann Tew. Defendant Michael Tew and Defendant
                            Kimberley Tew shall each file a separate financial affidavit under restriction at Level 3
                            NO LATER THAN FEBRUARY 14, 2022. by Magistrate Judge Kristen L. Mix on
                            2/2/2022. Text Only Entry (klmlc2, ) (Entered: 02/02/2022)
   02/02/2022           173 ORDER. The Motion to Withdraw Document 148 as to Michael Aaron Tew and Kimberly
                            Ann Tew is GRANTED. Accordingly, the Motion to Travel 146 is DENIED AS MOOT.
                            SO ORDERED by Judge Daniel D. Domenico on 2/2/2022. Text Only Entry (dddlc2, )
                            (Entered: 02/02/2022)
   02/04/2022           174 ORDER as to Michael Aaron Tew, Kimberley Ann Tew. Defendants' counsel Motion for a
                            3-Month Ends of Justice Continuance (Doc. 165 ) is GRANTED. Ninety (90) days, from
                            2/4/2022 to 5/5/2022, will be excluded from the computation of Defendants' Michael Tew
                            and Kimberley Tew's Speedy Trial Act time. Motions due by 5/12/2022. Responses due
                            by 5/19/2022. The eight-day Jury Trial set to begin 4/4/2022 is VACATED and RESET to
                            6/13/2022 at 09:00 AM in Courtroom A1002 before Judge Daniel D. Domenico. The Trial
                            Preparation Conference set for 3/21/2022 is VACATED and RESET to 6/2/2022 at 03:30
                            PM in Courtroom A1002 before Judge Daniel D. Domenico. By Judge Daniel D.
                            Domenico on 02/04/2022. (athom, ) (Entered: 02/04/2022)
   02/10/2022           175 Pro Se Letter by Michael Aaron Tew, Kimberley Ann Tew. (athom, ) (Entered:
                            02/10/2022)
   02/10/2022           176 ORDER REFERRING MOTION as to Michael Aaron Tew, Kimberley Ann Tew 175
                            MOTION for Extension of Time to File filed by Michael Aaron Tew, Kimberley Ann


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                                Tew. SO ORDERED by Judge Daniel D. Domenico on 2/10/2022. Text Only Entry
                                (dddlc2, ) (Entered: 02/10/2022)
   02/14/2022           177 MINUTE ORDER by Magistrate Judge Kristen L. Mix on February 14, 2022. This matter
                            is before the Court on Defendants' Motion for Extension of Time 175 (the "Motion").
                            Defendants ask for a two-week extension to file financial affidavits because they "are
                            currently reviewing an engagement letter with a law firm based in Denver" and, therefore,
                            may not require appointment of counsel through the CJA. IT IS HEREBY ORDERED
                            that the Motion 175 is GRANTED. The deadline for each Defendant to file a separate
                            financial affidavit under restriction at Level 3 is extended to February 28, 2022. (csarr, )
                            (Entered: 02/14/2022)
   02/25/2022           178 NOTICE OF ATTORNEY APPEARANCE: Peter R. Bornstein appearing for Michael
                            Aaron Tew, Kimberley Ann TewAttorney Peter R. Bornstein added to party Michael
                            Aaron Tew(pty:dft), Attorney Peter R. Bornstein added to party Kimberley Ann
                            Tew(pty:dft) (Bornstein, Peter) (Entered: 02/25/2022)
   03/04/2022           179 Order. Defense counsel is directed to file a status report on or before 3/10/2022
                            confirming that he has discussed the potential conflicts of interest that joint representation
                            of criminal codefendants may raise with his clients, and that they each continue to
                            understand these dangers and risks and continue to consent to proceeding with joint
                            counsel in spite of them. SO ORDERED by Judge Daniel D. Domenico on 3/4/2022. Text
                            Only Entry (dddlc2, ) (Entered: 03/04/2022)
   03/07/2022           180 ORDER granting 162 Motion to Withdraw as Attorney. Attorney Tor Ekeland is relieved
                            of any further representation of Defendants Michael Tew and Kimberly Tew. The Clerk of
                            Court is instructed to terminate Attorney Ekeland as counsel of record, and to remove this
                            name from the electronic certificate of mailing. Defendants Michael Tew and Kimberly
                            Tew shall continue to be represented by Attorneys Michael Hassard, Peter Bornstein, and
                            Xuan Zhou. by Magistrate Judge Kristen L. Mix on 3/7/2022. Text Only Entry (klmlc2, )
                            (Entered: 03/07/2022)
   03/07/2022           181 ORDER granting 166 Motion to Withdraw as Attorney. Attorney Xuan Zhou is relieved
                            of any further representation of Defendants Michael Tew and Kimberly Tew. The Clerk of
                            Court is instructed to terminate Attorney Zhou as counsel of record, and to remove this
                            name from the electronic certificate of mailing. Defendants Michael Tew and Kimberly
                            Tew shall continue to be represented by Attorneys Michael Hassard and Peter Bornstein.
                            by Magistrate Judge Kristen L. Mix on 3/7/2022. Text Only Entry (klmlc2, ) (Entered:
                            03/07/2022)
   03/07/2022           182 ORDER granting 167 Motion to Withdraw as Attorney. Attorney Michael Hassard is
                            relieved of any further representation of Defendants Michael Tew and Kimberly Tew. The
                            Clerk of Court is instructed to terminate Attorney Hassard as counsel of record, and to
                            remove this name from the electronic certificate of mailing. Defendants Michael Tew and
                            Kimberly Tew shall continue to be represented by Attorney Peter Bornstein. by
                            Magistrate Judge Kristen L. Mix on 3/7/2022. Text Only Entry (klmlc2, ) (Entered:
                            03/07/2022)
   03/09/2022           183 Unopposed MOTION to Travel by Michael Aaron Tew, Kimberley Ann Tew. (Bornstein,
                            Peter) (Entered: 03/09/2022)
   03/10/2022           184 STATUS REPORT by Michael Aaron Tew, Kimberley Ann Tew (Bornstein, Peter)
                            (Entered: 03/10/2022)
   03/14/2022           185 Order granting 183 Motion to travel. Defendants Michael and Kimberly Tew may travel
                            out of state with their children for spring break as requested in their motion. Their pretrial
                            monitoring is modified to stand-alone location monitoring without a curfew. SO

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                                ORDERED by Judge Daniel D. Domenico on 3/14/2022. Text Only Entry (dddlc2, )
                                (Entered: 03/14/2022)
   03/21/2022           186 Unopposed MOTION to Travel by Jonathan K. Yioulos. (Tallon, Michael) (Entered:
                            03/21/2022)
   03/22/2022           187 MOTION to Amend/Correct Conditions of Release by Kimberley Ann Tew.
                            (Attachments: # 1 Exhibit A)(Bornstein, Peter) (Entered: 03/22/2022)
   03/24/2022           188 MINUTE ORDER re. 187 Motion to Amend/Correct Conditions of Supervised Release.
                            The Court reviews the conditions of pretrial release de novo, and having reviewed the
                            transcripts of the two previous hearings as well as the recommendations of the Probation
                            Department, does not find that the Government has shown by a preponderance of
                            evidence that location monitoring is required to reasonably assure the appearance of
                            Kimberley Tew or the safety of another person or the community. The government has
                            until 11:00am on 3/25/2022 to respond. SO ORDERED by Judge Daniel D. Domenico on
                            3/24/2022. Text Only Entry (dddlc2, ) (Entered: 03/24/2022)
   03/25/2022           189 RESPONSE in Opposition by USA as to Kimberley Ann Tew re 187 MOTION to
                            Amend/Correct Conditions of Release (Fields, Bryan) (Entered: 03/25/2022)
   03/25/2022           190 ORDER GRANTING 187 Motion for Amendment of Conditions of Release as to
                            Kimberley Ann Tew (2). It is ORDERED that Ms. Tew's conditions of release are
                            modified to remove the requirement that she submit to GPS location monitoring. Ms. Tew
                            is directed to contact the Probation Department for instructions on how to comply with
                            her conditions of release going forward. By Judge Daniel D. Domenico on 3/25/2022.
                            (dddlc1, ) (Entered: 03/25/2022)
   03/28/2022           191 ORDER granting 186 Motion to Travel as to Jonathan K. Yioulos (3). Mr. Yioulos is
                            permitted to travel as described in the travel plans submitted to the US Attorneys office
                            and the Probation Department. SO ORDERED by Judge Daniel D. Domenico on
                            3/28/2022. Text Only Entry (dddlc2, ) (Entered: 03/28/2022)
   03/31/2022           192 ORDER granting 164 Motion for Leave to Restrict. Doc. 163 is restricted at Level 3. SO
                            ORDERED by Judge Daniel D. Domenico on 3/31/2022. Text Only Entry (dddlc2, )
                            (Entered: 03/31/2022)
   04/26/2022           193 Unopposed MOTION to Continue Trial and for Ends of Justice Finding Pursuant to 18
                            U.S.C. § 3161(h)(7) by Michael Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter)
                            (Entered: 04/26/2022)
   05/10/2022           194 Unopposed MOTION for Leave to File Excess Pages for Motion to Suppress by Michael
                            Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 05/10/2022)
   05/12/2022           195 ORDER granting 194 Motion for Leave to File Excess Pages as to Michael Aaron Tew
                            (1), Kimberley Ann Tew (2). The defendants have 6000 words for their motion to
                            suppress and the government has the same number for its response. SO ORDERED by
                            Judge Daniel D. Domenico on 5/12/2022. Text Only Entry (dddlc2, ) (Entered:
                            05/12/2022)
   05/12/2022           196 Unopposed MOTION for Extension of Time to File Pre-Trial Motions by Michael Aaron
                            Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 05/12/2022)
   05/12/2022           197 Unopposed MOTION for Reconsideration re 195 Order on Motion for Leave to File
                            Excess Pages, Motion to Suppress by Michael Aaron Tew, Kimberley Ann Tew.
                            (Bornstein, Peter) (Entered: 05/12/2022)
   05/12/2022           198 ORDER as to Michael Aaron Tew, Kimberley Ann Tew. Defendants' Motion to Continue
                            Trial and for an Ends of Justice Finding (Doc. 193 ) is GRANTED. One hundred and
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                                eighty (180) days, from 5/12/2022 to 11/8/2022, will be excluded from the computation
                                of Defendants' Michael Tew and Kimberley Tew's Speedy Trial Act time. The deadline to
                                file motions to suppress remains 5/12/2022. Other pretrial Motions due by 6/13/2022.
                                Responses due by 6/20/2022. The eight-day Jury Trial set for 06/13/2022 is VACATED
                                and RESET to 12/5/2022 at 09:00 AM in Courtroom A1002 before Judge Daniel D.
                                Domenico. The Trial Preparation Conference set for 6/2/2022 is VACATED and RESET
                                to 11/29/2022 at 03:30 PM in Courtroom A1002 before Judge Daniel D. Domenico. By
                                Judge Daniel D. Domenico on 05/12/2022. (athom, ) (Entered: 05/12/2022)
   05/12/2022           199 ORDER granting 197 Motion for Reconsideration re 197 Unopposed MOTION for
                            Reconsideration re 195 Order on Motion for Leave to File Excess Pages, Motion to
                            Suppress filed by Michael Aaron Tew, Kimberley Ann Tew as to Michael Aaron Tew (1),
                            Kimberley Ann Tew (2). The defendants have 12,000 words for their motion to suppress,
                            and the government has the same number with which to respond. SO ORDERED by
                            Judge Daniel D. Domenico on 5/12/2022. Text Only Entry (dddlc2, ) (Entered:
                            05/12/2022)
   05/12/2022           200 Motion to Suppress Evidence by Michael Aaron Tew, Kimberley Ann Tew. (Attachments:
                            # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, #
                            7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, #
                            13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q, # 18
                            Exhibit R, # 19 Exhibit S, # 20 Exhibit T, # 21 Exhibit U, # 22 Exhibit V, # 23 Exhibit W,
                            # 24 Exhibit X, # 25 Exhibit Y, # 26 Exhibit Z, # 27 Exhibit AA, # 28 Exhibit BB)
                            (Bornstein, Peter) Modified on 8/22/2022 to add document title and un restrict Motion
                            ONLY per 244 Response. (sphil, ). Modified on 10/28/2022 to add text and correct event
                            (athom, ). (Entered: 05/12/2022)
   05/12/2022           201 MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew. (Bornstein,
                            Peter) (Entered: 05/12/2022)
   05/18/2022           202 Unopposed MOTION for Extension of Time to File Response/Reply as to 200 Restricted
                            Document - Level 1,, by USA as to Michael Aaron Tew, Kimberley Ann Tew. (Fields,
                            Bryan) (Entered: 05/18/2022)
   05/19/2022           203 NOTICE OF ATTORNEY APPEARANCE Albert C. Buchman appearing for USA.
                            Attorney Albert C. Buchman added to party USA(pty:pla) (Buchman, Albert) (Entered:
                            05/19/2022)
   05/19/2022           204 RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew re 201
                            MOTION for Leave to Restrict (Response to Motion to Suppress, ECF No. 200)
                            (Attachments: # 1 Government Filter Memo, # 2 Filter Memo - Attachment 1, # 3 Filter
                            Memo - Attachment 2, # 4 Filter Memo - Attachment 3, # 5 Filter Memo - Attachment 4,
                            # 6 Filter Memo - Attachment 5, # 7 Filter Memo - Attachment 6, # 8 Filter Memo -
                            Attachment 7, # 9 Filter Memo - Attachment 8, # 10 Filter Memo - Attachment 9)(Fields,
                            Bryan) (Entered: 05/19/2022)
   05/20/2022           205 MOTION to Withdraw as Attorney by Andrea Surratt by USA as to Michael Aaron Tew,
                            Kimberley Ann Tew, Jonathan K. Yioulos. (Surratt, Andrea) (Entered: 05/20/2022)
   05/20/2022           206 MOTION to Travel by Jonathan K. Yioulos. (Tallon, Michael) (Entered: 05/20/2022)
   05/20/2022           207 ORDER granting 206 Motion to Travel as to Jonathan K. Yioulos (3). Mr. Yioulos is
                            permitted to travel as described in the travel plans submitted to the US Attorneys office
                            and the Probation Department. SO ORDERED by Judge Daniel D. Domenico on
                            5/20/2022. Text Only Entry (dddlc2, ) (Entered: 05/20/2022)
   05/20/2022           208 ORDER granting 202 Motion for Extension of Time to File Response/Reply. The
                            government has until and including 6/9/2022 to file a response to the motion to suppress.
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                  19/54
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                                                             of 54- U.S. District Court:cod
                                SO ORDERED by Judge Daniel D. Domenico on 5/20/2022. Text Only Entry (dddlc2, )
                                (Entered: 05/20/2022)
   05/25/2022           209 MOTION to Disclose Grand Jury Material to Defendant by USA as to Michael Aaron
                            Tew, Kimberley Ann Tew. (Attachments: # 1 Proposed Order (PDF Only))(Fields, Bryan)
                            (Entered: 05/25/2022)
   05/25/2022           210 Unopposed MOTION for Leave to File Reply to Government's Response to Defendant's
                            Motion to Suppress Evidence by Michael Aaron Tew, Kimberley Ann Tew. (Bornstein,
                            Peter) (Entered: 05/25/2022)
   06/07/2022           211 RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                            Jonathan K. Yioulos (Attachments: # 1 Exhibit A)(ntaka) (Entered: 06/07/2022)
   06/13/2022           212 Unopposed MOTION for Order Requiring the Government to Submit Expert Witness
                            Opinions 120 Days Before Trial by Michael Aaron Tew, Kimberley Ann Tew. (Bornstein,
                            Peter) (Entered: 06/13/2022)
   06/13/2022           213 Unopposed MOTION for Leave to File Additional Motions by Michael Aaron Tew,
                            Kimberley Ann Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022           214 MOTION for Sanctions for Violating Communication Privileges by Michael Aaron Tew,
                            Kimberley Ann Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022           215 MOTION for Franks Hearing by Michael Aaron Tew, Kimberley Ann Tew. (Bornstein,
                            Peter) (Entered: 06/13/2022)
   06/13/2022           216 MOTION to Suppress the Use of Statements by Michael Aaron Tew. (Bornstein, Peter)
                            (Entered: 06/13/2022)
   06/13/2022           217 Unopposed MOTION for Extension of Time to File Response/Reply to Defendant
                            Motions Filed on June 13, 2022 by USA as to Michael Aaron Tew, Kimberley Ann Tew.
                            (Fields, Bryan) (Entered: 06/13/2022)
   06/13/2022           218 MOTION to Sever Defendant by Kimberley Ann Tew. (Bornstein, Peter) (Entered:
                            06/13/2022)
   06/13/2022           219 MOTION for James Hearing and for Government to File a James Proffer by Michael
                            Aaron Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022           220 MOTION for James Hearing and for Government to File a James Proffer by Kimberley
                            Ann Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022           221 MOTION to Suppress Evidence from Search of 3222 East First Avenue, Apartment 224
                            by Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Exhibit A, # 2 Exhibit B,
                            # 3 Exhibit C, # 4 Exhibit D)(Bornstein, Peter) (Entered: 06/13/2022)
   06/16/2022           222 ORDER GRANTING 205 Motion to Withdraw as Attorney. The Clerk of Court is
                            instructed to terminate attorney Andrea Surratt as counsel of record, and to remove this
                            name from the electronic certificate of mailing. Plaintiff United States will continue to be
                            represented by attorney Bryan Fields and Albert Buchman. SO ORDERED by Judge
                            Daniel D. Domenico on 6/16/2022. Text Only Entry (dddlc2, ) (Entered: 06/16/2022)
   06/16/2022           223 ORDER GRANTING 210 Motion for Leave to File a Reply. Defendants have 5000
                            words for a reply to be filed on or before 6/22/2022. SO ORDERED by Judge Daniel D.
                            Domenico on 6/16/2022. Text Only Entry (dddlc2, ) (Entered: 06/16/2022)
   06/16/2022           224 ORDER Granting 209 Motion to Disclose Grand Jury Material as to Michael Aaron Tew,
                            Kimberley Ann Tew. By Judge Daniel D. Domenico on 06/16/2022. (athom, ) (Entered:
                            06/16/2022)
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                 20/54
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   06/19/2022           225 MOTION to Continue Sentencing by Jonathan K. Yioulos. (Tallon, Michael) (Entered:
                            06/19/2022)
   06/22/2022           226 REPLY by Michael Aaron Tew, Kimberley Ann Tew in Support of Motion to Suppress
                            Evidence [Doc.200-Restricted] (Bornstein, Peter) (Entered: 06/22/2022)
   06/29/2022           227 ORDER granting 225 Motion to Continue as to Jonathan K. Yioulos (3). The sentencing
                            hearing set for 7/12/2022 is VACATED AND RESET to 1/19/2023 at 10:30 AM in
                            Courtroom A1002 before Judge Daniel D. Domenico. SO ORDERED by Judge Daniel D.
                            Domenico on 6/29/2022. Text Only Entry (dddlc2, ) (Entered: 06/29/2022)
   07/14/2022           228 ORDER granting 217 Motion for Extension of Time to File Response/Reply. The
                            government has until and including 8/9/2022 to file responses to the motions filed on
                            6/13/2022. SO ORDERED by Judge Daniel D. Domenico on 8/14/2022. Text Only Entry
                            (dddlc2, ) (Entered: 07/14/2022)
   08/09/2022           229 NOTICE of Conventional Filing Exhibit 1-3 by USA as to Michael Aaron Tew,
                            Kimberley Ann Tew (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022           230 RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew re 218
                            MOTION to Sever Defendant (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022           231 REPLY TO RESPONSE to Motion by USA as to Michael Aaron Tew, Kimberley Ann
                            Tew re 219 MOTION for James Hearing and for Government to File a James Proffer
                            (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022           232 RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew re 220
                            MOTION for James Hearing and for Government to File a James Proffer (Buchman,
                            Albert) (Entered: 08/09/2022)
   08/09/2022           233 RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew re 215
                            MOTION for Franks Hearing (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022           234 RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew re 214
                            MOTION for Sanctions for Violating Communication Privileges (Buchman, Albert)
                            (Entered: 08/09/2022)
   08/09/2022           235 RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew re 216
                            MOTION to Suppress the Use of Statements (Attachments: # 1 Conventionally
                            Submitted, # 2 Conventionally Submitted)(Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022           236 RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew re 221
                            MOTION to Suppress Evidence from Search of 3222 East First Avenue, Apartment 224
                            (Attachments: # 1 Conventionally Submitted)(Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022           237 Conventionally Submitted Material : 1 Card USB Flash Drive: Exhibit 1 and Exhibit 2 to
                            Response in Opposition 235 re 229 Notice, by Plaintiff USA. Material placed in the
                            oversized filing area Area D-5-5 of the Clerk's Office. Text Only Entry (athom, )
                            (submitted additional copy of USB placed in Chambers' mail box) (Entered: 08/11/2022)
   08/12/2022           238 ORDER GRANTING IN PART 201 Motion for Leave to File Motion to Suppress
                            Evidence as Restricted Level 1.

                                I must narrowly tailor any restrictions on public access, and must consider whether
                                supplying a redacted version of a document in lieu of restricting access to the entire
                                document would adequately protect the interests of the party seeking restriction. United
                                States v. Walker, 761 F. App'x 822, 835 (10th Cir. 2019); Local Civ. R. 7.2(c)(4).
                                Defendants Michael and Kimberly Tew have not shown that redacting the identified
                                financial, medical, and other personal information from the motion to suppress is
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                     21/54
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                                impracticable or would not adequately protect the privacy interests at stake.

                                Accordingly, the motion for leave to restrict is GRANTED IN PART with respect to the
                                exhibits to the motion only. The Clerk of Court is directed to maintain Doc. 200 and
                                Docs. 200-1 to 200-28 under Level 1 restriction. Plaintiff must file a public redacted
                                version of the motion to suppress (Doc. 200 ) on or before 8/19/2022.

                                SO ORDERED by Judge Daniel D. Domenico on 8/12/2022. Text Only Entry (dddlc1, )
                                (Entered: 08/12/2022)
   08/12/2022           239 ORDER GRANTING IN PART 212 Defendants' Unopposed Motion to Require the
                            Government to Submit Expert Witness Opinions 120 Days Before Trial.

                                Expert witness disclosures pursuant to Federal Rule of Criminal Procedure 16(a)(1)(G)
                                and (b)(1)(C) must be made no later than 8/19/2022, and any challenges to such experts
                                must be made no later than 9/9/2022.

                                Rebuttal expert witness disclosures must be made no later than 9/16/2022, and any
                                challenges to such rebuttal experts must be made no later than 10/7/2022.

                                SO ORDERED by Judge Daniel D. Domenico on 8/12/2022. Text Only Entry (dddlc1, )
                                (Entered: 08/12/2022)
   08/15/2022           240 Unopposed MOTION for Leave to File Replies to Government's Responses to Motions by
                            Michael Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 08/15/2022)
   08/15/2022           241 ORDER REGARDING PRETRIAL DEADLINES AND PENDING MOTIONS.

                                Defendants' Unopposed Motion for Leave to File Additional Motions (Doc. 213 ) is
                                GRANTED. Motions due 9/13/2022. Responses due 9/27/2022. No replies will be
                                permitted without prior leave of the Court.

                                Defendants' Unopposed Motion for Leave to File Replies to Government's Responses to
                                Motions (Doc. 240 ) is GRANTED. Replies due 8/23/2022.

                                A Motions Hearing is SET for 10/18/2022 at 10:30 AM in Courtroom A1002 before
                                Judge Daniel D. Domenico.

                                Due to a conflict on the Court's calendar, the eight-day Jury Trial set for 12/5/2022 is
                                VACATED and RESET to commence on 12/12/2022 at 09:00 AM in Courtroom A1002.
                                Counsel and pro se parties must be present at 08:30 AM on the first day of trial. Due to a
                                conflict on the Court's calendar, the Trial Preparation Conference set for 11/29/2022 is
                                VACATED and RESET to 11/22/2022 at 01:30 PM in Courtroom A1002. See written
                                Order for pretrial deadlines.

                                SO ORDERED by Judge Daniel D. Domenico on 8/15/2022. (dddlc1, ) (Entered:
                                08/15/2022)
   08/18/2022           242 Unopposed MOTION for Order to Reschedule Hearing Date on Motion by Michael
                            Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 08/18/2022)
   08/18/2022           243 ORDER GRANTING 242 Unopposed Motion to Reschedule Hearing Date on Motions as
                            to Michael Aaron Tew (1), Kimberley Ann Tew (2). The Motions Hearing set for
                            10/18/2022 is VACATED and RESET to 10/12/2022 at 09:30 AM in Courtroom A1002
                            before Judge Daniel D. Domenico. SO ORDERED by Judge Daniel D. Domenico on
                            8/18/2022. Text Only Entry (dddlc1, ) (Entered: 08/18/2022)
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                   22/54
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   08/19/2022           244 RESPONSE by Michael Aaron Tew, Kimberley Ann Tew re: 238 Order on Motion for
                            Leave to Restrict,,,, (Bornstein, Peter) (Entered: 08/19/2022)
   08/23/2022           245 REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re 214
                            MOTION for Sanctions for Violating Communication Privileges (Bornstein, Peter)
                            (Entered: 08/23/2022)
   08/23/2022           246 REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re 221
                            MOTION to Suppress Evidence from Search of 3222 East First Avenue, Apartment 224
                            (Bornstein, Peter) (Entered: 08/23/2022)
   08/23/2022           247 REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re 219
                            MOTION for James Hearing and for Government to File a James Proffer, 220 MOTION
                            for James Hearing and for Government to File a James Proffer (Bornstein, Peter)
                            (Entered: 08/23/2022)
   08/23/2022           248 REPLY TO RESPONSE to Motion by Kimberley Ann Tew re 218 MOTION to Sever
                            Defendant (Bornstein, Peter) (Entered: 08/23/2022)
   08/23/2022           249 REPLY TO RESPONSE to Motion by Michael Aaron Tew re 216 MOTION to Suppress
                            the Use of Statements (Bornstein, Peter) (Entered: 08/23/2022)
   08/23/2022           250 REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re 215
                            MOTION for Franks Hearing (Attachments: # 1 Affidavit Declaration of Michael A. Tew,
                            # 2 Affidavit Declaration of Kimberley A. Tew)(Bornstein, Peter) (Entered: 08/23/2022)
   09/15/2022           251 Unopposed MOTION to Travel Out of State by Kimberley Ann Tew. (Bornstein, Peter)
                            (Entered: 09/15/2022)
   09/16/2022           252 ORDER granting 251 Unopposed Motion to Travel as to Kimberley Ann Tew (2). SO
                            ORDERED by Judge Daniel D. Domenico on 09/16/2022. Text Only Entry (dddlc5, )
                            (Entered: 09/16/2022)
   10/07/2022           253 EXHIBIT LIST for Suppression Hearing of October 12, 2022 by USA as to Michael
                            Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Proposed Exhibit List)(Fields, Bryan)
                            (Entered: 10/07/2022)
   10/07/2022           254 WITNESS LIST for Suppression Hearing of October 12, 2022 by USA as to Michael
                            Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Proposed Witness List)(Fields, Bryan)
                            (Entered: 10/07/2022)
   10/12/2022           255 MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Suppression
                            Hearing as to Michael Aaron Tew, Kimberley Ann Tew held on 10/12/2022. Taking under
                            advisement 214 Motion for Sanctions as to Michael Aaron Tew (1), Kimberley Ann Tew
                            (2). Denying 215 Motion for Franks Hearing as to Michael Aaron Tew (1), Kimberley
                            Ann Tew (2). Taking under advisement 216 Motion to Suppress as to Michael Aaron Tew
                            (1). Taking under advisement 200 Defendants Motion. Denying 219 Motion for James
                            Hearing as to Michael Aaron Tew (1). Taking under advisement 221 Motion to Suppress
                            as to Michael Aaron Tew (1), Kimberley Ann Tew (2). Taking under advisement 218
                            Motion to Sever Defendant as to Kimberley Ann Tew (2). Taking under advisement 220
                            Motion for James Hearing as to Kimberley Ann Tew (2). Bond continued as to both
                            defendants. Court Reporter: Julie Thomas. (rkeec) (Entered: 10/13/2022)
   10/12/2022           256 WITNESS LIST by USA as to Michael Aaron Tew (1), Kimberley Ann Tew (2). With
                            date and time testified. (rkeec) (Entered: 10/13/2022)
   10/12/2022           257 EXHIBIT LIST by USA as to Michael Aaron Tew (1), Kimberley Ann Tew (2). (rkeec)
                            (Entered: 10/13/2022)

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                                                                   of 54- U.S. District Court:cod
   10/27/2022           258 ORDER Denying 221 Motion to Suppress Evidence from Search of 3222 East First
                            Avenue, Apartment 224 as to Michael Aaron Tew, Kimberley Ann Tew. By Judge Daniel
                            D. Domenico on 10/27/2022. (athom, ) (Entered: 10/28/2022)
   10/27/2022           259 ORDER as to Michael Aaron Tew. Mr. Tew's Motion to Suppress the Use of Statements
                            (Doc. 216 ) is DENIED. By Judge Daniel D. Domenico on 10/27/2022. (athom, )
                            (Entered: 10/28/2022)
   10/27/2022           260 ORDER Denying 218 Motion for Severance as to Kimberley Ann Tew. By Judge Daniel
                            D. Domenico on 10/27/2022. (athom, ) (Entered: 10/28/2022)
   10/27/2022           261 ORDER Denying 214 Motion for Sanctions as to Michael Aaron Tew, Kimberley Ann
                            Tew. By Judge Daniel D. Domenico on 10/27/2022. (athom, ) (Entered: 10/28/2022)
   10/27/2022           262 ORDER Denying 200 Motion to Suppress Evidence as to Michael Aaron Tew, Kimberley
                            Ann Tew. By Judge Daniel D. Domenico on 10/27/2022. (athom, ) (Entered: 10/28/2022)
   10/28/2022           263 ORDER GRANTING IN PART 220 Defendant Kimberly Ann Tew's Motion for a James
                            Proffer and Hearing. Ms. Tew's request for the Government to file a James proffer and for
                            the Court to hold a James hearing is granted, though not on the timeline requested.

                                The Government must file any statements it will seek to admit at trial under Federal Rule
                                of Evidence 801(d)(2)(E) in the form of a James log, along with the referenced exhibits
                                and an accompanying brief, on or before 1/6/2023. The defendants must file their
                                responses to the Government's James log and brief on or before 1/20/2023. A James
                                Hearing is SET for 1/26/2023 at 09:30 AM in Courtroom A1002 before Judge Daniel D.
                                Domenico.

                                In light of the above, the Trial Preparation Conference set for 11/22/2022 is VACATED
                                and RESET for 3/7/2022 at 09:30 AM in Courtroom A1002, and the eight-day Jury Trial
                                set for 12/12/2022 is VACATED and RESET for 3/13/2023 at 09:00 AM in Courtroom
                                A1002. Counsel and pro se parties must be present at 08:30 AM on the first day of trial.
                                Pretrial deadlines remain as stated in the Court's Order Regarding Pretrial Deadlines and
                                Pending Motions (Doc. 241 ).

                                SO ORDERED by Judge Daniel D. Domenico on 10/28/2022. Text Only Entry (dddlc1, )
                                (Entered: 10/28/2022)
   11/15/2022           264 MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew. (Bornstein,
                            Peter) (Entered: 11/15/2022)
   11/15/2022           265 RESTRICTED DOCUMENT - Level 3: by Michael Aaron Tew, Kimberley Ann Tew.
                            (Bornstein, Peter) (Entered: 11/15/2022)
   11/15/2022           266 RESTRICTED DOCUMENT - Level 3: by Michael Aaron Tew, Kimberley Ann Tew.
                            (Attachments: # 1 Exhibit A)(Bornstein, Peter) (Entered: 11/15/2022)
   11/16/2022           267 Unopposed MOTION to Travel Out of State by Michael Aaron Tew, Kimberley Ann Tew.
                            (Bornstein, Peter) (Entered: 11/16/2022)
   11/17/2022           268 ORDER granting 267 Motion to Travel as to Michael Aaron Tew (1), Kimberley Ann Tew
                            (2). Mr. and Mrs. Tew are granted permission to leave the state of Colorado and travel to
                            Marquette, Michigan with their children from 11/18/2022 until 11/27/2022. SO
                            ORDERED by Judge Daniel D. Domenico on 11/17/2022. Text Only Entry (dddlc5, )
                            (Entered: 11/17/2022)
   11/17/2022           269 ORDER granting 264 Motion for Leave to Restrict 265 Restricted Document - Level 3,
                            266 Restricted Document - Level 3 as to Michael Aaron Tew (1), Kimberley Ann Tew (2).
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                                The Clerk of Court is directed to maintain 265 and 266 UNDER RESTRICTION at
                                LEVEL 3. SO ORDERED by Judge Daniel D. Domenico on 11/17/2022. Text Only Entry
                                (dddlc5, ) (Entered: 11/17/2022)
   11/28/2022           270 Unopposed MOTION to Continue adjourn sentencing by Jonathan K. Yioulos. (Tallon,
                            Michael) (Entered: 11/28/2022)
   11/28/2022           271 ORDER granting 270 Motion to Continue as to Jonathan K. Yioulos (3). Mr. Yioulos's
                            Sentencing set for 1/19/2023 at 10:30 a.m. is VACATED and RESET for 3/29/2023 at
                            10:30 AM in Courtroom A1002 before Judge Daniel D. Domenico. All related deadlines
                            are continued. SO ORDERED by Judge Daniel D. Domenico on 11/28/2022. Text Only
                            Entry (dddlc5, ) (Entered: 11/28/2022)
   11/29/2022           272 Order Regarding Motion for Subpoenas as to Michael Aaron Tew and Kimberley Ann
                            Tew. (angar, ) Modified on 11/29/2022 to correct restriction level and title (angar, ).
                            (Entered: 11/29/2022)
   12/01/2022           273 MOTION to Withdraw as Attorney by Peter R. Bornstein by Michael Aaron Tew,
                            Kimberley Ann Tew. (Bornstein, Peter) (Entered: 12/01/2022)
   12/01/2022           274 ORDER REFERRING MOTION as to Michael Aaron Tew, Kimberley Ann Tew 273
                            MOTION to Withdraw as Attorney by Peter R. Bornstein. Motion referred to Magistrate
                            Judge Kristen L. Mix, by Judge Daniel D. Domenico on 12/01/2022. Text Only Entry
                            (dddlc5, ) Modified on 12/5/2022 to add text (athom, ). (Entered: 12/01/2022)
   12/02/2022           275 MINUTE ORDER by Magistrate Judge Kristen L. Mix on 12/02/2022. IT IS HEREBY
                            ORDERED that the Motion 273 is GRANTED as to Michael Aaron Tew (1), Kimberley
                            Ann Tew (2). Mr. Bornstein is permitted to withdraw as counsel for Defendants. IT IS
                            FURTHER ORDERED that on or before December 16, 2022, Defendants shall have
                            replacement counsel enter an appearance or, if they believe they are entitled to
                            appointment of CJA counsel to represent them, shall each file a financial affidavit under
                            restriction at Level 3. (alave, ) (Entered: 12/05/2022)
   12/05/2022           276 MOTION for Reconsideration re 275 Order on Motion to Withdraw as Attorney,, or, in
                            the alternative, motion for expedited appointment and extension of deadlines by USA as
                            to Michael Aaron Tew, Kimberley Ann Tew. (Fields, Bryan) (Entered: 12/05/2022)
   12/05/2022           277 ORDER REFERRING MOTION as to Michael Aaron Tew, Kimberley Ann Tew 276
                            MOTION for Reconsideration re 275 Order on Motion to Withdraw as Attorney,, or, in
                            the alternative, motion for expedited appointment and extension of deadlines filed by
                            USA. Motion referred to Magistrate Judge Kristen L. Mix by Judge Daniel D. Domenico
                            on 12/05/2022. Text Only Entry (dddlc5, ) (Entered: 12/05/2022)
   12/06/2022           278 MINUTE ORDER by Magistrate Judge Kristen L. Mix on 12/06/2022. IT IS HEREBY
                            ORDERED that a hearing on the Motion 276 is set for December 9, 2022, at 11:00 a.m.
                            Counsel for the parties, including defense counsel Peter Bornstein who was permitted to
                            withdraw by Minute Order 275 of December 2, 2022, shall be present at the hearing. IT
                            IS FURTHER ORDERED that the Clerk of Court shall email a copy of this Minute Order
                            to Mr. Bornstein. (alave, ) (Entered: 12/06/2022)
   12/06/2022           279 Certificate of Service by E-Mail by Clerk of Court re 278 Minute Order to counsel Peter
                            Bornstein at pbornstein@prblegal.com. Text Only Entry. (alave, ) (Entered: 12/06/2022)
   12/09/2022           280 MINUTE ENTRY for In Court Hearing as to Michael Aaron Tew, Kimberley Ann Tew
                            held on 12/9/2022 before Magistrate Judge Kristen L. Mix. The court GRANTS 276
                            Motion for Reconsideration re 273 MOTION to Withdraw as Attorney. 273 MOTION to
                            Withdraw as Attorney is GRANTED in part and DENIED in part to the extent that Mr.
                            Bornstein is permitted to withdraw as private counsel, but otherwise denied. Defendants

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                                are ORDERED to submit financial affidavits on or before 5:00 PM Tuesday, December
                                13, 2022. Should Defendants qualify for court-appointed counsel, Mr. Bornstein will be
                                appointed as CJA counsel.

                                The Clerk of Court is ORDERED to allow Mr. Bornstein to file the financial affidavits on
                                the electronic docket on the Defendants' behalf. Should there be any problem with the
                                filing of the financial affidavits, Mr. Bornstein SHALL email them to
                                Mix_Chambers@cod.uscourts.gov.(Total time: 23 minutes, Hearing time: 11:00-11:23)

                                APPEARANCES: Bryan Fields, Albert Buchman on behalf of the Government, Peter
                                Bornstein on behalf of the defendant. FTR: A-401. (cpomm, ) Text Only Entry (Entered:
                                12/09/2022)
   12/13/2022           281 MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew. (Bornstein,
                            Peter) (Entered: 12/13/2022)
   12/13/2022           282 RESTRICTED DOCUMENT - Level 3: by Michael Aaron Tew, Kimberley Ann Tew.
                            (Bornstein, Peter) (Entered: 12/13/2022)
   12/14/2022           283 ORDER granting 281 Motion for Leave to Restrict 282 Restricted Document as to
                            Michael Aaron Tew (1), Kimberley Ann Tew (2). The Clerk of Court is instructed to
                            maintain 282 at LEVEL THREE RESTRICTION. SO ORDERED by Judge Daniel D.
                            Domenico on 12/14/2022. Text Only Entry (dddlc5, ) (Entered: 12/14/2022)
   12/27/2022           284 MOTION to Vacate Deadlines and for Status Conference by USA as to Michael Aaron
                            Tew, Kimberley Ann Tew. (Fields, Bryan) (Entered: 12/27/2022)
   12/27/2022           285 TRANSCRIPT of MOTIONS HEARING as to Michael Aaron Tew, Kimberley Ann Tew
                            held on 10/12/22 before Judge Domenico. Pages: 1-234.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                                filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                                party's intent to redact personal identifiers from the electronic transcript of the
                                court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
                                this transcript will be made electronically available after 90 days. Please see the
                                Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                                (Thomas, Julie) (Entered: 12/27/2022)
   12/27/2022           286 MINUTE ORDER by Magistrate Judge Kristen L. Mix on 12/27/2022. IT IS HEREBY
                            ORDERED that attorney Peter Bornstein is appointed as CJA counsel for Defendants
                            Michael A. Tew and Kimberly A. Tew. (alave, ) (Entered: 12/27/2022)
   12/28/2022           287 ORDER DENYING 284 Government's Motion to Vacate Current Deadlines and for
                            Status Conference as to Michael Aaron Tew (1), Kimberley Ann Tew (2).

                                Attorney Peter Bornstein represented the defendants as retained counsel for a period of
                                over nine months from February to December 2022 (see Docs. 178 , 273 , 275 , 280), and
                                he now continues to represent the defendants as appointed CJA counsel (Doc. 286 ). The
                                Government has repeatedly stated its concern that further delays may prejudice its case
                                and the public (Doc. 284 at 3; Doc. 276 at 2, 3, 5, 8), and has also acknowledged that Mr.
                                Bornstein "is surely in the best position to advance this case without any more delay"
                                (Doc. 276 at 2). Having now been appointed as CJA counsel, Mr. Bornstein has over a
                                week to review the Government's James submission prior to its filing on 1/6/2023.

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                                                               of 54- U.S. District Court:cod
                                The Government's request to vacate the deadlines related to its James proffer and log is
                                therefore denied.

                                SO ORDERED by Judge Daniel D. Domenico on 12/28/2022. Text Only Entry (dddlc1, )
                                (Entered: 12/28/2022)
   12/28/2022           288 MOTION for Order Appointing Separate Counsel by Michael Aaron Tew, Kimberley Ann
                            Tew. (Bornstein, Peter) (Entered: 12/28/2022)
   12/29/2022           289 ORDER GRANTING 288 Motion for Appointment of Separate Counsel as to Michael
                            Aaron Tew (1), Kimberley Ann Tew (2).

                                Attorney Peter R. Bornstein is relieved of any further representation of Defendant
                                Kimberley Ann Tew, and the Clerk of Court is instructed to terminate Mr. Bornstein as
                                counsel of record for Ms. Tew. An attorney from the Criminal Justice Act panel will be
                                appointed to represent Ms. Tew. Defendant Michael Aaron Tew will continue to be
                                represented by Mr. Bornstein as appointed CJA counsel.

                                In light of the above, the deadlines for the Goverment's James proffer and log and the
                                defendants' response thereto, and the James Hearing set for 1/26/2023 are CONTINUED
                                pending further order of the Court.

                                Within one week of entry of appearance of new counsel for Ms. Tew, the parties must file
                                a Joint Status Report addressing: (1) the Speedy Trial Act implications of the new
                                representation, if any; (2) mutually agreeable proposed deadlines for further James
                                proceedings; and (3) any other issues the parties wish to bring to the Court's attention.

                                SO ORDERED by Judge Daniel D. Domenico on 12/29/2022. Text Only Entry (dddlc1, )
                                (Entered: 12/29/2022)
   01/03/2023           290 NOTICE OF ATTORNEY APPEARANCE: David Scott Kaplan appearing for Kimberley
                            Ann TewAttorney David Scott Kaplan added to party Kimberley Ann Tew(pty:dft)
                            (Kaplan, David) (Entered: 01/03/2023)
   01/05/2023           291 MOTION to Unrestrict Document 2 Warrant Issued, 1 Complaint, by USA as to Michael
                            Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Attachments: # 1 Proposed Order
                            (PDF Only))(Fields, Bryan) (Entered: 01/05/2023)
   01/06/2023           292 ORDER granting 291 Motion to Unrestrict 291 . The Clerk of Court is directed to
                            unrestrict Documents 1 , 2 , 5 , and 6 as to Michael Aaron Tew (1), Kimberley Ann Tew
                            (2), Jonathan K. Yioulos (3). SO ORDERED by Judge Daniel D. Domenico on
                            01/06/2023. Text Only Entry (dddlc5, ) (Entered: 01/06/2023)
   01/10/2023           293 STATUS REPORT (Joint Status Report of Parties) by USA as to Michael Aaron Tew,
                            Kimberley Ann Tew (Fields, Bryan) (Entered: 01/10/2023)
   01/11/2023           294 MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew re 293 Status Report
                            filed by USA. By 1/17/2023, Mr. Bornstein and Mr. Kaplan must each submit an ex parte
                            filing describing their positions regarding any conflict of interest that might prevent Mr.
                            Bornstein from continuing to represent Mr. Tew and whether a hearing is necessary to
                            evaluate and resolve this issue. SO ORDERED by Judge Daniel D. Domenico on
                            01/11/2023. Text Only Entry (dddlc5, ) (Entered: 01/11/2023)
   01/13/2023           295 NOTICE OF ATTORNEY APPEARANCE: Nancy Lin Cohen appearing for Movants
                            Christopher J. Alf, National Air Cargo Group, Inc., National Air Cargo Holdings,
                            Inc.Attorney Nancy Lin Cohen added to party Christopher J. Alf(pty:mov), Attorney
                            Nancy Lin Cohen added to party National Air Cargo Group, Inc. (pty:mov), Attorney
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                     27/54
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                                Nancy Lin Cohen added to party National Air Cargo Holdings, Inc.(pty:mov) (athom, )
                                (Entered: 01/13/2023)
   01/13/2023           296 NOTICE OF ATTORNEY APPEARANCE: Eric S. Galler appearing for Movants
                            Christopher J. Alf, National Air Cargo Group, Inc., National Air Cargo Holdings,
                            Inc.Attorney Eric S. Galler added to party Christopher J. Alf(pty:mov), Attorney Eric S.
                            Galler added to party National Air Cargo Group, Inc. (pty:mov), Attorney Eric S. Galler
                            added to party National Air Cargo Holdings, Inc.(pty:mov) (athom, ) (Entered:
                            01/13/2023)
   01/13/2023           297 MOTION to Quash Subpoenas by Christopher J. Alf, National Air Cargo Group, Inc.,
                            National Air Cargo Holdings, Inc. as to Michael Aaron Tew, Kimberley Ann Tew,
                            Jonathan K. Yioulos. (athom, ) (Entered: 01/13/2023)
   01/17/2023           298 NOTICE OF ATTORNEY APPEARANCE: Peter R. Bornstein appearing for Michael
                            Aaron Tew (Bornstein, Peter) (Entered: 01/17/2023)
   01/17/2023           299 MOTION for Leave to Restrict by Michael Aaron Tew. (Bornstein, Peter) (Entered:
                            01/17/2023)
   01/17/2023           300 RESTRICTED DOCUMENT - Level 3: by Michael Aaron Tew. (Bornstein, Peter)
                            (Entered: 01/17/2023)
   01/17/2023           301 RESTRICTED DOCUMENT - Level 3: by Kimberley Ann Tew. (Kaplan, David)
                            (Entered: 01/17/2023)
   01/26/2023           302 ORDER granting 299 Motion for Leave to Restrict as to Michael Aaron Tew (1). The
                            Clerk of Court is directed to maintain 300 at a LEVEL THREE RESTRICTION. SO
                            ORDERED by Judge Daniel D. Domenico on 1/26/2023. Text Only Entry (dddlc5, )
                            (Entered: 01/26/2023)
   01/29/2023           303 Unopposed MOTION to Modify Conditions of Release by Jonathan K. Yioulos as to
                            Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Tallon, Michael)
                            (Entered: 01/29/2023)
   01/30/2023           304 ORDER GRANTING 303 Unopposed Motion to Modify Conditions of Release as to
                            Jonathan K. Yioulos (3). Mr. Yioulos may travel to Sarasota, Florida, to visit family from
                            2/16/23 to 2/24/23. He must (1) provide documentation regarding his travel plans to
                            United States Pretrial and Probation Services in advance of departure, (2) contact his
                            probation officer as directed during the time of approved travel, and (3) promptly contact
                            his probation officer upon return from his trip. SO ORDERED by Judge Daniel D.
                            Domenico on 01/30/2023. Text Only Entry (dddlc5, ) (Entered: 01/30/2023)
   01/30/2023           305 ORDER WITHDRAWING COUNSEL as to Michael Aaron Tew. Peter R. Bornstein is
                            WITHDRAWN as counsel to Defendant Michael Aaron Tew and relieved of all further
                            representation. The Clerk of Court is instructed to terminate Mr. Bornstein as counsel of
                            record, and to remove his name from the electronic certificate of mailing. An attorney
                            from the Criminal Justice Act panel will be appointed to represent Defendant Michael
                            Tew. Within one week of entry of appearance of new counsel for Mr. Tew, the parties
                            must file a Joint Status Report addressing: (1) the Speedy Trial Act implications of the
                            new representation, if any; and (2) any other issues the parties wish to bring to the Court's
                            attention. On or before 3/13/2023, the parties must file a Joint Status Report with
                            mutually agreeable proposed deadlines for further James proceedings. By Judge Daniel
                            D. Domenico on 01/30/2023. (athom, ) (Entered: 01/30/2023)
   01/30/2023           306 ORDER as to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos.The Motion
                            of Third-Party Victims to Quash Subpoenas (Doc. 297 ) is GRANTED.The defendants'
                            third-party subpoenas dated 12/1/2022 are QUASHED. The defendants may, if they wish,

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                                file a renewed motion for leave to serve third-party subpoenas that fully complies with
                                Federal Rule of Criminal Procedure 17. By Judge Daniel D. Domenico on 01/30/2023.
                                (athom, ) (Entered: 01/30/2023)
   01/30/2023           307 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                            RULES/PROCEDURES: re: 303 Unopposed MOTION to Modify Conditions of Release
                            filed by attorney Michael John Tallon. The format for the attorney's signature block
                            information is not correct. DO NOT REFILE THE DOCUMENT. Action to take -
                            future documents must be filed pursuant to D.C.COLO.LCr49.1(a) and 4.3(d) of the
                            Electronic Case Filing Procedures (Criminal Cases). The document was scanned and not
                            converted directly to portable document format (PDF). DO NOT REFILE THE
                            DOCUMENT. Action to take - future documents must be filed pursuant to
                            D.C.COLO.LCr49.1(a) and 1.3(f) of the Electronic Case Filing Procedures (Criminal
                            Cases). (Text Only Entry) (athom, ) (Entered: 01/30/2023)
   01/31/2023           308 NOTICE OF ATTORNEY APPEARANCE: Jason Dale Schall appearing for Michael
                            Aaron TewAttorney Jason Dale Schall added to party Michael Aaron Tew(pty:dft)
                            (Schall, Jason) (Entered: 01/31/2023)
   02/03/2023           309 Unopposed MOTION to Continue Trial by Michael Aaron Tew. (Schall, Jason) (Entered:
                            02/03/2023)
   02/03/2023           310 ORDER re 309 Motion to Continue as to Michael Aaron Tew. The Court currently does
                            not have enough information to determine whether the ends-of-justice served by the
                            length of delay requested by the Defendant outweighs the best interests of the defendant
                            and public in a speedy trial. In light of the appointment of Mr. Tew's new counsel and the
                            suspension of the present time from the Speedy Trial Act given the James proceeding is
                            not yet under advisement, the eight-day jury trial set for 3/13/23 and Trial Preparation
                            Conference set for 3/7/2023 are VACATED. The Motion to Continue 309 is denied
                            without prejudice. If Defendant wishes to file a renewed Motion to Continue, he should
                            do so concurrent with the status report due 3/13/2023. SO ORDERED by Judge Daniel D.
                            Domenico on 02/03/2023. Text Only Entry (dddlc5, ) (Entered: 02/03/2023)
   02/07/2023           311 STATUS REPORT (Joint Status Report of Parties) by USA as to Michael Aaron Tew,
                            Kimberley Ann Tew (Fields, Bryan) (Entered: 02/07/2023)
   02/17/2023           312 Unopposed MOTION to Modify Conditions of Release by Michael Aaron Tew. (Schall,
                            Jason) (Entered: 02/17/2023)
   02/17/2023           313 ORDER granting 312 Motion to Modify Conditions of Release as to Michael Aaron Tew
                            (1). Condition 7(x)(w) is stricken from Defendant's Conditions of Release. Defendant's
                            supervising officer shall notify the Court if any issues arise from the removal of this
                            restriction. SO ORDERED by Judge Daniel D. Domenico on 2/17/2023. Text Only Entry
                            (dddlc5, ) (Entered: 02/17/2023)
   03/13/2023           314 STATUS REPORT re James Hearing (Joint Status Report of all Parties) by USA as to
                            Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos (Fields, Bryan) (Entered:
                            03/13/2023)
   03/13/2023           315 Unopposed MOTION for Order for an Ends of Justice (EOJ) Continuance Pursuant to 18
                            U.S.C. 3161(h)(7) by Kimberley Ann Tew. (Kaplan, David) (Entered: 03/13/2023)
   03/13/2023           316 Unopposed MOTION to Continue Trial by Michael Aaron Tew. (Schall, Jason) (Entered:
                            03/13/2023)
   03/17/2023           317 ORDER as to Kimberley Ann Tew. Defendant's Motion to Continue Trial and for an Ends
                            of Justice Continuance (Doc. 315 ) is GRANTED. Three hundred and twenty-nine (329)
                            days, from 3/17/2023 to 2/9/2024, will be excluded from the computation of Defendant

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                                Kimberley Tew's Speedy Trial Act time. Motions due by 9/13/2023. Responses due by
                                9/20/2023. The eight-day Jury Trial is RESET to 2/5/2024 at 9:00 a.m. in Courtroom
                                A1002 before Judge Daniel D. Domenico. The Trial Preparation Conference RESET to
                                1/30/2024 at 1:30 p.m. in Courtroom A1002 before Judge Daniel D. Domenico. By Judge
                                Daniel D. Domenico on 03/17/2023. (athom, ) (Entered: 03/17/2023)
   03/17/2023           318 ORDER as to Michael Aaron Tew. Defendant's Motion to Continue Trial and for an Ends
                            of Justice Continuance (Doc. 316 ) is GRANTED. Three hundred and twenty-nine (329)
                            days, from 3/17/2023 to 2/9/2024, will be excluded from the computation of Defendant
                            Michael Tew's Speedy Trial Act time. Motions due by 9/13/2023. Responses due by
                            9/20/2023. The eight-day Jury Trial is RESET to 2/5/2024 at 9:00 a.m. in Courtroom
                            A1002 before Judge Daniel D. Domenico. The Trial Preparation Conference is RESET to
                            1/30/2024 at 1:30 p.m. in Courtroom A1002 before Judge Daniel D. Domenico. By Judge
                            Daniel D. Domenico on 03/17/2023. (athom, ) (Entered: 03/17/2023)
   03/20/2023           319 RESTRICTED PRESENTENCE REPORT as to Jonathan K. Yioulos (Attachments: # 1
                            Exhibit A)(lgiac) (Entered: 03/20/2023)
   03/20/2023           320 RESTRICTED ADDENDUM to Presentence Report 319 as to Jonathan K. Yioulos
                            (lgiac) (Entered: 03/20/2023)
   03/22/2023           321 Unopposed MOTION to Continue adjourn sentencing and apply for,passport by Jonathan
                            K. Yioulos. (Tallon, Michael) (Entered: 03/22/2023)
   03/23/2023           322 ORDER granting 321 Motion to Continue as to Jonathan K. Yioulos (3). The sentencing
                            set for 3/29/2023 is VACATED and RESET for 3/5/2024 10:30 AM in Courtroom A1002
                            before Judge Daniel D. Domenico.

                                Mr. Yioulos's motion to apply for a passport 321 is GRANTED. If a passport is issued to
                                Mr. Yioulos, his counsel must maintain control of it until specific permission to travel is
                                granted. Mr. Yioulos must separately request permission to travel.

                                SO ORDERED by Judge Daniel D. Domenico on 3/23/2023. Text Only Entry (dddlc5, )
                                (Entered: 03/23/2023)
   03/24/2023           323 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                            RULES/PROCEDURES: re: 321 Unopposed MOTION to Continue adjourn sentencing
                            and apply for,passport filed by attorney Michael John Tallon. The format for the
                            attorney's signature block information is not correct. DO NOT REFILE THE
                            DOCUMENT. Action to take - future documents must be filed pursuant to
                            D.C.COLO.LCr49.1(a) and 4.3(d) of the Electronic Case Filing Procedures (Criminal
                            Cases). The document was scanned and not converted directly to portable document
                            format (PDF). DO NOT REFILE THE DOCUMENT. Action to take - future
                            documents must be filed pursuant to D.C.COLO.LCr49.1(a) and 1.3(f) of the Electronic
                            Case Filing Procedures (Criminal Cases). (Text Only Entry) (athom, ) (Entered:
                            03/24/2023)
   03/27/2023           324 Unopposed MOTION to Modify Conditions of Release for family travel to Florida on
                            March 30th by Jonathan K. Yioulos. (Tallon, Michael) (Entered: 03/27/2023)
   03/27/2023           325 ORDER granting 324 Motion to Modify Conditions of Release as to Jonathan K. Yioulos
                            (3). Mr. Yioulos may travel to Sarasota, Florida, to visit family from 3/30/23 to 4/6/23. He
                            must (1) provide documentation regarding his travel plans to United States Pretrial and
                            Probation Services in advance of departure, (2) contact his probation officer as directed
                            during the time of approved travel, and (3) promptly contact his probation officer upon
                            return from his trip. SO by Judge Daniel D. Domenico on 3/27/2023. (dddlc5, ) (Entered:
                            03/27/2023)
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   03/28/2023           326 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT RULES/PROCEDURES
                            re: 324 Unopposed Motion to Modify Conditions of Release filed by attorney Michael
                            John Tallon. The document was scanned and not converted directly to portable document
                            format (PDF). DO NOT REFILE THE DOCUMENT. Action to take - future
                            documents must be filed pursuant to D.C.COLO.LCr49.1(a) and 1.3(f) of the Electronic
                            Case Filing Procedures (Criminal Cases). (Text Only Entry) (jtorr, ) (Entered:
                            03/28/2023)
   05/01/2023           327 Unopposed MOTION to Modify Conditions of Release by Michael Aaron Tew. (Schall,
                            Jason) (Entered: 05/01/2023)
   05/01/2023           328 ORDER granting 327 Motion to Modify Conditions of Release as to Michael Aaron Tew
                            (1). Condition 7(q) of Mr. Tew's pre-trial release is removed. In lieu of 7(q) Mr. Tew must
                            report to U.S. Pre-trial Services/U.S. Probation by no later than 12:00 p.m. MST every
                            Monday. SO ORDERED by Judge Daniel D. Domenico on 5/1/2023. Text Only Entry
                            (dddlc5, ) (Entered: 05/01/2023)
   06/07/2023           329 Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                            06/07/2023)
   06/07/2023           330 ORDER granting 329 Motion to Travel as to Michael Aaron Tew (1). Mr. Tew may travel
                            between on or around June 17, 2023 and June 22, 2023 to the States of Wisconsin and
                            Michigan. He must (1) provide documentation regarding his travel plans to United States
                            Pretrial and Probation Services in advance of departure, (2) contact his probation officer
                            as directed during approved travel, and (3) promptly contact his probation officer upon
                            return from travel as directed. SO ORDERED by Judge Daniel D. Domenico on
                            6/7/2023. Text Only Entry (dddlc5, ) (Entered: 06/07/2023)
   06/16/2023           331 Unopposed MOTION to Travel Out of State by Kimberley Ann Tew. (Kaplan, David)
                            (Entered: 06/16/2023)
   06/16/2023           332 ORDER granting 331 Motion to Travel as to Kimberley Ann Tew (2). Ms. Tew may
                            travel between on or around June 17, 2023 and June 22, 2023 to the States of Wisconsin
                            and Michigan. She must (1) provide documentation regarding her travel plans to United
                            States Pretrial and Probation Services in advance of departure, (2) contact her probation
                            officer as directed during approved travel, and (3) promptly contact his probation officer
                            upon return from travel as directed. SO ORDERED by Judge Daniel D. Domenico on
                            6/16/2023. Text Only Entry (dddlc5, ) (Entered: 06/16/2023)
   07/07/2023           333 NOTICE OF ATTORNEY APPEARANCE: Richard Kent Kornfeld appearing for
                            Jonathan K. YioulosAttorney Richard Kent Kornfeld added to party Jonathan K.
                            Yioulos(pty:dft) (Kornfeld, Richard) (Entered: 07/07/2023)
   07/07/2023           334 MOTION to Withdraw as Attorney by Michael J. Tallon by Jonathan K. Yioulos. (Tallon,
                            Michael) (Entered: 07/07/2023)
   07/20/2023           335 ORDER granting 334 Motion to Withdraw as Attorney. The Clerk of Court is directed to
                            terminate Attorney Michael John Tallon as counsel of record for Jonathan K. Yioulos (3).
                            Mr. Yioulos will continue to be represented by Richard K. Kornfeld. SO ORDERED by
                            Judge Daniel D. Domenico on 7/20/2023. Text Only Entry (dddlc5, ) (Entered:
                            07/20/2023)
   09/12/2023           336 Unopposed MOTION for Extension of Time to File Pre-Trial Motions by Kimberley Ann
                            Tew. (Kaplan, David) (Entered: 09/12/2023)
   09/12/2023           337 Unopposed MOTION for Extension of Time to File by Michael Aaron Tew. (Schall,
                            Jason) (Entered: 09/12/2023)

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   09/13/2023           338 ORDER GRANTING 337 Motion for Extension of Time to File as to Michael Aaron
                            Tew; and

                                GRANTING 336 Motion for Extension of Time to File as to Kimberley Ann Tew.

                                The motions deadline as to Mr. Tew and Ms. Tew is extended to October 13, 2023. The
                                government must file responses on or before October 20, 2023. SO ORDERED by Judge
                                Daniel D. Domenico on 9/13/2023. Text Only Entry (dddlc3, ) (Entered: 09/13/2023)
   10/13/2023           339 STATUS REPORT (Joint Status Report) by USA as to Michael Aaron Tew, Kimberley
                            Ann Tew (Fields, Bryan) (Entered: 10/13/2023)
   10/26/2023           340 ORDER SETTING JAMES HEARING as to Michael Aaron Tew, Kimberley Ann Tew.

                                The Government must file any statements it will seek to admit at trial under Federal Rule
                                of Evidence 801(d)(2)(E) in the form of a James log, along with an accompanying brief,
                                on or before December 5, 2023.

                                The defendants must file their responses to the Government's James log and brief on or
                                before December 12, 2023. A James Hearing is SET for December 19, 2023 at 9:30 a.m.
                                in Courtroom A1002 before Judge Daniel D. Domenico. SO ORDERED by Judge Daniel
                                D. Domenico on 10/26/2023. Text Only Entry (dddlc3, ) (Entered: 10/26/2023)
   12/05/2023           341 Government's Proffer (Memorandum in Support of James Log) re: 340 Order,, by USA as
                            to Michael Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Exhibit 1 - James Log, # 2
                            Exhibit 1001 - Bank Accounts, # 3 Exhibit 1002 - Scheme Invoice Summary, # 4 Exhibit
                            1003 - Scheme Deposit Summary, # 5 Exhibit 1004 - HSCPA, MCG & 5530JD Summary,
                            # 6 Exhibit 1005 - PM Summary, # 7 Exhibit 1006 - GFL Summary, # 8 Exhibit 1007 -
                            AMR Summary)(Fields, Bryan) (Entered: 12/05/2023)
   12/12/2023           342 MOTION to Withdraw as Attorney by Albert Buchman by USA as to Michael Aaron Tew,
                            Kimberley Ann Tew, Jonathan K. Yioulos. (Buchman, Albert) (Entered: 12/12/2023)
   12/12/2023           343 ORDER GRANTING 342 Motion to Withdraw as Attorney. The Clerk of Court is
                            instructed to terminate attorney Albert Buchman as counsel of record, and to remove this
                            name from the electronic certificate of mailing. The government will continue to be
                            represented by attorney Bryan Fields. SO ORDERED by Judge Daniel D. Domenico on
                            12/12/2023. Text Only Entry (dddlc3, ) (Entered: 12/12/2023)
   12/12/2023           344 MOTION in Limine Regarding Exhibits Submitted as Part of James Proffer by USA as to
                            Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Exhibit List of Authentic
                            Business Records)(Fields, Bryan) (Entered: 12/12/2023)
   12/12/2023           345 RESPONSE by Michael Aaron Tew re: 341 Govt's Proffer, filed by USA (Schall, Jason)
                            (Entered: 12/12/2023)
   12/12/2023           346 RESPONSE by Kimberley Ann Tew re: 341 Govt's Proffer, filed by USA (Attachments: #
                            1 Exhibit 1)(Kaplan, David) (Entered: 12/12/2023)
   12/13/2023           347 RESTRICTED DOCUMENT - Level 3: by Kimberley Ann Tew. (Kaplan, David)
                            (Entered: 12/13/2023)
   12/18/2023           348 MOTION in Limine regarding post-trial release by Michael Aaron Tew. (Schall, Jason)
                            (Entered: 12/18/2023)
   12/18/2023           349 ORDER as to Kimberley Ann Tew. Jamie Hubbard of Stimson LaBranche Hubbard, LLC
                            is to be appointed as co-counsel for Kimberley Ann Tew's trial pursuant to the Criminal

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                                Justice Act, 18 U.S.C. § 3006A et. seq. SO ORDERED by Judge Daniel D. Domenico on
                                12/18/2023. Text Only Entry (dddlc3, ) (Entered: 12/18/2023)
   12/18/2023           350 EXHIBIT LIST JAMES HEARING by USA as to Michael Aaron Tew, Kimberley Ann
                            Tew, Jonathan K. Yioulos (Fields, Bryan) (Entered: 12/18/2023)
   12/18/2023           351 WITNESS LIST JAMES HEARING by USA as to Michael Aaron Tew, Kimberley Ann
                            Tew, Jonathan K. Yioulos (Fields, Bryan) (Entered: 12/18/2023)
   12/19/2023           352 Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                            12/19/2023)
   12/19/2023           353 NOTICE OF ATTORNEY APPEARANCE Sarah Hunter Weiss appearing for USA.
                            Attorney Sarah Hunter Weiss added to party USA(pty:pla) (Weiss, Sarah) (Entered:
                            12/19/2023)
   12/19/2023           355 MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: James
                            Hearing as to Michael Aaron Tew (1), Kimberley Ann Tew (2) held on 12/19/2023 re 344
                            MOTION in Limine Regarding Exhibits Submitted as Part of James Proffer filed by
                            USA, 348 MOTION in Limine regarding post-trial release filed by Michael Aaron Tew.
                            Deferring ruling on 344 Motion in Limine as to Michael Aaron Tew (1), Kimberley Ann
                            Tew (2). Deferring ruling on 348 Motion in Limine as to Michael Aaron Tew (1). James
                            Proffer is TAKEN UNDER ADVISEMENT. Defendants shall file responses to 344
                            Governments Motion in Limine for Ruling that Certain Exhibits are Authentic and
                            Covered by Business-Records Exception to the Hearsay Rule not later than Friday,
                            December 22, 2023. Bond is CONTINUED as to Defendants Michael Aaron Tew and
                            Kimberley Ann Tew. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered: 12/20/2023)
   12/19/2023           356 WITNESS LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew for James
                            Hearing held on 12/19/2023 with Clerk's notations as to date and time testified. (rkeec)
                            (Entered: 12/20/2023)
   12/19/2023           357 EXHIBIT LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew for 12/19/2023
                            James Hearing with Clerk's notations as to exhibits identified by the witness. (rkeec)
                            (Entered: 12/20/2023)
   12/20/2023           354 NOTICE OF ATTORNEY APPEARANCE: Jamie Hughes Hubbard appearing for
                            Kimberley Ann TewAttorney Jamie Hughes Hubbard added to party Kimberley Ann
                            Tew(pty:dft) (Hubbard, Jamie) (Entered: 12/20/2023)
   12/20/2023           358 ORDER GRANTING 352 Motion to Travel as to Michael Aaron Tew. Michael and
                            Kimberley Tew may travel out of state from on or about December 22 through January 3
                            as requested so long as Mr. Tew provides completed travel itineraries to the Probation
                            Department once those travel plans are finalized. SO ORDERED by Judge Daniel D.
                            Domenico on 12/20/2023. Text Only Entry (dddlc3, ) (Entered: 12/20/2023)
   12/22/2023           359 RESPONSE in Opposition by Michael Aaron Tew re 344 MOTION in Limine Regarding
                            Exhibits Submitted as Part of James Proffer (Schall, Jason) (Entered: 12/22/2023)
   12/22/2023           360 RESPONSE to Motion by Kimberley Ann Tew re 344 MOTION in Limine Regarding
                            Exhibits Submitted as Part of James Proffer (Kaplan, David) (Entered: 12/22/2023)
   12/29/2023           361 ORDER REGARDING ADMISSIBILITY OF RULE 801(d)(2)(E) STATEMENTS as to
                            Michael Aaron Tew (1), Kimberley Ann Tew (2). SO ORDERED by Judge Daniel D.
                            Domenico on 12/29/23. (rkeec) (Entered: 12/29/2023)
   01/08/2024           362 NOTICE OF ATTORNEY APPEARANCE: Lisa Marie Saccomano appearing for Movant
                            Atlantic Union Bank. (cmadr, ) (Entered: 01/09/2024)

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   01/09/2024           363 MOTION to Quash Subpoena by Atlantic Union Bank as to Michael Aaron Tew,
                            Kimberley Ann Tew, Jonathan K. Yioulos. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                            Exhibit 3)(Saccomano, Lisa) (Entered: 01/09/2024)
   01/17/2024           364 RESTRICTED DOCUMENT - Level 3: by Michael Aaron Tew. (Schall, Jason) (Entered:
                            01/17/2024)
   01/18/2024           365 ORDER as to Michael Aaron Tew. An attorney selected from the District's Criminal
                            Justice Act Panel is to be appointed as co-counsel for Michael Aaron Tew's trial pursuant
                            to the Criminal Justice Act, 18 U.S.C. § 3006A et seq. SO ORDERED by Judge Daniel D.
                            Domenico on 1/18/2024. Text Only Entry (dddlc3, ) (Entered: 01/18/2024)
   01/18/2024           366 RESPONSE to Motion by USA as to Michael Aaron Tew, Kimberley Ann Tew re 363
                            MOTION to Quash Subpoena (Weiss, Sarah) (Entered: 01/18/2024)
   01/19/2024           367 ORDER granting in part and denying in part as outlined in the order 344 Motion in
                            Limine as to Michael Aaron Tew (1), Kimberley Ann Tew (2). Denying as moot 363
                            Motion to Quash as to Michael Aaron Tew (1), Kimberley Ann Tew (2). SO ORDERED
                            by Judge Daniel D. Domenico on 1/19/2024. (rkeec) (Entered: 01/19/2024)
   01/19/2024           368 NOTICE OF ATTORNEY APPEARANCE: Kristen M. Frost appearing for Michael
                            Aaron TewAttorney Kristen M. Frost added to party Michael Aaron Tew(pty:dft) (Frost,
                            Kristen) (Entered: 01/19/2024)
   01/22/2024           369 Unopposed MOTION for Order to Produce Trial Exhibits via Electronic Means by USA
                            as to Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Proposed Order (PDF
                            Only))(Fields, Bryan) (Entered: 01/22/2024)
   01/23/2024           370 MOTION in Limine regarding proffer agreements by Michael Aaron Tew. (Attachments:
                            # 1 Exhibit Defendant's Exhibits A and B)(Schall, Jason) (Entered: 01/23/2024)
   01/24/2024           371 CLERK'S NOTE: ORIGINAL GOVERNMENT EXHIBITS for the 355 MINUTE
                            ENTRY for James Hearing as to Michael Aaron Tew, Kimberley Ann Tew were returned
                            to the Government on January 24, 2024. Text only entry. (rkeec) (Entered: 01/24/2024)
   01/24/2024           372 ORDER as to Michael Aaron Tew re 370 Motion in limine regarding proffer statements.
                            The government must file a response to Mr. Tew's motion at or before 5:00 pm on Friday,
                            January 26, 2024. SO ORDERED by Judge Daniel D. Domenico on 1/24/2024. Text Only
                            Entry (dddlc3, ) (Entered: 01/24/2024)
   01/24/2024           373 MOTION in Limine re Admissibility of Proffer Statements by Kimberley Ann Tew.
                            (Attachments: # 1 Exhibit A)(Kaplan, David) (Entered: 01/24/2024)
   01/24/2024           374 MOTION to Continue Trial and Motion for Ends of Justice Continuance of 90 Days by
                            Kimberley Ann Tew. (Kaplan, David) (Entered: 01/24/2024)
   01/24/2024           375 Proposed Verdict Form as to Michael Aaron Tew, Kimberley Ann Tew (Attachments: # 1
                            Proposed Document Parties' Proposed Verdict Form)(Weiss, Sarah) (Entered: 01/24/2024)
   01/24/2024           376 TRIAL BRIEF by Kimberley Ann Tew (Attachments: # 1 Exhibit A, # 2 Exhibit B)
                            (Kaplan, David) (Entered: 01/24/2024)
   01/24/2024           377 TRIAL BRIEF by Michael Aaron Tew (Schall, Jason) (Entered: 01/24/2024)
   01/24/2024           378 NOTICE of Certifications of Authentic, Non-Hearsay Business Records by USA as to
                            Michael Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Exhibit, # 2 Exhibit)(Weiss,
                            Sarah) (Entered: 01/24/2024)
   01/24/2024           379 TRIAL BRIEF by USA as to Michael Aaron Tew, Kimberley Ann Tew (Weiss, Sarah)
                            (Entered: 01/24/2024)
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   01/25/2024           380 Proposed Jury Instructions (Joint) by USA as to Michael Aaron Tew, Kimberley Ann Tew
                            (Weiss, Sarah) (Entered: 01/25/2024)
   01/25/2024           381 ORDER re Kimberley Tew's 373 Motion in Limine and 374 Motion to Continue Trial.
                            The government must provide responses to these two motions at or before 11:59 pm on
                            Friday, January 26, 2024. The government's response deadline for Mr. Tew's 370 Motion
                            in Limine is also extended to 11:59 pm on Friday, January 26, 2024. SO ORDERED by
                            Judge Daniel D. Domenico on 1/25/2024. Text Only Entry (dddlc3, ) (Entered:
                            01/25/2024)
   01/25/2024           382 ORDER GRANTING 369 Unopposed Motion to Produce Trial Exhibits Via Electronic
                            Means. The government must provide one original paper set of its proposed exhibits for
                            use at the upcoming trial. The government must provide electronic copies of those
                            exhibits to defense counsel on or before January 26, 2024.

                                The government must also provide three electronic copies (e.g., via three thumb
                                drives) of its proposed exhibits to the court on or before January 26, 2024. SO
                                ORDERED by Judge Daniel D. Domenico on 1/25/2024. Text Only Entry (dddlc3, )
                                (Entered: 01/25/2024)
   01/25/2024           383 EXHIBIT LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K.
                            Yioulos (Attachments: # 1 Exhibit List)(Fields, Bryan) (Entered: 01/25/2024)
   01/25/2024           384 WITNESS LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K.
                            Yioulos (Attachments: # 1 Witness List)(Fields, Bryan) (Entered: 01/25/2024)
   01/25/2024           385 NOTICE regarding proposed witness and exhibit lists by Michael Aaron Tew (Schall,
                            Jason) (Entered: 01/25/2024)
   01/25/2024           386 EXHIBIT LIST (Amended) by USA as to Michael Aaron Tew, Kimberley Ann Tew
                            (Attachments: # 1 Amended Exhibit List)(Fields, Bryan) (Entered: 01/25/2024)
   01/25/2024           387 EXHIBIT LIST by Kimberley Ann Tew (Attachments: # 1 Proposed Document Proposed
                            Exhibit List)(Hubbard, Jamie) (Entered: 01/25/2024)
   01/25/2024           388 WITNESS LIST by Kimberley Ann Tew (Attachments: # 1 Proposed Document Proposed
                            Witness List)(Hubbard, Jamie) (Entered: 01/25/2024)
   01/26/2024           389 Proposed Voir Dire by Kimberley Ann Tew (Hubbard, Jamie) (Entered: 01/26/2024)
   01/26/2024           390 Proposed Voir Dire by USA as to Michael Aaron Tew, Kimberley Ann Tew (Weiss, Sarah)
                            (Entered: 01/26/2024)
   01/26/2024           391 RESPONSE in Opposition by USA as to Kimberley Ann Tew re 374 MOTION to
                            Continue Trial and Motion for Ends of Justice Continuance of 90 Days (Fields, Bryan)
                            (Entered: 01/26/2024)
   01/26/2024           392 Proposed Voir Dire by Michael Aaron Tew (Schall, Jason) (Entered: 01/26/2024)
   01/26/2024           393 RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew re 373
                            MOTION in Limine re Admissibility of Proffer Statements and 370 Defendant Michael
                            Tew's Motion in Limine (Weiss, Sarah) (Entered: 01/26/2024)
   01/27/2024           394 RESTRICTED DOCUMENT - Level 2: as to Michael Aaron Tew, Kimberley Ann Tew.
                            (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)(Weiss, Sarah) (Entered: 01/27/2024)
   01/27/2024           395 RESTRICTED DOCUMENT - Level 2: as to Michael Aaron Tew, Kimberley Ann Tew.
                            (Weiss, Sarah) (Entered: 01/27/2024)


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   01/27/2024           396 MOTION for Leave to Restrict by USA as to Michael Aaron Tew, Kimberley Ann Tew.
                            (Attachments: # 1 Proposed Order (PDF Only))(Weiss, Sarah) (Entered: 01/27/2024)
   01/29/2024           397 MOTION for Leave to File Reply in Support of Motion in Limine by Kimberley Ann Tew.
                            (Hubbard, Jamie) (Entered: 01/29/2024)
   01/29/2024           398 BRIEF in Support by Kimberley Ann Tew to 373 MOTION in Limine re Admissibility of
                            Proffer Statements (Reply) (Hubbard, Jamie) (Entered: 01/29/2024)
   01/29/2024           399 MOTION to Exclude Testimony Regarding the Reasons for Michael Tew's Termination
                            from NAC as Proposed in the Government's Trial Brief (ECF 379) by Kimberley Ann
                            Tew. (Kaplan, David) (Entered: 01/29/2024)
   01/29/2024           400 BAIL STATUS REPORT 10 as to Michael Aaron Tew. (lgiac) (Entered: 01/29/2024)
   01/29/2024           401 BAIL STATUS REPORT 107 as to Kimberley Ann Tew. (lgiac) (Entered: 01/29/2024)
   01/30/2024           403 MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Trial
                            Preparation Conference as to Michael Aaron Tew (1), Kimberley Ann Tew (2) held on
                            1/30/2024. Taking under advisement 374 Defendant Kimberly Ann Tews Motion to
                            Continue Trial and Motion for Ends of Justice Continuance of 90 Days. Taking under
                            advisement 370 Motion in Limine as to Michael Aaron Tew (1). Taking under advisement
                            373 Motion in Limine as to Kimberley Ann Tew (2). Taking under advisement 399
                            Motion to Exclude as to Kimberley Ann Tew (2); re 370 MOTION in Limine regarding
                            proffer agreements filed by Michael Aaron Tew, 373 MOTION in Limine re Admissibility
                            of Proffer Statements filed by Kimberley Ann Tew, 399 MOTION to Exclude Testimony
                            Regarding the Reasons for Michael Tew's Termination from NAC as Proposed in the
                            Government's Trial Brief (ECF 379) filed by Kimberley Ann Tew. Bond is CONTINUED
                            as to Defendants Michael Aaron Tew and Kimberly Ann Tew. Court Reporter: Tammy
                            Hoffschildt. (rkeec) (Entered: 01/31/2024)
   01/31/2024           402 ORDER Denying 374 Motion to Continue as to Kimberley Ann Tew (2) by Judge Daniel
                            D. Domenico on 31 January 2024. The trial will proceed on February 5, 2024, as
                            scheduled. (cmadr, ) Modified to correct entry on 1/31/2024 (cmadr, ). (Entered:
                            01/31/2024)
   02/01/2024           404 ORDER REGARDING MOTIONS IN LIMINE AND PRE-TRIAL ISSUES as to
                            Michael Aaron Tew (1) and Kimberley Ann Tew (2) by Judge Daniel D. Domenico on 1
                            February 2024. Defendants' motions, Docs. 370 and 373 , are GRANTED IN PART and
                            DENIED IN PART as outlined herein. Ms. Tew's motion, Doc. 399 , is therefore
                            DENIED. (cmadr, ) (Entered: 02/01/2024)
   02/02/2024           405 Unopposed MOTION for Order To Obtain Testimony Via Live Contemporaneous Video
                            Conference by USA as to Michael Aaron Tew, Kimberley Ann Tew. (Fields, Bryan)
                            (Entered: 02/02/2024)
   02/02/2024           406 Order GRANTING 405 Unopposed Motion to Obtain Testimony Via Live
                            Contemporaneous Video Conference. The government is cautioned, however, that it bears
                            the risk of any technology malfunctions, whether on the Court's end or the witness's end.
                            SO ORDERED by Judge Daniel D. Domenico on 2/2/2024. Text Only Entry (dddlc3, )
                            (Entered: 02/02/2024)
   02/02/2024           407 WITNESS LIST (Final Witness List) by USA as to Michael Aaron Tew, Kimberley Ann
                            Tew (Attachments: # 1 Final Witness List)(Fields, Bryan) (Entered: 02/02/2024)
   02/02/2024           408 EXHIBIT LIST Final Exhibit List by USA as to Michael Aaron Tew, Kimberley Ann Tew
                            (Attachments: # 1 Exhibit)(Weiss, Sarah) (Entered: 02/02/2024)


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   02/04/2024           409 MOTION for Order for Finding that Ms. Tew's Waiver of Right to Confront and Cross-
                            Examine Witnesses was Not Knowing or, in the Alternative, Request for Hearing by
                            Kimberley Ann Tew. (Hubbard, Jamie) (Entered: 02/04/2024)
   02/04/2024           410 MOTION for Reconsideration re 404 Order on Motion in Limine,, Order on Motion to
                            Exclude,,, by Michael Aaron Tew. (Schall, Jason) (Entered: 02/04/2024)
   02/04/2024           411 NOTICE of Submission of Alternative Version of Charges for Juror Notebooks by
                            Kimberley Ann Tew (Attachments: # 1 Attachment)(Hubbard, Jamie) (Entered:
                            02/04/2024)
   02/04/2024           412 RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew re 409
                            MOTION for Order for Finding that Ms. Tew's Waiver of Right to Confront and Cross-
                            Examine Witnesses was Not Knowing or, in the Alternative, Request for Hearing, 410
                            MOTION for Reconsideration re 404 Order on Motion in Limine,, Order on Motion to
                            Exclude,,, (Fields, Bryan) (Entered: 02/04/2024)
   02/05/2024           413 EXHIBIT LIST by Kimberley Ann Tew (Hubbard, Jamie) (Entered: 02/05/2024)
   02/05/2024           414 MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                            (Day 1) held on 2/5/2024 as to Michael Aaron Tew (1), Kimberley Ann Tew (2). Denying
                            410 Motion for Reconsideration re 410 MOTION for Reconsideration re 404 Order on
                            Motion in Limine,, Order on Motion to Exclude,,, filed by Michael Aaron Tew, 409
                            MOTION for Order for Finding that Ms. Tew's Waiver of Right to Confront and Cross-
                            Examine Witnesses was Not Knowing or, in the Alternative, Request for Hearing filed by
                            Kimberley Ann Tew as to Michael Aaron Tew (1). Denying 409 Motion for Order as to
                            Kimberley Ann Tew (2). Bond continued as to both defendants. Court Reporter: Tammy
                            Hoffschildt. (rkeec) (Entered: 02/06/2024)
   02/05/2024           415 Jury Strike Sheet - Unredacted - Restricted Doc. - Level 4 (rkeec) (Entered: 02/06/2024)
   02/05/2024           416 Jury Strike Sheet with juror names redacted as to Michael Aaron Tew, Kimberley Ann
                            Tew. (rkeec) (Entered: 02/06/2024)
   02/05/2024           417 Jury Random List - Unredacted - Restricted Doc. - Level 4 (rkeec) (Entered: 02/06/2024)
   02/06/2024           418 MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                            (Day 2) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/6/2024. Defendant
                            Kimberley Ann Tews oral motion for severance is TAKEN UNDER ADVISEMENT.
                            Bond is continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec)
                            (Entered: 02/07/2024)
   02/07/2024           419 MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                            (Day 3) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/7/2024. Bond is
                            continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered:
                            02/08/2024)
   02/08/2024           420 Renewed MOTION to Sever Defendant by Michael Aaron Tew. (Attachments: # 1
                            Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Frost, Kristen) (Entered: 02/08/2024)
   02/08/2024           421 MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                            (Day 4) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/8/2024. Bond continued
                            as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered: 02/09/2024)
   02/09/2024           423 MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                            (Day 5) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/9/2024. Defendant
                            Kimberley Ann Tews oral motion for mistrial is DENIED. Bond continued as to both
                            defendants. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered: 02/12/2024)

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   02/11/2024           422 RESPONSE in Opposition by USA as to Michael Aaron Tew re 420 Renewed MOTION
                            to Sever Defendant (Weiss, Sarah) (Entered: 02/11/2024)
   02/12/2024           424 ORDER DENYING 420 Michael Tew's Renewed Motion for Severance. By Judge Daniel
                            D. Domenico on 2/12/2024. (dddlc1, ) (Entered: 02/12/2024)
   02/12/2024           425 MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                            (Day 6) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/12/2024. 420 Defendant
                            Michael Tews Renewed Motion for Severance is DENIED. Bond is continued as to both
                            defendants. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered: 02/13/2024)
   02/13/2024           426 MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew. The Clerk of Court
                            shall provide lunch to the jury for the duration of their deliberations commencing on
                            Wednesday, February 14, 2024. SO ORDERED by Judge Daniel D. Domenico on
                            2/13/2024. (rkeec) (Entered: 02/13/2024)
   02/13/2024           427 MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                            (Day 7) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/13/2024. Bond
                            continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered:
                            02/14/2024)
   02/14/2024           428 AMENDED MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew. The Clerk
                            of Court shall provide lunch to the jury, including the alternate juror, for the duration of
                            their deliberations commencing on Wednesday, February 14, 2024. SO ORDERED by
                            Judge Daniel D. Domenico on 2/14/2024. (rkeec) (Entered: 02/14/2024)
   02/14/2024           430 MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                            (Day 8) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/14/2024. Defendant
                            Kimberley Ann Tews oral motion for mistrial is DENIED. Defendant Kimberley Ann
                            Tews oral Rule 29 motion is DENIED. Defendant Kimberley Ann Tews oral motion for
                            severance is DENIED. Defendant Michael Aaron Tews oral Rule 29 motion is DENIED.
                            Defendant Michael Aaron Tews oral motion for severance is DENIED. Bond continued as
                            to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered: 02/15/2024)
   02/14/2024           431 Jury Note with juror name - Unredacted - Restricted Doc. - Level 4 (rkeec) (Entered:
                            02/15/2024)
   02/14/2024           432 Jury Note with juror name redacted as to Michael Aaron Tew, Kimberley Ann Tew.
                            (rkeec) (Entered: 02/15/2024)
   02/14/2024           433 WITNESS LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew with dates and
                            times testified. (rkeec) (Entered: 02/15/2024)
   02/14/2024           434 WITNESS LIST by Kimberley Ann Tew as to Michael Aaron Tew, Kimberley Ann Tew.
                            (rkeec) (Entered: 02/15/2024)
   02/14/2024           435 EXHIBIT LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew indicating
                            admitted exhibits. (rkeec) (Entered: 02/15/2024)
   02/14/2024           436 EXHIBIT LIST by Michael Aaron Tew, Kimberley Ann Tew indicating admitted exhibits.
                            (rkeec) (Entered: 02/15/2024)
   02/15/2024           429 ORDER as to Michael Aaron Tew, Kimberley Ann Tew. SO ORDERED by Judge Daniel
                            D. Domenico on 2/15/2024. (rkeec) (Entered: 02/15/2024)
   02/15/2024           438 Final Jury Instructions as to Michael Aaron Tew, Kimberley Ann Tew as read into the
                            record on 2/14/2024. (rkeec) (Entered: 02/16/2024)
   02/15/2024           439 MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                            (Day 9) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/15/2024. Jury Verdict as
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                   38/54
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                                to Michael Aaron Tew (1) Guilty on Count 1,1s,2,2s-40s,3,41s,42s,44s-56s,57s-60s and
                                Kimberley Ann Tew (2) Guilty on Count 1,21-22,25-26,31-32,41,43-44,47,56. Bond is
                                continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec) Modified on
                                2/16/2024 to correct as to Count 48 (rkeec). (Entered: 02/16/2024)
   02/15/2024           440 Jury Note 1 (Question) - Unredacted - Restricted Doc. - Level 4. (rkeec) (Entered:
                            02/16/2024)
   02/15/2024           441 Jury Note 2 (Question) - Unredacted - Restricted Doc. - Level 4. (rkeec) (Entered:
                            02/16/2024)
   02/15/2024           442 Jury Note 3 (Verdict) - Unredacted - Restricted Doc. - Level 4. (rkeec) (Entered:
                            02/16/2024)
   02/15/2024           443 Jury Note 1 (Question) with juror name redacted as to Michael Aaron Tew, Kimberley
                            Ann Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024           444 Jury Note 2 (Question) with juror name redacted as to Michael Aaron Tew, Kimberley
                            Ann Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024           445 Jury Note 3 (Verdict) with juror name redacted as to Michael Aaron Tew, Kimberley Ann
                            Tew. (rkeec) Modified on 2/16/2024 (rkeec, ). (Entered: 02/16/2024)
   02/15/2024           446 Court Response to Jury Notes 1 and 2 (Questions) as to Michael Aaron Tew, Kimberley
                            Ann Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024           447 Jury Verdict Un-Redacted - Level 4 - Viewable by Court Only. (rkeec) (Entered:
                            02/16/2024)
   02/15/2024           448 JURY VERDICT with juror name redacted as to Michael Aaron Tew, Kimberley Ann
                            Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024           449 STIPULATION AND ORDER REGARDING CUSTODY OF EXHIBITS AND
                            DEPOSITIONS as to Michael Aaron Tew, Kimberley Ann Tew. SO ORDERED by Judge
                            Daniel D. Domenico on 2/15/2024. (rkeec) (Entered: 02/16/2024)
   02/16/2024           437 Unopposed MOTION to Continue Sentencing by Jonathan K. Yioulos. (Kornfeld,
                            Richard) (Entered: 02/16/2024)
   02/21/2024           450 MOTION to Detain Defendants Michael Tew & Kimberley Tew Pending Sentencing by
                            USA as to Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Exhibit)(Weiss,
                            Sarah) (Entered: 02/21/2024)
   02/21/2024           451 ORDER as to Michael Aaron Tew, Kimberley Ann Tew re 450 MOTION to Detain
                            Defendants Michael Tew & Kimberley Tew Pending Sentencing filed by USA.

                                Mr. Tew and Mrs. Tew must each file responses to the government's 450 Motion to Detain
                                on or before February 27, 2024. SO ORDERED by Judge Daniel D. Domenico on
                                2/21/2024. Text Only Entry (dddlc3, ) (Entered: 02/21/2024)
   02/21/2024           452 ORDER GRANTING 437 Motion to Continue Sentencing as to Jonathan K. Yioulos. The
                            Sentencing set as to Mr. Yioulos for March 5, 2024 at 10:30 AM is VACATED and
                            RESET for September 17, 2024 at 10:30 AM in Courtroom A1002 before Judge Daniel
                            D. Domenico. SO ORDERED by Judge Daniel D. Domenico on 2/21/2024. Text Only
                            Entry (dddlc3, ) (Entered: 02/21/2024)
   02/27/2024           453 RESPONSE in Opposition by Michael Aaron Tew re 450 MOTION to Detain Defendants
                            Michael Tew & Kimberley Tew Pending Sentencing (Schall, Jason) (Entered: 02/27/2024)


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   02/27/2024           454 RESPONSE to Motion by Kimberley Ann Tew re 450 MOTION to Detain Defendants
                            Michael Tew & Kimberley Tew Pending Sentencing (Kaplan, David) (Entered:
                            02/27/2024)
   03/12/2024           455 ORDER re 450 Motion to Detain Defendants Michael and Kimberley Tew. The
                            government's motion questions whether Mr. and Mrs. Tew are still eligible for CJA-
                            appointed counsel for this case. There is sufficient evidence to call into question their
                            present eligibility under 18 U.S.C. § 3006A(c).

                                The issue of whether Michael Tew and Kimberley Tew remain entitled to ongoing court-
                                appointed counsel under Section 3006A(c) is therefore REFERRED to Magistrate Judge
                                Susan Prose. All other issues raised in the government's motion, including the potential
                                detention of Mr. and Mrs. Tew pending sentencing or the potential un-sealing of any prior
                                CJA affidavits, will be addressed at a detention hearing before this Court as outlined
                                below.

                                It is therefore ORDERED that a Hearing on the 450 Government's Motion is SET for
                                April 22, 2024 at 10:30 AM in Courtroom A1002 before Judge Daniel D. Domenico. SO
                                ORDERED by Judge Daniel D. Domenico on 3/12/2024. Text Only Entry (dddlc3, )
                                (Entered: 03/12/2024)
   03/12/2024           456 ORDER as to Michael Aaron Tew. A Sentencing Hearing as to Michael Tew is SET for
                            August 8, 2024 at 10:30 AM in Courtroom A1002 before Judge Daniel D. Domenico. SO
                            ORDERED by Judge Daniel D. Domenico on 3/12/2024. Text Only Entry (dddlc3, )
                            (Entered: 03/12/2024)
   03/12/2024           457 ORDER as to Kimberley Ann Tew. A Sentencing Hearing as to Kimberley Tew is SET for
                            August 8, 2024 at 1:30 PM in Courtroom A1002 before Judge Daniel D. Domenico. SO
                            ORDERED by Judge Daniel D. Domenico on 3/12/2024. Text Only Entry (dddlc3, )
                            (Entered: 03/12/2024)
   03/14/2024           458 SENTENCING STATEMENT by USA as to Michael Aaron Tew (Attachments: # 1
                            Exhibit, # 2 Exhibit)(Fields, Bryan) (Entered: 03/14/2024)
   03/14/2024           459 SENTENCING STATEMENT by USA as to Kimberley Ann Tew (Attachments: # 1
                            Exhibit, # 2 Exhibit)(Fields, Bryan) (Entered: 03/14/2024)
   03/15/2024           460 ORDER SETTING STATUS CONFERENCE as to Michael Aaron Tew, Kimberley Ann
                            Tew by Magistrate Judge Susan Prose on 3/15/2024. A 30-minute in-person Status
                            Conference is hereby set for 3/18/2024, at 4:00 PM in Courtroom C205 before Magistrate
                            Judge Susan Prose. The parties shall be prepared to discuss Defendant Michael Tew's
                            request for "an ex parte hearing... to determine whether Mr. Tew 'is financially able to
                            obtain counsel or to make partial payment for the representation' pursuant to 18 U.S.C. §
                            3006A(c)." See ECF No. 453 at 3. Text Only Entry. (trvo, ) (Entered: 03/15/2024)
   03/18/2024           461 MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew by Magistrate Judge
                            Susan Prose on 3/18/2024. At the request of the parties, the Status Conference is RESET
                            for 3/21/2024, at 04:00 PM in Courtroom C205 before Magistrate Judge Susan Prose.
                            Text Only Entry. (trvo, ) (Entered: 03/18/2024)
   03/21/2024           462 MINUTE ENTRY for Status Conference as to Michael Aaron Tew and Kimberley Ann
                            Tew held before Magistrate Judge Susan Prose on 3/21/2024. Discussion regarding issue
                            referred to this court (see ECF No. 455). An ex parte hearing to determine Michael Tew's
                            entitlement to ongoing court-appointed counsel under 18 U.S.C. § 3006A(c) is SET for
                            March 28, 2024, at 1:30 p.m. in Courtroom C205 before Magistrate Judge Susan Prose.
                            Any documents to be submitted in connection with this hearing shall be sent directly to
                            Chambers, as discussed on the record, on or before 10:00 a.m. March 27, 2024. An ex
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                                parte hearing to determine Kimberley Ann Tew's entitlement to ongoing court-appointed
                                counsel under 18 U.S.C. § 3006A(c) is SET for April 15, 2024, at 1:30 p.m. in Courtroom
                                C205 before Magistrate Judge Susan Prose. Any documents to be submitted in connection
                                with this hearing shall be sent directly to Chambers, as discussed on the record, on or
                                before 12:00 p.m. April 10, 2024. Hearing concluded. FTR: C205. (Total time: 1 hour and
                                8 minutes, Hearing time: 3:57 p.m. - 5:05 p.m.) Text Only Entry.

                                APPEARANCES: Bryan David Fields and Sarah Hunter Weiss on behalf of the
                                Government, Jason Dale Schall and Kristen M. Frost on behalf of Defendant Michael
                                Aaron Tew and David Scott Kaplan on behalf of Defendant Kimberly Ann Tew. (trvo, )
                                (Entered: 03/22/2024)
   03/21/2024           463 Utility Setting/Resetting Deadlines/Hearings as to Michael Aaron Tew: Ex Parte In Court
                            Hearing set for 3/28/2024, at 01:30 PM in Courtroom C205 before Magistrate Judge
                            Susan Prose. Text Only Entry (trvo, ) (Entered: 03/22/2024)
   03/21/2024           464 Utility Setting/Resetting Deadlines/Hearings as to Kimberley Ann Tew: Ex Parte In Court
                            Hearing set for 4/15/2024, at 01:30 PM in Courtroom C205 before Magistrate Judge
                            Susan Prose. Text Only Entry (trvo, ) (Entered: 03/22/2024)
   03/27/2024           465 STATEMENT by Government Regarding Michael Tew's Eligibility for CJA-Funded
                            Counsel Going Forward by Plaintiff USA (Weiss, Sarah) (Entered: 03/27/2024)
   03/27/2024           466 RESTRICTED DOCUMENT LEVEL 3 - Conventionally Submitted Material: 1 Flash
                            Drive re 462 Status Conference, by Plaintiff USA. Location: 1st Floor Area, Box D-5-9.
                            Text Only Entry. (sphil, ) Modified on 4/15/2024 to add restriction (trvo, ). (Entered:
                            03/27/2024)
   03/27/2024           467 RESTRICTED DOCUMENT LEVEL 3 - Conventionally Submitted Material: 1 USB
                            Drive re 462 Status Conference, by Defendant Michael Aaron Tew. Location: 1st Floor
                            Area, Box D-5-9. Text Only Entry. (trvo, ) Modified on 4/15/2024 to add restriction (trvo,
                            ). (Entered: 03/28/2024)
   03/28/2024           468 MINUTE ENTRY for Ex Parte Hearing as to Michael Aaron Tew held before Magistrate
                            Judge Susan Prose on 3/28/2024. The Court finds that Defendant Michael Tew remains
                            eligible for court-appointed counsel. A separate public written order will be issued. FTR:
                            C205. (trvo, ) (Entered: 03/29/2024)
   04/01/2024           469 ORDER GRANTING 397 Motion for Leave to File Reply as to Kimberley Ann Tew. By
                            Judge Daniel D. Domenico on 4/1/2024. Text Only Entry (dddlc1, ) (Entered:
                            04/01/2024)
   04/01/2024           470 ORDER GRANTING 396 Motion for Leave to Restrict. The Clerk of Court is directed to
                            maintain Docs. 394 and 395 at Level 2 restriction. SO ORDERED by Judge Daniel D.
                            Domenico on 4/1/2024. Text Only Entry (dddlc1, ) (Entered: 04/01/2024)
   04/05/2024           471 ORDER REGARDING DEFENDANT MICHAEL TEW'S ELIGIBILITY FOR
                            ONGOING COURT-APPOINTED COUNSEL by Magistrate Judge Susan Prose on
                            4/5/2024. (trvo, ) (Entered: 04/05/2024)
   04/10/2024           472 STATEMENT by Government Regarding Kimberley Tew's Eligibility for CJA-Funded
                            Counsel Going Forward by Plaintiff USA (Weiss, Sarah) (Entered: 04/10/2024)
   04/15/2024           473 RESTRICTED DOCUMENT LEVEL 3 - Conventionally Submitted Material: 1 USB
                            Drive re 462 Status Conference, by Defendant Kimberley Ann Tew. Location: 1st Floor
                            Area, Box D-5-9. Text Only Entry (trvo, ) Modified on 4/15/2024 to add restriction (trvo,
                            ). (Entered: 04/15/2024)


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   04/15/2024           474 MINUTE ENTRY for Ex Parte Hearing as to Kimberley Ann Tew held before Magistrate
                            Judge Susan Prose on 4/15/2024. The Court finds that Defendant Kimberley Ann Tew
                            remains eligible for court-appointed counsel. A separate public written order will be
                            issued. FTR: C205. (trvo, ) (Entered: 04/16/2024)
   04/16/2024           475 Unopposed MOTION for Order Requiring the Parties to File Visual Presentations into
                            the Record by Kimberley Ann Tew. (Hubbard, Jamie) (Entered: 04/16/2024)
   04/16/2024           476 ORDER granting 475 Motion for Order Requiring the Parties to File Visual Presentations
                            into the Record. The parties are ordered to file all visual presentations used during
                            opening statements and closing arguments into the record. SO ORDERED by Judge
                            Daniel D. Domenico on 4/16/2024. Text Only Entry (dddlc9, ) (Entered: 04/16/2024)
   04/18/2024           477 NOTICE OF CONVENTIONAL SUBMISSION re 476 Order on Motion for Order, by
                            USA as to Michael Aaron Tew, Kimberley Ann Tew (Fields, Bryan) (Entered:
                            04/18/2024)
   04/18/2024           479 Conventionally Submitted Material : USB exhibits to 477 NOTICE OF
                            CONVENTIONAL SUBMISSION re 476 Order on Motion for Order, by Plaintiff USA -
                            Material placed in the oversized area D-5-9 of the Clerk's Office. Text Only Entry (angar,
                            ) (Entered: 04/19/2024)
   04/19/2024           478 ORDER REGARDING DEFENDANT KIMBERLEY ANN TEW'S ELIGIBILITY FOR
                            ONGOING COURT-APPOINTED COUNSEL by Magistrate Judge Susan Prose on
                            4/19/2024. (trvo, ) (Entered: 04/19/2024)
   04/21/2024           480 MOTION for Leave to Restrict by Kimberley Ann Tew. (Hubbard, Jamie) (Entered:
                            04/21/2024)
   04/21/2024           481 RESTRICTED DOCUMENT - Level 1: by Kimberley Ann Tew. (Hubbard, Jamie)
                            (Entered: 04/21/2024)
   04/21/2024           482 RESTRICTED DOCUMENT - Level 1: by Kimberley Ann Tew. (Hubbard, Jamie)
                            (Entered: 04/21/2024)
   04/22/2024           483 MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Evidentiary
                            Hearing as to Michael Aaron Tew, Kimberley Ann Tew held on 4/22/2024 re 450
                            MOTION to Detain Defendants Michael Tew & Kimberley Tew Pending Sentencing filed
                            by USA. 450 Motion to Detain as to Michael Aaron Tew (1), Kimberley Ann Tew (2) is
                            DENIED, but the Court will impose additional conditions of bond. Court indicates that a
                            written order shall follow. Bond is continued as to Michael Aaron Tew and Kimberley
                            Ann Tew. Court Reporter: Tammy Hoffschildt. (Attachments: # 1 Government's witness
                            list, # 2 Government's exhibit list) (rkeec) (Entered: 04/22/2024)
   04/23/2024           484 NOTICE of Filing of Visual Presentation by Kimberley Ann Tew (Attachments: # 1
                            PowerPoint Closing Statement)(Hubbard, Jamie) (Entered: 04/23/2024)
   04/23/2024           485 Unopposed MOTION to Travel UNOPPOSED MOTION FOR DEFENDANT TO
                            TRAVEL OUT OF THE COUNTRY by Jonathan K. Yioulos. (Attachments: # 1 Waiver of
                            Extradition)(Kornfeld, Richard) (Entered: 04/23/2024)
   04/23/2024           486 NOTICE Of Clarification Regarding Sentencing Statement by Michael Aaron Tew (Frost,
                            Kristen) (Entered: 04/23/2024)
   04/24/2024           487 ORDER granting 485 Motion to Travel as to Jonathan K. Yioulos. Mr. Yioulos may travel
                            to Montego Bay, Jamaica, from June 26 to July 2, 2024. He must (1) provide
                            documentation regarding his travel plans to United States Pretrial and Probation Services
                            in advance of departure, and (2) promptly contact his probation officer upon return from

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                   42/54
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                                each trip. SO ORDERED by Judge Daniel D. Domenico on 4/24/2024. Text Only Entry
                                (dddlc9, ) (Entered: 04/24/2024)
   04/24/2024           488 NOTICE Of Filing Of Visual Presentation by Michael Aaron Tew (Attachments: # 1
                            Closing Argument PowerPoint)(Frost, Kristen) (Entered: 04/24/2024)
   04/25/2024           489 ORDER modifying conditions of release as to Michael Aaron Tew and Kimberley Ann
                            Tew. The following conditions are added to those already in effect:

                                1. Defendants shall disclose a complete list of all bank accounts and peer-to-peer financial
                                services accounts to which they have access no later than April 30, 2024. Defendants
                                shall further provide a statement for each of these accounts to their supervising officer no
                                later than the 5th of each following month, starting on May 5th, 2024.

                                2. Defendants shall refrain from gambling of any kind, purchasing over $50 of gift cards
                                in a given day, and engaging in any cryptocurrency transaction without the prior approval
                                of the supervising officer.

                                3.The supervising officer may, in his discretion, share any information provided to him by
                                Defendants pursuant to these conditions with the government.

                                SO ORDERED by Judge Daniel D. Domenico on 4/25/2024. Text Only Entry (dddlc9, )
                                (Entered: 04/25/2024)
   04/25/2024           490 ORDER denying as moot 348 Motion in Limine in light of 483 and 489 . SO ORDERED
                            by Judge Daniel D. Domenico on 4/25/2024. Text Only Entry (dddlc9, ) (Entered:
                            04/25/2024)
   04/25/2024           491 ORDER granting 480 Motion for Leave to Restrict. The Clerk of Court is directed to
                            maintain Doc. 482 at Level 1 restriction. SO ORDERED by Judge Daniel D. Domenico
                            on 4/25/2024. Text Only Entry (dddlc9, ) (Entered: 04/25/2024)
   04/26/2024           492 NOTICE OF ATTORNEY APPEARANCE Martha Ann Paluch appearing for USA.
                            Attorney Martha Ann Paluch added to party USA(pty:pla) (Paluch, Martha) (Entered:
                            04/26/2024)
   04/26/2024           493 RESTRICTED DOCUMENT - Level 3: by USA as to Kimberley Ann Tew (Paluch,
                            Martha) (Entered: 04/26/2024)
   04/26/2024           494 RESTRICTED DOCUMENT - Level 1: by USA as to Kimberley Ann Tew (Paluch,
                            Martha) (Entered: 04/26/2024)
   04/26/2024           495 MOTION for Leave to Restrict by USA as to Kimberley Ann Tew. (Attachments: # 1
                            Proposed Order (PDF Only))(Paluch, Martha) (Entered: 04/26/2024)
   04/26/2024           499 ORDER Updating Conditions of Release as to Michael Aaron Tew (1) $20,000
                            Unsecured. SO ORDERED by Judge Daniel D. Domenico on 4/26/2024. (rkeec)
                            (Entered: 05/01/2024)
   04/26/2024           500 ORDER Updating Conditions of Release as to Kimberley Ann Tew (2) $10,000
                            Unsecured. SO ORDERED by Judge Daniel D. Domenico on 4/26/2024. (rkeec)
                            (Entered: 05/01/2024)
   04/29/2024           496 Unopposed MOTION to Travel Out of State by Jonathan K. Yioulos. (Kornfeld, Richard)
                            (Entered: 04/29/2024)
   04/30/2024           497 ORDER granting 496 Motion to Travel as to Jonathan K. Yioulos. Instead of going to
                            Jamaica, Mr. Yioulos may travel to Miami, Florida from June 25 to July 1, 2024. He must
                            (1) provide documentation regarding his travel plans to United States Pretrial and
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                    43/54
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                                Probation Services in advance of departure, and (2) promptly contact his probation officer
                                upon return from the trip. SO ORDERED by Judge Daniel D. Domenico on 4/30/2024.
                                Text Only Entry (dddlc9, ) (Entered: 04/30/2024)
   04/30/2024           498 ORDER granting 495 Motion for Leave to Restrict. The Clerk of Court is directed to
                            maintain Doc. 493 at Level 3 restriction and to maintain Doc. 494 at Level 1 restriction.
                            SO ORDERED by Judge Daniel D. Domenico on 4/30/2024. Text Only Entry (dddlc9, )
                            (Entered: 04/30/2024)
   05/08/2024           501 ORDER denying 482 RESTRICTED DOCUMENT - Level 1: by Kimberley Ann Tew.
                            Having reviewed the pleadings on this issue and considered the relevant facts, the motion
                            is denied. SO ORDERED by Judge Daniel D. Domenico on 5/8/2024. Text Only Entry
                            (dddlc9, ) (Entered: 05/08/2024)
   05/31/2024           502 Unopposed MOTION to Continue Sentencing and Related Deadlines by Michael Aaron
                            Tew. (Schall, Jason) (Entered: 05/31/2024)
   06/04/2024           503 ORDER granting 502 Motion to Continue as to Michael Aaron Tew. Mr. Tew's
                            sentencing, which was set for 8/8/2024, is vacated and reset for 9/12/2024 at 10:30 AM in
                            Courtroom A1002 before Judge Daniel D. Domenico. SO ORDERED by Judge Daniel D.
                            Domenico on 6/4/2024. Text Only Entry (dddlc9, ) (Entered: 06/04/2024)
   07/02/2024           504 RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                            Kimberley Ann Tew (Attachments: # 1 Exhibit A)(aarag, ) (Entered: 07/02/2024)
   07/09/2024           505 ORDER RESETTING HEARING as to Jonathan K. Yioulos. Due to a conflict on the
                            Court's calendar, and after consultation with counsel, the Sentencing set for 9/17/2024 is
                            VACATED and RESET for 10/2/2024 at 03:30 PM in Courtroom A1002 before Judge
                            Daniel D. Domenico. SO ORDERED by Judge Daniel D. Domenico on 7/9/2024. Text
                            Only Entry (dddlc1, ) (Entered: 07/09/2024)
   07/15/2024           506 Unopposed MOTION for Extension of Time to File Objections to Presentence
                            Investigation Report by Kimberley Ann Tew. (Attachments: # 1 Proposed Order (PDF
                            Only) Proposed Order re: Motion for Extension of Time to Submit Objection to
                            Presentence Investigation Report)(Kaplan, David) (Entered: 07/15/2024)
   07/17/2024           507 ORDER granting 506 Motion for Extension of Time. Ms. Tew may file objections to the
                            PSIR on or before July 19, 2024. SO ORDERED by Judge Daniel D. Domenico on
                            7/17/2024. Text Only Entry (dddlc9, ) (Entered: 07/17/2024)
   07/19/2024           508 OBJECTION/RESPONSE to Presentence Report by Kimberley Ann Tew (Attachments: #
                            1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3, # 4 Exhibit Exhibit 3a, #
                            5 Exhibit Exhibit 4, # 6 Exhibit Exhibit 5, # 7 Exhibit Exhibit 6, # 8 Exhibit Exhibit 6a, #
                            9 Exhibit Exhibit 7, # 10 Exhibit Exhibit 7a)(Kaplan, David) (Entered: 07/19/2024)
   07/19/2024           510 Conventionally Submitted Material : 1 Flash Drive re Objection/Response to Presentence
                            Report, 508 by Defendant Kimberley Ann Tew. Location of Stored Items: Box D-5-5.
                            Text Only Entry (cmadr, ) (Entered: 07/23/2024)
   07/22/2024           509 Unopposed MOTION for Leave to Restrict by Kimberley Ann Tew. (Attachments: # 1
                            Proposed Order (PDF Only) PO re Unopposed Motion to Restrict)(Kaplan, David)
                            (Entered: 07/22/2024)
   07/24/2024           511 ORDER granting 509 Motion for Leave to Restrict. The Clerk of Court is directed to
                            maintain Doc. 508 at Level 2 restriction. SO ORDERED by Judge Daniel D. Domenico
                            on 7/24/2024. Text Only Entry (dddlc9, ) (Entered: 07/24/2024)
   07/25/2024           512 NOTICE OF ATTORNEY APPEARANCE Laura Beth Hurd appearing for USA.
                            Attorney Laura Beth Hurd added to party USA(pty:pla) (Hurd, Laura) (Entered:
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                  44/54
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                                07/25/2024)
   07/25/2024           513 MOTION for Forfeiture of Property for Preliminary Order of Forfeiture by USA as to
                            Kimberley Ann Tew. (Attachments: # 1 Proposed Order (PDF Only))(Hurd, Laura)
                            (Entered: 07/25/2024)
   07/25/2024           514 ORDER re 513 Motion for Preliminary Order of Forfeiture. If Ms. Tew opposes the
                            motion, she is ordered to file a response on or before August 2, 2024. SO ORDERED by
                            Judge Daniel D. Domenico on 7/25/2024. Text Only Entry (dddlc9, ) (Entered:
                            07/25/2024)
   07/25/2024           515 RESTRICTED DOCUMENT - Level 2: as to Kimberley Ann Tew. (Kaplan, David)
                            (Entered: 07/25/2024)
   07/26/2024           516 RESTRICTED DOCUMENT - Level 2: as to Michael Aaron Tew, Kimberley Ann Tew,
                            Jonathan K. Yioulos. (Attachments: # 1 Conventionally Submitted, # 2 Exhibit, # 3
                            Exhibit)(Weiss, Sarah) (Entered: 07/26/2024)
   07/26/2024           519 Conventionally Submitted Material : One CD re Restricted Document - Level 2 516 by
                            Plaintiff USA. Location of stored items: Sealed Room. Text Only Entry (cmadr, )
                            (Entered: 07/30/2024)
   07/29/2024           517 RESTRICTED PRESENTENCE REPORT as to Kimberley Ann Tew (Attachments: # 1
                            Exhibit A)(agalv) (Entered: 07/29/2024)
   07/29/2024           518 RESTRICTED ADDENDUM to Presentence Report 517 as to Kimberley Ann Tew
                            (agalv) (Entered: 07/29/2024)
   08/01/2024           520 RESTRICTED DOCUMENT - Level 2: as to Kimberley Ann Tew. (Weiss, Sarah)
                            (Entered: 08/01/2024)
   08/01/2024           521 Unopposed MOTION for Order To Permit Virtual or Telephonic Attendance for Co-
                            Defendant's Sentencing Hearing by Michael Aaron Tew. (Frost, Kristen) (Entered:
                            08/01/2024)
   08/02/2024           522 RESPONSE to Motion by Kimberley Ann Tew re 513 MOTION for Forfeiture of
                            Property for Preliminary Order of Forfeiture (Kaplan, David) (Entered: 08/02/2024)
   08/05/2024           523 ORDER as to Kimberley Ann Tew re 513 Motion for Preliminary Order of Forfeiture.
                            The Court will hold a hearing regarding forfeiture starting at 1:00 PM on August 8, 2024
                            in Courtroom A1002. Sentencing will follow immediately afterward. SO ORDERED by
                            Judge Daniel D. Domenico on 8/5/2024. Text Only Entry (dddlc9, ) (Entered:
                            08/05/2024)
   08/05/2024           524 ORDER granting 521 Motion for Order as to Michael Aaron Tew to Permit Virtual or
                            Telephonic Attendance for Co-Defendant's Sentencing Hearing. Mr. Tew's counsel is
                            directed to contact the Courtroom Deputy via email (robb_keech@cod.uscourts.gov) no
                            later than 8/6/2024 for instructions on how to proceed by telephone conference. All
                            persons participating in court proceedings remotely by VTC or teleconference are
                            prohibited, under penalty of contempt, from recording or broadcasting the proceeding in
                            any manner. SO ORDERED by Judge Daniel D. Domenico on 8/5/2024. Text Only Entry
                            (dddlc9, ) (Entered: 08/05/2024)
   08/06/2024           525 REPLY TO RESPONSE to Motion by USA as to Kimberley Ann Tew re 513 MOTION
                            for Forfeiture of Property for Preliminary Order of Forfeiture UNITED STATES REPLY
                            TO KIMBERLEY TEWS NOTICE OF OBJECTION TO UNITED STATES MOTION FOR
                            PRELIMINARY ORDER OF FORFEITURE (ECF DOC. 522) (Hurd, Laura) (Entered:
                            08/06/2024)

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                   45/54
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11/25/24, 1:29 PM                                              46CM/ECF
                                                                   of 54- U.S. District Court:cod
   08/08/2024           526 RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                            Michael Aaron Tew (Attachments: # 1 Exhibit A)(ntaka) (Entered: 08/08/2024)
   08/08/2024           527 MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Forfeiture
                            Hearing and Sentencing as to Kimberley Ann Tew (2) held on 8/8/2024. Granting 513
                            Motion for Forfeiture of Property as to Kimberley Ann Tew (2). Granting in part 515
                            Defendants Motion. Defendant sentenced as reflected on the record. Bond continued.
                            Court Reporter: Tammy Hoffschildt. (rkeec) Modified on 8/8/2024 to include ruling on
                            515 Defendant's Motion. (rkeec). (Entered: 08/08/2024)
   08/13/2024           528 JUDGMENT as to defendant Kimberley Ann Tew (2), Count(s) 1, Defendant shall be
                            imprisoned for a total term of forty-eight (48) months on each count to run concurrently,
                            three (3) years supervised release on each count to run concurrently, $100.00 special
                            assessment ($1,200 total), no fine, and restitution in the total amount of $5,053,878.50.;
                            Count(s) 16, Dismissed by Court during jury trial.; Count(s) 21-22, Defendant shall be
                            imprisoned for a total term of forty-eight (48) months on each count to run concurrently,
                            three (3) years supervised release on each count to run concurrently, $100.00 special
                            assessment ($1,200 total), no fine, and restitution in the total amount of $5,053,878.50.;
                            Count(s) 25-26, Defendant shall be imprisoned for a total term of forty-eight (48) months
                            on each count to run concurrently, three (3) years supervised release on each count to run
                            concurrently, $100.00 special assessment ($1,200 total), no fine, and restitution in the
                            total amount of $5,053,878.50.; Count(s) 31-32, Defendant shall be imprisoned for a total
                            term of forty-eight (48) months on each count to run concurrently, three (3) years
                            supervised release on each count to run concurrently, $100.00 special assessment ($1,200
                            total), no fine, and restitution in the total amount of $5,053,878.50.; Count(s) 41,
                            Defendant shall be imprisoned for a total term of forty-eight (48) months on each count to
                            run concurrently, three (3) years supervised release on each count to run concurrently,
                            $100.00 special assessment ($1,200 total), no fine, and restitution in the total amount of
                            $5,053,878.50.; Count(s) 43-44, Defendant shall be imprisoned for a total term of forty-
                            eight (48) months on each count to run concurrently, three (3) years supervised release on
                            each count to run concurrently, $100.00 special assessment ($1,200 total), no fine, and
                            restitution in the total amount of $5,053,878.50.; Count(s) 47, Defendant shall be
                            imprisoned for a total term of forty-eight (48) months on each count to run concurrently,
                            three (3) years supervised release on each count to run concurrently, $100.00 special
                            assessment ($1,200 total), no fine, and restitution in the total amount of $5,053,878.50.;
                            Count(s) 48, Defendant was found not guilty by jury at trial.; Count(s) 56, Defendant
                            shall be imprisoned for a total term of forty-eight (48) months on each count to run
                            concurrently, three (3) years supervised release on each count to run concurrently,
                            $100.00 special assessment ($1,200 total), no fine, and restitution in the total amount of
                            $5,053,878.50. Entered by Judge Daniel D. Domenico on 8/13/2024. (rkeec) (Entered:
                            08/13/2024)
   08/13/2024           529 STATEMENT OF REASONS as to Kimberley Ann Tew (2). (rkeec) (Entered:
                            08/13/2024)
   08/14/2024           530 Passport Receipt as to Kimberley Ann Tew (2). Forwarding passport to Dept. of State;
                            Passport Number 522213975 issued by USA. Sent certified mail; receipt number 7019
                            2920 0001 1984 2431. (rkeec) (Entered: 08/14/2024)
   08/15/2024           531 RESTRICTED DOCUMENT - Level 2: as to Michael Aaron Tew. (Schall, Jason)
                            (Entered: 08/15/2024)
   08/15/2024           532 RESTRICTED DOCUMENT - Level 2: as to Michael Aaron Tew. (cmadr, ) (Entered:
                            08/15/2024)


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                                                                   of 54- U.S. District Court:cod
   08/19/2024           533 RESTRICTED DOCUMENT - Level 2: as to Michael Aaron Tew. (rkeec) (Entered:
                            08/19/2024)
   08/19/2024           534 Utility Setting/Resetting Deadlines/Hearings as to Michael Aaron Tew: Text Only Entry.
                            Sentencing reset for 11/12/2024, at 01:30 PM, in Courtroom A1002 before Judge Daniel
                            D. Domenico. (rkeec) (Entered: 08/19/2024)
   08/20/2024           535 NOTICE OF APPEAL by Kimberley Ann Tew. (Kaplan, David) (Entered: 08/20/2024)
   08/21/2024           536 Unopposed MOTION to Continue Second Unopposed Motion to Continue Sentencing by
                            Jonathan K. Yioulos. (Kornfeld, Richard) (Entered: 08/21/2024)
   08/21/2024           537 LETTER Transmitting Notice of Appeal to all counsel advising of the transmittal of the
                            535 Notice of Appeal as to Kimberley Ann Tew to the U.S. Court of Appeals. ( CJA, Fee
                            not paid and 1915 motion not filed,) (Attachments: # 1 Preliminary Record)(cmadr, )
                            (Entered: 08/21/2024)
   08/21/2024           538 USCA Case Number as to Kimberley Ann Tew 24-1333 for 535 Notice of Appeal filed by
                            Kimberley Ann Tew. (cmadr, ) (Entered: 08/21/2024)
   08/22/2024           539 ORDER granting 536 Motion to Continue as to Jonathan K. Yioulos. Sentencing set for
                            10/2/2024 is VACATED and RESET for 11/19/2024 at 10:30 AM in Courtroom A1002
                            before Judge Daniel D. Domenico. SO ORDERED by Judge Daniel D. Domenico on
                            8/22/2024. Text Only Entry (dddlc9, ) (Entered: 08/22/2024)
   08/26/2024           540 USPS Certified Mail Receipt Return re 530 Passport Receipt by Kimberley Ann Tew
                            (cmadr, ) (Entered: 08/27/2024)
   08/28/2024           541 TRANSCRIPT of Sentencing hearing as to Kimberley Ann Tew held on August 8, 2024
                            before Judge Domenico. Pages: 1-103.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                                filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                                party's intent to redact personal identifiers from the electronic transcript of the
                                court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
                                this transcript will be made electronically available after 90 days. Please see the
                                Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court's public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                                (thoff, ) (Entered: 08/28/2024)
   08/28/2024           542 MOTION for Leave to Restrict by Michael Aaron Tew. (Schall, Jason) (Entered:
                            08/28/2024)
   08/28/2024           543 RESTRICTED DOCUMENT - Level 2: as to Michael Aaron Tew. (Schall, Jason)
                            (Entered: 08/28/2024)
   08/28/2024           544 ORDER granting 542 Motion for Leave to Restrict. The Clerk of Court is directed to
                            maintain Docs. 531 , 532 , 533 , and 543 at Level 2 restriction. SO ORDERED by Judge
                            Daniel D. Domenico on 8/28/2024. Text Only Entry (dddlc9, ) (Entered: 08/28/2024)
   08/29/2024           545 ORDER to Surrender as to Kimberley Ann Tew; Defendant to surrender to Satellite
                            Prison Camp, FCI Phoenix, on 10/9/2024, at 12:00 PM, and will travel at her own
                            expense. SO ORDERED by Judge Daniel D. Domenico on 8/29/2024. (rkeec) (Entered:
                            08/30/2024)
   09/04/2024           547 TRANSCRIPT ORDER FORM by Kimberley Ann Tew Transcript ordered for
                            proceedings held on 2/5/2024 through 2/15/2024, and 8/8/2024 re 535 Notice of Appeal.
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                   47/54
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                                                                of 54- U.S. District Court:cod
                                (cmadr, ) (Entered: 09/05/2024)
   09/05/2024           546 MOTION for Order Extending the Time for her to Surrender to the Warden at Satellite
                            Prison Camp by Kimberley Ann Tew. (Attachments: # 1 Proposed Order (PDF Only)
                            Proposed Order re: Motion Requesting an Order Extending the Time for her to Surrender
                            to the Warden at Satellite Prison Camp)(Kaplan, David) (Entered: 09/05/2024)
   09/05/2024           548 ORDER of USCA as to Kimberley Ann Tew re 535 Notice of Appeal. (USCA Case No.
                            24-1333). Upon consideration, the court grants the motion and appoints CJA Panel
                            member Justin A. Lollman to represent appellant Kimberley Ann Tew going forward. See
                            18 U.S.C. § 3006A. On or before September 16, 2024, Mr. Lollman shall file an entry of
                            appearance in this appeal. The Clerk of the U.S. District Court for the District of
                            Colorado shall wait until at least September 26, 2024 before transmitting the record on
                            appeal to this court. (cmadr, ) (Entered: 09/05/2024)
   09/06/2024           549 ORDER denying 546 Motion Requesting Order Extending the Time for her to Surrender
                            to the Warden at Satellite Prison Camp. Mr. and Mrs. Tew have had sufficient time to
                            finalize childcare arrangements. The motion is DENIED. SO ORDERED by Judge Daniel
                            D. Domenico on 9/6/2024. Text Only Entry (dddlc9, ) (Entered: 09/06/2024)
   09/16/2024           550 MOTION for Order for Release Pending Appeal by Kimberley Ann Tew. (Attachments: #
                            1 Proposed Order (PDF Only) Proposed Order re: Motion for Release Pending Appeal)
                            (Hubbard, Jamie) (Entered: 09/16/2024)
   09/17/2024           551 MINUTE ORDER as to Kimberley Ann Tew re: 550 Motion for Order for Release
                            Pending Appeal. The Government must respond by 9/27/2024. SO ORDERED by Judge
                            Daniel D. Domenico on 9/17/2024. Text Only Entry (dddlc1, ) (Entered: 09/17/2024)
   09/20/2024           552 RESPONSE in Opposition by USA as to Kimberley Ann Tew re 550 MOTION for Order
                            for Release Pending Appeal (Fields, Bryan) (Entered: 09/20/2024)
   09/25/2024           553 SUPPLEMENT Designation of Record by Kimberley Ann Tew (Attachments: # 1 Exhibit
                            1 Designation of Record - District Court Docket Sheet)(Lollman, Justin) (Entered:
                            09/25/2024)
   09/25/2024           554 TRANSCRIPT ORDER FORM re 535 Notice of Appeal by Kimberley Ann Tew.
                            (Attachments: # 1 CJA Attachment CJA 24 Form)(Lollman, Justin) (Entered: 09/25/2024)
   09/26/2024           555 ORDER Denying 550 MOTION FOR RELEASE PENDING APPEAL as to Kimberley
                            Ann Tew (2) by Judge Daniel D. Domenico on 26 September 2024. (cmadr, ) (Entered:
                            09/26/2024)
   10/08/2024           556 REPORTER TRANSCRIPT ORDER FORM as to Plaintiff USA, Movants Atlantic
                            Union Bank, Christopher J. Alf, National Air Cargo Group, Inc., National Air Cargo
                            Holdings, Inc., Defendants Michael Aaron Tew, Kimberley Ann Tew, Jonathan K.
                            Yioulos, filed by Tamara Hoffschildt. Transcripts ordered 2-5-24 through 2-8-24; 2-9-24
                            through 2-16-24, JT and 8-8-24 Sentencing (thoff, ) (Entered: 10/08/2024)
   10/15/2024           557 Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                            10/15/2024)
   10/15/2024           558 ORDER granting 557 Motion to Travel as to Michael Aaron Tew. Mr. Tew may travel to
                            Pheonix, Arizona during the following windows:

                                1. October 25 through October 28, 2024;
                                2. November 1 through November 4, 2024; amd
                                3. November 8 through November 11, 2024.

                                Mr. Tew must (1) provide documentation regarding his travel plans to United States
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                48/54
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                                Pretrial and Probation Services as directed in advance of departure, (2) contact his
                                probation officer as directed during approved travel, and (3) promptly contact his
                                probation officer upon return from travel as directed. SO ORDERED by Judge Daniel D.
                                Domenico on 10/15/2024. Text Only Entry (dddlc9, ) (Entered: 10/15/2024)
   10/20/2024           559 VOIR DIRE TRANSCRIPT of proceedings held on February 5, 2025 before Judge
                            Domenico. Pages: 1-119. (thoff, ) (Entered: 10/20/2024)
   10/20/2024           560 TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 5, 2024 before
                            Judge Domenico. Pages: 1-95.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                                filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                                party's intent to redact personal identifiers from the electronic transcript of the
                                court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
                                this transcript will be made electronically available after 90 days. Please see the
                                Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court's public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                                (thoff, ) (Entered: 10/20/2024)
   10/20/2024           561 TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 6, 2024 before
                            Judge Domenico. Pages: 96-350.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                                filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                                party's intent to redact personal identifiers from the electronic transcript of the
                                court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
                                this transcript will be made electronically available after 90 days. Please see the
                                Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.

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                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                                (thoff, ) (Entered: 10/20/2024)
   10/20/2024           562 TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 8, 2024 before
                            Judge Domenico. Pages: 351-554.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                                filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                                party's intent to redact personal identifiers from the electronic transcript of the
                                court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
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                                Transcript may only be viewed at the court's public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                                (thoff, ) (Entered: 10/20/2024)
   10/20/2024           563 TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 8, 2024 before
                            Judge Domenico. Pages: 555-811.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                                filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                                party's intent to redact personal identifiers from the electronic transcript of the
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                 49/54
          Case No. 1:20-cr-00305-DDD                Document 599-1 filed 11/25/24 USDC Colorado pg
11/25/24, 1:29 PM                                           50CM/ECF
                                                                of 54- U.S. District Court:cod
                                court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
                                this transcript will be made electronically available after 90 days. Please see the
                                Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court's public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                                (thoff, ) (Entered: 10/20/2024)
   10/20/2024           564 TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 9, 2024 before
                            Judge Domenico. Pages: 812-1018.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                                filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                                party's intent to redact personal identifiers from the electronic transcript of the
                                court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
                                this transcript will be made electronically available after 90 days. Please see the
                                Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court's public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                                (thoff, ) (Entered: 10/20/2024)
   10/20/2024           565 TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 12, 2024 before
                            Judge Domenico. Pages: 1019-1249.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                                filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                                party's intent to redact personal identifiers from the electronic transcript of the
                                court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
                                this transcript will be made electronically available after 90 days. Please see the
                                Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court's public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                                (thoff, ) (Entered: 10/20/2024)
   10/20/2024           566 TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 13, 2024 before
                            Judge Domenico. Pages: 1250-1509.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                                filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                                party's intent to redact personal identifiers from the electronic transcript of the
                                court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
                                this transcript will be made electronically available after 90 days. Please see the
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                                Transcript may only be viewed at the court's public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                                (thoff, ) (Entered: 10/20/2024)
   10/20/2024           567 TRANSCRIPT of Jury Trial as to Kimberley Ann Tew held on February 14, 2024 before
                            Judge Domenico. Pages: 1510-1662.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                                filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                                party's intent to redact personal identifiers from the electronic transcript of the
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?954755838261441-L_1_1-1                                                 50/54
          Case No. 1:20-cr-00305-DDD                Document 599-1 filed 11/25/24 USDC Colorado pg
11/25/24, 1:29 PM                                           51CM/ECF
                                                                of 54- U.S. District Court:cod
                                court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
                                this transcript will be made electronically available after 90 days. Please see the
                                Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court's public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                                (thoff, ) (Entered: 10/20/2024)
   10/20/2024           568 TRANSCRIPT of Jury Trial, verdict as to Kimberley Ann Tew held on February 15, 2024
                            before Judge Domenico. Pages: 1663-1681.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                                filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                                party's intent to redact personal identifiers from the electronic transcript of the
                                court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
                                this transcript will be made electronically available after 90 days. Please see the
                                Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court's public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                                (thoff, ) (Entered: 10/20/2024)
   10/20/2024           569 Amended TRANSCRIPT of Jury Trial, Day 3 as to Kimberley Ann Tew held on February
                            7, 2024 before Judge Domenico. Pages: 351-554.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                                filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                                party's intent to redact personal identifiers from the electronic transcript of the
                                court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
                                this transcript will be made electronically available after 90 days. Please see the
                                Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court's public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                                (thoff, incorrect date was entered. ) (Entered: 10/20/2024)
   10/20/2024           570 TRANSCRIPT of James hearing as to Kimberley Ann Tew held on December 19, 2023
                            before Judge Domenico. Pages: 1-140.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                                filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                                party's intent to redact personal identifiers from the electronic transcript of the
                                court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
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                                Transcript may only be viewed at the court's public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                                (thoff, ) (Entered: 10/20/2024)
   10/21/2024           571 OBJECTION/RESPONSE to Presentence Report 526 by Michael Aaron Tew (Schall,
                            Jason) (Entered: 10/21/2024)
   10/24/2024           572 MOTION for Forfeiture of Property for Preliminary Order of Forfeiture for a Personal
                            Money Judgment Against Defendant Michael Aaron Tew by USA as to Michael Aaron
                            Tew. (Attachments: # 1 Proposed Order (PDF Only))(Hurd, Laura) (Entered: 10/24/2024)
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   10/24/2024           573 OBJECTION/RESPONSE to Presentence Report 571 by USA as to Michael Aaron Tew
                            (Fields, Bryan) (Entered: 10/24/2024)
   10/24/2024           574 ORDER as to Michael Aaron Tew re 572 Motion for Preliminary Order of Forfeiture. If
                            Mr. Tew opposes this motion, he is ordered to file a response on or before November 1,
                            2024. SO ORDERED by Judge Daniel D. Domenico on 10/24/2024. Text Only Entry
                            (dddlc9, ) (Entered: 10/24/2024)
   10/29/2024           575 RESTRICTED DOCUMENT - Level 2: as to Michael Aaron Tew. (Attachments: # 1
                            Exhibit Defendant's Exhibits)(Schall, Jason) (Entered: 10/29/2024)
   11/05/2024           576 RESTRICTED PRESENTENCE REPORT as to Michael Aaron Tew (Attachments: # 1
                            Exhibit A - Revised Recommendation).(agalv) (Entered: 11/05/2024)
   11/05/2024           577 RESTRICTED ADDENDUM to Presentence Report 576 as to Michael Aaron Tew
                            (Attachments: # 1 Exhibit A - Letters in Support). (agalv) (Entered: 11/05/2024)
   11/05/2024           578 MOTION for Non-Guideline Sentence by Jonathan K. Yioulos. (Attachments: # 1 Exhibit
                            A, # 2 Exhibit B, # 3 Exhibit C)(Kornfeld, Richard) (Entered: 11/05/2024)
   11/05/2024           579 MEMORANDUM in Opposition by USA as to Michael Aaron Tew re 575 Restricted
                            Document - Level 2 (Response in Opposition to Motion for Variant Sentence) (Fields,
                            Bryan) (Entered: 11/05/2024)
   11/05/2024           580 MOTION For Downward Departure Pursuant to 5K1.1 by USA as to Jonathan K.
                            Yioulos. (Fields, Bryan) (Entered: 11/05/2024)
   11/06/2024           581 ORDER RESETTING HEARING as to Jonathan K. Yioulos. Due to a conflict on the
                            Court's calendar, and after consultation with counsel, the Sentencing set for 11/19/2024 is
                            VACATED and RESET for 12/3/2024 at 10:30 AM in Courtroom A1002 before Judge
                            Daniel D. Domenico. SO ORDERED by Judge Daniel D. Domenico on 11/6/2024. Text
                            Only Entry (dddlc1, ) (Entered: 11/06/2024)
   11/10/2024           582 ORDER re Sentencing as to Michael Aaron Tew. Live witnesses will not be permitted to
                            testify at Tuesday's sentencing, though the defendant may speak on his own behalf or may
                            submit other support in writing if he wishes. Any victims will also be given an
                            opportunity to speak. SO ORDERED by Judge Daniel D. Domenico on 11/10/2024. Text
                            Only Entry (dddlc9, ) (Entered: 11/10/2024)
   11/11/2024           583 PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY
                            JUDGMENT as to Michael Aaron Tew (1) by Judge Daniel D. Domenico on 11
                            November 2024. (cmadr, ) (Entered: 11/12/2024)
   11/12/2024           584 MOTION for Victim Rights (Permission for Telephonic Participation) by USA as to
                            Michael Aaron Tew. (Fields, Bryan) (Entered: 11/12/2024)
   11/12/2024           585 ORDER granting 584 Motion for Victim Rights as to Michael Aaron Tew. While it is
                            unclear whether Fed. R. Crim. P. 32 requires the Court to permit victims not physically
                            present in the courtroom an opportunity to speak at sentencing, the Court will allow any
                            victims in this case an opportunity to speak telephonically at today's sentencing. SO
                            ORDERED by Judge Daniel D. Domenico on 11/12/2024. Text Only Entry (dddlc9, )
                            (Entered: 11/12/2024)
   11/12/2024           586 MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Sentencing
                            held on 11/12/2024 as to defendant Michael Aaron Tew (1). Defendant sentenced as
                            reflected on the record. 575 Defendants Motion is GRANTED IN PART. Bond continued.
                            Court Reporter: Tammy Hoffschildt. (Attachments: # 1 Defendant Exhibit 1, # 2
                            Defendant Exhibit 2) (rkeec) (Entered: 11/12/2024)

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   11/14/2024           587 Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                            11/14/2024)
   11/15/2024           588 ORDER granting 587 Motion to Travel as to Michael Aaron Tew. Mr. Tew may travel to
                            Pheonix, Arizona to visit his wife at FCI Pheonix between now and his self-report date so
                            long as he provides completed travel itineraries (including both flight and lodging
                            information) to probation at least two weeks prior to travel and receives approval from
                            U.S.P.O. Seth Junker. SO ORDERED by Judge Daniel D. Domenico on 11/15/2024. Text
                            Only Entry (dddlc9, ) (Entered: 11/15/2024)
   11/15/2024           589 JUDGMENT as to defendant Michael Aaron Tew (1), Count(s) 1s, Defendant shall be
                            imprisoned for a total term of forty-two (42) months. This term consists of forty-two (42)
                            months on each of Counts 1 through 42 and 44 through 56; and twelve (12) months on
                            each of counts 57 through 60; all counts imposed concurrently. Three (3) years supervised
                            release on each count, to run concurrently., $5,600.00 special assessment, no fine, and
                            restitution in the total amount of $6,361,622.10.; Count(s) 2s-40s, Defendant shall be
                            imprisoned for a total term of forty-two (42) months. This term consists of forty-two (42)
                            months on each of Counts 1 through 42 and 44 through 56; and twelve (12) months on
                            each of counts 57 through 60; all counts imposed concurrently. Three (3) years supervised
                            release on each count, to run concurrently., $5,600.00 special assessment, no fine, and
                            restitution in the total amount of $6,361,622.10.; Count(s) 41s, Defendant shall be
                            imprisoned for a total term of forty-two (42) months. This term consists of forty-two (42)
                            months on each of Counts 1 through 42 and 44 through 56; and twelve (12) months on
                            each of counts 57 through 60; all counts imposed concurrently. Three (3) years supervised
                            release on each count, to run concurrently., $5,600.00 special assessment, no fine, and
                            restitution in the total amount of $6,361,622.10.; Count(s) 42s, Defendant shall be
                            imprisoned for a total term of forty-two (42) months. This term consists of forty-two (42)
                            months on each of Counts 1 through 42 and 44 through 56; and twelve (12) months on
                            each of counts 57 through 60; all counts imposed concurrently. Three (3) years supervised
                            release on each count, to run concurrently., $5,600.00 special assessment, $100,000.00
                            fine, and restitution in the total amount of $6,361,622.10.; Count(s) 44s-56s, Defendant
                            shall be imprisoned for a total term of forty-two (42) months. This term consists of forty-
                            two (42) months on each of Counts 1 through 42 and 44 through 56; and twelve (12)
                            months on each of counts 57 through 60; all counts imposed concurrently. Three (3) years
                            supervised release on each count, to run concurrently., $5,600.00 special assessment,
                            $100,000.00 fine, and restitution in the total amount of $6,361,622.10.; Count(s) 57s-60s,
                            Defendant shall be imprisoned for a total term of forty-two (42) months. This term
                            consists of forty-two (42) months on each of Counts 1 through 42 and 44 through 56; and
                            twelve (12) months on each of counts 57 through 60; all counts imposed concurrently.
                            Three (3) years supervised release on each count, to run concurrently., $5,600.00 special
                            assessment, $100,000.00 fine, and restitution in the total amount of $6,361,622.10.
                            Entered by Judge Daniel D. Domenico on 11/15/2024. (rkeec) Modified on 11/18/2024 to
                            correct fine amount (rkeec). (Entered: 11/15/2024)
   11/15/2024           590 STATEMENT OF REASONS as to Michael Aaron Tew (1). (rkeec) (Entered:
                            11/15/2024)
   11/18/2024           591 Passport Receipt as to Michael Aaron Tew (1). Forwarding passport to Dept. of State;
                            Passport Number 484644160 issued by USA. Sent via certified mail receipt number 7019
                            2970 0001 1984 2455. (rkeec) (Entered: 11/18/2024)
   11/21/2024           592 Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                            11/21/2024)
   11/22/2024           593 ORDER granting 592 Motion to Travel as to Michael Aaron Tew. Mr. Tew may travel to
                            Marquette, Michigan between January 1, 2025 and his self-report date. He must (1)
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                                provide documentation regarding his travel plans to United States Pretrial and Probation
                                Services in advance of departure, and (2) promptly contact his probation officer upon
                                return from the trip. SO ORDERED by Judge Daniel D. Domenico on 11/22/2024. Text
                                Only Entry (dddlc9, ) (Entered: 11/22/2024)
   11/22/2024           594 MOTION for Forfeiture of Property for Preliminary Order of Forfeiture for a Personal
                            Money Judgment Against Defendant Jonathan K. Yioulos by USA as to Jonathan K.
                            Yioulos. (Attachments: # 1 Proposed Order (PDF Only))(Hurd, Laura) (Entered:
                            11/22/2024)
   11/22/2024           595 MOTION to Dismiss Counts Pursuant to Plea Agreement by USA as to Jonathan K.
                            Yioulos. (Fields, Bryan) (Entered: 11/22/2024)
   11/22/2024           596 MOTION for Decrease for Acceptance of Responsibility by USA as to Jonathan K.
                            Yioulos. (Fields, Bryan) (Entered: 11/22/2024)
   11/25/2024           597 NOTICE OF APPEAL as to 589 Judgment,,,,,,,,,,, by Michael Aaron Tew. (Schall, Jason)
                            (Entered: 11/25/2024)
   11/25/2024           598 PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY
                            JUDGMENT as to Jonathan K. Yioulos (3) by Judge Daniel D. Domenico on 25
                            November 2024. (cmadr, ) (Entered: 11/25/2024)



                                                         PACER Service Center
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                                                                11/25/2024 13:29:14
                                    PACER Login: kfrostown               Client Code:   Tew
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                                    Billable Pages: 30                   Cost:          3.00
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